               Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                    Page 1 of 219 PageID 7766


                1                                      REPORTERS         RECORD                            7472
                2                                VOLUME       49   OF   84   VOLUMES


                3                        TRIAL    COURT       CAUSE NO.        FO1-00237-T




                                                  I
                4   STATE   OF   TEXAS                                          IN    THE    DISTRICT       COURT


                5   VS.                                                        DALLAS        COUNTY        TEXAS


                6   RANDY   ETHAN     HALPRIN                                  283RD        DISTRICT       COURT


                7




                8




                9




               10




               11                                            JURY    TRIAL
                                                                                                           FILED    IN

               12
                                                                                                  COURT.
                                                                                                           flFAPPE/      L




               13                                                                                      OCT1020D3

               14                                                                             Troy C. Sennett Jr. Ole
                                                                                                                      k


               15             On the     6th    day of       June       2003    the    following


                                      came     on to    be    heard      in the      above-entitled           and
               16   proceedings

               17   numbered     cause    before       the    Honorable        Vickers       L.    Cunningham


               18   Sr.     Judge    Presiding         held    in    Dallas       Dallas      County         Texas.


               19             Proceedings        reported          by machine        shorthand.


               20




               21




               22




               23




               24                                                                       ORR1NAL
    LT
I


         P..

               25




                                    283RD JUDICIAL DISTRICT  COURT 214/653-5863
                                       NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                               2

Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                      Page 2 of 219 PageID 7767


 1                                    A   P   P   E   A   RAN   C   E   S



 2   APPEARING          FOR   THE   STATE


 3   Mr.    Toby    Shook
     SBOT    NO.    18293250
 4   And
     Mr.    Bill    Wirskye
 5   SBOT    NO.    00788696
     And
 6   Mr. Tom DAmore
     SBOT NO. 05349500
 7   Assistant District Attorneys
     133 No.  Industrial Blvd.
 8   Dallas Texas 75207
     Phone         214/653-3600
 9


     Ms.      Smith
            Lisa
10   Appellate Division

11   APPEARING          FOR   THE   DEFENDANT


.1   Mr.    George Ashford
     SBOT    NO.  01374530
13   325    N. St.  Paul Street
     Ste.    2475
14   Dallas        TX    75201
     214/922-0212
15

     Mr.    Edwin King
16   SBOT    NO. 11472200
     2305    Cedar Springs
17   Ste.    250
     Dallas   TX 75201
18   214/871-8800



19




20




21




22




23




24




25




                    283RD JUDICIAL DISTRICT  COURT 214/653-5863
                       NANCY BREWER  OFFICIAL COURT REPORTER
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14       Page 3 of 219 PageID 7768


 1                                  WITNESS   INDEX


 2   WITNESS                        DIRECT       CROSS               VOL.


 3   Randy Halprin                               3                   49


 4   Patrick    Moczygemba          54           94                  49


 s   Alejandro    Marroquin         118          131                 49


 6   Allen    Camber                146161       155161              49


 7   Mark    Burgess                163190       179192              49


 8   Frank    McGehee               196          201                 49


 9




10




11




12




13




14




15




16




17




18




19




20




21




22




23




24




25




                 .283R     JUDICIAL DISTRICT  COURT 214/653-5863
                       NANCY BREWER   OFFICIAL COURT REPORTER
                                                                                    I1
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14         Page 4 of 219 PageID 7769


     i                                 EXHIBIT   INDEX


     2   EXHIBIT        IDENT.                     OFFER         ADMIT       VOL.


     3   ST.334         ITEM    FROM   JEEP        8             NO ADMIT    49


 4       ST.342-A       ITEM    FROM   RV          8             13          49


     5   ST.344-A       TEN    COMMANDMENTS        8             13          49


     6   ST.500         PHOTO                      63            63          49


     7   ST.501         PHOTO                      63            63          49


     8   ST.502         PHOTO                      63            63          49


     9   ST.503         PHOTO                      63            63          49


10       ST.504         PHOTO                      63            63          49


ii       ST.505         PHOTO                      63            63          49


12       ST.506         PHOTO                      63            63          49


13       ST.507         PHOTO                      63            63          49


14       ST.508         PHOTO                      63            63          49


is       ST.509         PHOTO                      63            63          49


16       ST.510         PHOTO                      63            63          49


17       ST.511         PHOTO                      63            63          49


18       ST.511-A       PHOTO                      63            63          49


19       ST.512         PHOTO                      63            63          49


20       ST.512-A       PHOTO                      63            63          49


21       ST.513         PHOTO                      63            63          49


22       ST.514         PHOTO                      63            63          49


23       ST.515         PHOTO                      63             63         49


24       ST.516         PHOTO                      63             63         49


25       ST.517         PHOTO                      63             63         49




                    283RD JUDICIAL DISTRICT  COURT 214/653-5863
                       NANCY BREWER  OFFICIAL COURT REPORTER
                                                                            iii
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14   Page 5 of 219 PageID 7770


     1   ST.518        PHOTO                 63            63          49


     2   ST.519        PHOTO                 63            63          49


     3   ST.520        PHOTO                 63            63          49


     4   ST.521        PHOTO                 63            63          49


     5   ST.522        PHOTO                 63            63          49


     6   ST.523        PHOTO                 63            63          49


     7   ST.524        PHOTO                 63            63          49


     8   ST.525        PHOTO                 63            63          49


     9   ST.526        PHOTO                 63            63          49


10       ST.529        PHOTO                 63            63          49


ii       ST.530        PHOTO                 63            63          49


12       ST.531        PHOTO                 63            63          49


13       ST.532        PHOTO                 63            63          49


14       ST.533        PHOTO                 63            63          49


15       ST.534        PHOTO                 63            63          49


16       ST.535        PHOTO                 63            63          49


17       ST.536        PHOTO                 63            63          49


18       ST.537        PHOTO                 63            63          49


19       ST.538        PHOTO                 63            63          49


20       ST.539       PHOTO                  63            63          49


21       ST.540       PHOTO                  63            63          49


22       ST.541       PHOTO                  63            63          49


23       ST.542       PHOTO                  63            63          49


24       ST.543       DIAGRAM                63            63         49


25




                  283RD JUDICIAL DISTRICT  COURT 214/653-5863
                     NANCY BREWER  OFFICIAL COURT REPORTER
                                                                            iv
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14   Page 6 of 219 PageID 7771


 1   ST.545          PHOTO                   63            63          49


 2   ST.547          WEAPON                  63            63          49


 3   ST.548          WEAPON                  63            63          49


 4   ST.549          WEAPON                  63            63          49


 5   ST.550          WEAPON                  63            63          49


 6   ST.582          POSTER                  62            62          49


 7   ST.583          PHOTO                   129           129         49


 8   ST.615          BALLISTIC    VEST       8             13          49
                     RECEIPT
 9


     ST.951                                  210           210REC      49
10

11   ST.961          LETTER                  3             3           49


12   ST.963          LETTER                  6             6           49


13   ST. 964         LETTER                  7             7REC        49
                                             50            51 ALL      49
14

1s   ST.965          DIAGRAM                 18            18          49


16   ST.966          BURGESS     STMT.       190           190         49


17   DX-34           BOOK OF LETTERS         40            40          49


18   DX-35           BOOK OF LETTERS         40            40          49


19   DX-36           BOOK OF LETTERS         40            40          49


20   DX-37           BOOK OF LETTERS         40            40          49


21   DX-38           PHYSICAL    DESCRIP.    111           111         49


22   DX-39           DESCRIP.EVAL.           114           NO ADMIT    49


23   DX-40           MARROQUINS      STMT.   133           133         49


24   DX-41           MARROQUINS      STMT.   133           133         49


25   DX-42           BURGESS     STMT.       188           188         49


26




               283RD JUDICIAL DISTRICT  COURT 214/653-5863
                  NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                              3
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                                Page 7 of 219 PageID 7772


     i                                      P     R    O    C    E    E    D        I    N    G    S


     2                                     THE        COURT               Thank              you.       You        may be

     3   seated.         Good    morning.

     4                                 CROSS-EXAMINATION                                CONTINUED

     s   BY MR.     SHOOK

     6              Q.           Mr.      Halprin               let       me        show          you another             letter

     7   which     has    been      marked        as       State          Exhibit                 961     a    letter          to


     8   Jennifer        Roe     dated      6-1-2001.                     Do        you       recognize             that       as


     9   letter     to    her

10                  A.           Yes       sir.


11                                         MR.        SHOOK            At           this          time we          offer       961.


12                                         MR.        KING            No       objection.

13                                         THE    COURT                No.              961       shall       be    admitted.


14                  Q.           By Mr.Shook                      We       talked                 about        I    think           as   we


15       left     off    yesterday that                you       had had                 a    plan      of     writing a

16       book

17                  A.           Yes       sir.


18                  Q.           You      talk    about           that              some          in this          letter.


19       Hopefully         a   deal       will    come          through.                      I    swear       to       you    Im

20       going     to    break      you    off    something.                            You        wanted          her    to   get       a


21       little     share      of    that

22                 A.            Could      you please                 read             the        next       line

23                  Q.           Spend      it    on her              kids

24                 A.            Yes       sir.


25                 Q.            You      wanted        some          of       it       to        survive          in    prison




                         283RD JUDICIAL DISTRICT COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                        4
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 8 of 219 PageID 7773



 1              A.              Yes        sir.


 2              Q.              And    if     that      didnt        go    through         your next            plan


 3   was   to   sell       an    exclusive           to      the    National           Inquirer            is    that


 4   right

 5              A.              Yes        sir.


 6              Q.              You    wanted        her      to    go    to    the    National

 7   Inquirer




--10
 8              A.              And    say that           she      had known          me   and we      had met.


 9   And   basically            that       way

                Q.              Did    that       deal       ever    go    through

11              A.              No     sir.


12              Q.              Did    you ever           get      her    to    give      you money

13              A.              Yes        sir.


14              Q.              And    I    think       you       assure her now that                you    are


15   not   going      to    use       the     money to            write    other girls          to    feed       your

16   ego

17              A.              Yes        sir.


18              Q.              Its         nice     to      be    called       cute       fine      sexy        and


19   dishy      but    I    dont need              it
20              A.              Yes        sir.


21              Q.              Did    a    lot    of     women      write          you

22              A.              Yes        sir.


23              Q.              All    right.           And       were    you proud        of   that       prison

24   break      that       you were           able      to    get    out       of   the    prison

25              A.              Was    I    proud       of    it




                     283RD JUDICIAL DISTRICT  COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                         5

Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                            Page 9 of 219 PageID 7774


     1                Q.          Yes.


     2                A.          I    mean         I    cant           say that              I    was       boastful.            I




     3   was    happy      that       it    was     successful.                     I    mean           I    wasnt        proud

 4       that    anybody was               hurt.         I    mean         but          it    was       --    I   mean

     5   something         that       obviously              you are going                    to       be    happy    that        you

 6       were    successful            in    that.


 7                    Q.          And       you     get       a     lot    of       respect             from the          prison

 8       population         being          able     to       pull something                       like       that    off      dont

 9       you

10                   A.           Yes        sir.


11                    Q.          And       you have              gotten        a       lot       of    respect       just        here

12       in    the    Dallas      County          Jail        being        a    part of                the    Texas       Seven

13       havent        you

14                   A.           Yes        sir.


15                   Q.           Thats           just        part        of    being             in prison.


16       Prisoners give               you    respect              if    you     can          do    things         like      that

17                   A.           Yes        sir.


18                   Q.           Were       you        in on          any of           the       planning          for     the


19       escape

20                   A.           The       planning              of    the     escape

21                   Q.           Yes.


22                   A.           Ive        come        up with           a    few          ideas           yes     sir.


23                   Q.           And we          talked           about        how          intelligent             George

24       Rivas       was

25                   A.           Yes        sir.




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                             6
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                            Page 10 of 219 PageID 7775


 1                    Q.             Do       you    consider            him more             intelligent               than       you

 2                   A.              Obviously                yes        sir.


 3                   Q.              Let       me    show         you    State          Exhibit          963        a   letter          to


 4   Dawn       Amos            dated         March      26        2001.           Do    you recognize                  that       as


 5   being       a     letter            to    her

 6                   A.              Yes        sir.


 7                                              MR.      SHOOK               Your Honor                 at    this      time       we


 8   will       offer           State         Exhibit         963.


 9                                              MR.      KING            No    objection.

10                                              THE      COURT               No.    963       shall          be    admitted.


11                   Q.              By Mr.Shook                        On    this       letter          you       talk      about


12   --    you       talk        about          I    think         you       suspected             she       might have

13   written           George            Rivas.          And       you       asked       her        Its            just      Rivas


14   and    I    being           like         the    two      brightest             of       the    T-7       group          always

15   had this              competition               thing going                   you       know        the       typical         male


16   thing.            I    loved         him like            a    brother.              I    get       jealous         of    him


17   sometimes.                 He       does       me     also.             Its        kind       of    funny to            see    us


18   go    at    it        at   times.              But       anyway           I    apologize                for    being      so


19   ignorant              and superficial.                         So       did you consider                      yourself         and


20   George          Rivas       the          two   most          intelligent                of    the       group

21                A.                 I    was       just      blowing          myself up.

22                   Q.              Let      me     show         you    State          Exhibits             964

23                A.                 Yes        sir.


24                   Q.              A letter            to       Jennifer          Roe           dated      July       3 2002
25                A.                 Yes        sir.




                           283RD JUDICIAL DISTRICT COURT 214/683-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
 --2
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14


 1




 3




 4
                  Q.


                  A.


                  Q.
                            Do


                            Yes

                            --
                                 you




                                 that
                                      sir.




                                      MR.
                                           recognize




                                             you

                                                SHOOK
                                                      sent
                                                              that




                                                              to


                                                              Your
                                                                    her
                                                                         as




                                                                         Honor
                                                                               Page 11 of 219 PageID 7776


                                                                               a    letter




                                                                                          at    this    time   we
                                                                                                                    7




 5   offer       State    Exhibit      964.


 6                                    MR.       KING         No    objection.


 7                                    MR.       SHOOK         For record             purposes.

 8                                    THE       COURT         No.       964    for       record        purposes

 9   only.


10                Q.        By Mr.Shook                   The      gun    --       you had        a    gun issued

11   to    you    and had that         in your           pack      in    Colorado

12                A.       Yes        sir.


13                Q.       And you          had       $5000.            That       was     your       end of   it

14                A.       Yes        sir.


15                Q.       This       --     is    that      the    packthat               you were       going

16   to    take    when   you    left        the      group




--19
17                A.        It   was       the     backpack         that       I    had        yes      sir.


18                Q.       This       cartoon

                  A.       Yes        sir.


20                Q.        --   is    that        yours

21                A.       Yes        sir.


22                Q.       What       does        that    say on         it

23                A.        Stick          to     the    Lord.

24                Q.       Stick       to       the     Lord        Or does          it        say     Sick    to


25   the    end



                       283RD JUDICIAL DISTRICT  COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
 --2
                                                                                                                                                 8
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                               Page 12 of 219 PageID 7777


 1                   A.             Sick       to       the    end      --        Im     not


                     Q.             Its        your writing                       is    it       not

 3                   A.             Yes        sir.           But       Im     not       sure what                it    says.


 4                   Q.             Could          it    say        Sick           to    the          end
 5                   A.             It    could           but       Im       not        sure what             I    was


 6   referring            to     at      that        time.


 7                   Q.             Can you tell                   us   what           the       cartoon          figure          is


 8   doing

 9                   A.             Looks          like       hes       just           holding          a    hand       out       like


10   that.


11                   Q.             Okay.           The       --    there was                a    thorough             search          of




--13
12   that       RV


                                               MR.       SHOOK            Your          Honor           at    this          time       I



14   would       like       to      introduce             State         Exhibits                 344-A       334        342-A              and


is   615    which         has       been       in for          record         purposes                 for    all       purposes

16   at    this       time.


17                                             MR.       KING           Judge            we       renew       our objection

18   previously made                     with       additional               objections                 we    need          to    make


19   in    regards          to      relevance             and matters not                         tied to          this


20   particular             trial          so       we    would         object.                  If    we    need       to       have       a


21   hearing          outside            the       presence             we    will           be       glad    to       do    that

22   but    I    think         that       the       Court          might be             aware          of    the       nature          of


23   those      types          of     objections.                   And      if        the       Court       hadnt           had an

24   opportunity               to     review            these       documents                being          offered          by the

25   State           once      again           I    think          that      the        Court          in a       previous




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                                    9
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                            Page 13 of 219 PageID 7778


     1   hearing        may be       aware       of     some         of    those          items.


     2                                      THE       COURT               Sheriff              I       need       to    have          a


     3   brief hearing.


     4                                                     Jury out

     s                                      THE       COURT               Let       the       record             reflect          the


     6   jury has          been    retired        for       the       purposes                of       a    hearing          on the


     7   admissibility of                State        Exhibit             334           344        342-A              and 615.


 8       For the record              334    appears             to    be       a    page       ripped             out       of    a       book


 9       of    the    title       Near Christianity and with                                           a    personal             note          on


10       the    back.


11                                 Specifically what                       are your                objections                to       334

12                                          MR.       KING            Well              our objections                      to    all          of


13       those       in one       group     are       they       are       the          result             of    an    illegal

14       search       and     seizure       and an illegal                         search          and          illegal          arrest


is       and     illegal       detention.              We       have       previously covered                               those


16       particular           constitutional                points             in motions                   previously

17       denied by          the    Court.


18                                 However            if    that          is       --    purports                to    be    a    note


19       left       by Larry Harper              in regard                to       that        we          would       object             to


20       it.        Thats      not    the    same          as    a    statement                taken             by law

21       enforcement           from one          of    the       other             individuals.                       Theres              no


22       showing       when       that     letter          was       written as                to          time and          date              so


23       as    to    show   whether         or    not       it       was       written             a       month       previous

24       and was        just      lying     around          in anticipation                            of       some    action             or


25       if    it    was    written close              to       the       time          Mr.    Harper             took       his          own




                           283RD-JUDICIAL  DISTRICT COURT 214/653-5863
                              NANCY BREWER   OFFICIAL COURT REPORTER
                                                                                                                                   10
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 14 of 219 PageID 7779



 1   life.


 2                               The   probative              value       outweighs                the       prejudicial

 3   value       --    or   the    prejudicial                effect       outweighs                   the    probative

 4   value       under      balancing             and theres              no way             for       us    to    verify

 5   the     veracity.            We    object.


 6                                          THE    COURT            My    impression is                      this       appears

 7   to    be    his    suicide        note         so    Im        not    worried                about       the


 8   veracity          of   an    individual             at    that       point.                 But    I    am concerned


 9   with       the    relevance            to    this    defendant.


10                               Madam       prosecutrix                 how    is       334       relevant             to    this


11   trial

12                                          MS.    SMITH            I    think       its           relevant             as    to


13   who     fired shots.               I    think       theres been                 a       lot       of    testimony as

14   to    people       shooting            and    not    shooting             and thats                    certainly got

is   evidence          in   that       letter       about       whether             or       not       one    of       the


16   seven       actually         fired a          shot       or not.           I    think             that       is


17   certainly relevant                     at    guilt/innocence.

18                                          THE    COURT            The    statement                   in the          note




--20
19   reads       the


                                            MR.    KING         I       object       also that                its

21   hearsay.




--24
22                                          THE    COURT            Certainly                a    statement             against

23   interest           but      the


                                            MR.    KING         How       is   it        a       statement             against

25   interest          if   he    says       he    didnt        do       anything                  He       said he




                       283RD JUDICIAL DISTRICT  COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                      11
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                            Page 15 of 219 PageID 7780


     1   didnt     shoot.              How    is     that       a    statement                against          interest

     2   The    defense          has    previously              offered             statements             against

     3   interest where                somebody           admitted             that          they       shot    or    that


     4   indicated          if    they       had     shot       and       they       found          a    bullet       in    the


     5   police    officer              that       caused           the       death          of    the    police       officer

     6   that    they       must have          shot        the       police          officer.              And the          Court


     7   has    ruled       that       wasnt         a    statement             against             interest.


     8                             So    how        is    the       statement                 I     was    present           but      I




     9   didnt cause              his    death             how is             that       a    statement          against

10       interest       at       this    point             It       seems to             me       what    is    good       for    the


ii       goose    is    good       for       the     gander.              If    the          Court       lets    that       in

12       then we       would       feel       that        the       previous             offers          that    the       defense


13       has    made        that       would       open        the    door to them                       certainly           under


14       106    and 107.           It    would           effectively                flush          out    that       particular

is       issue.


16                                            THE        COURT            Anything                further from the


17       State

18                                            MR.        SHOOK            Let       me       see    it     Judge.


19                                            THE        COURT            I    dont           see       enough       relevance


20       there    to    admit          that.


21                                            MR.        SHOOK            All       right.


22                                            THE        COURT            Moving             on    to    State       Exhibit


23       342    and 344           which       are        two    copies          in different                   conditions

24       entitled       The Ten              Commandments                 of    Spec          Wars.            Now     for       my

25       benefit       to    be    sure       Im         correct              one    of       these       was    found       in




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                12
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 16 of 219 PageID 7781



 1   the    trash outside                the    RV    labeled          on        State    342-A.           The       one


 2   marked       344-A was          found       in       the       black        bag on site No.                1    inside


 3   the    RV    in the       rear bedroom.                    I    also recall              the    defendants


 4   DNA    was    also       found       in the          trash can              outside       the    RV        is    that


 5   correct

 6                                        MR.    SHOOK               You        know     Judge        I    dont know

 7   if    that    was    correct          or not          from what              Dr.    Sliter was             saying.


 8   I    think    that       might       have       been       the    motel        room in Carrollton.


 9   I    know    the    defendant             was    obviously                 there.        He    has    testified


10   he    was    in the       RV    for       days       on    end        stayed there.                  So    I    dont

11   think       theres        a    question          of       his    presence.

12                             Our argument                is       hes     put     himself in the                   RV

13   thats        found       outside          the    RV       and inside           the       RV     and obviously


14   the    relevance          is    obvious          from the             material            especially when

15   we    talk    about       the       law    of    parties          and what           was       going on          after


16   they    --    during          the    escape          and also after                 the       escape.


17                                        THE    COURT               Mr.    King         your       objections             to


18   these       two    exhibits

19                                        MR.    KING               Nothing        to    tie       them    to       the


20   defendant          and   not        found       in    any bag that                 appeared          to    be


21   marked       with    his       color       or anything                else         Judge.        Certainly

22   finding       something             in the       trash doesnt                  indicate          any       desire


23   to    keep    something             and    so    much          that    they        can tie       the


24   defendant.           Theres           no    telling             how long           the    document             in the


25   trash had been                there       or who          threw       it     there       or    how    it       got




                       283RD JUDICIAL DISTRICT COURT 214/653--5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                         13




 --s
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                             Page 17 of 219 PageID 7782


     1   there.               These    may have            been    documents                  that    were       at    the


 2       location.               This       is   Colorado          and      this          is    an    area       that       is    full


 3       of    individuals              who      believe          in   certain                unusual       freedoms             in


 4       that       part        of    the    country.             They      have          a    lot    of


                                                 THE       COURT           Thank          you        Mr.    King           for   your

 6       comments              on Colorado.                Nos.    342-A         and 344-A             shall          be


 7       admitted.


 8                                     What      is    the    nature            of       State       Exhibit          615

 9       Where          was     this    receipt            from the         City Surplus                   and Paint


10       Company              found

11                                               MR.       SHOOK           That          was    found       in    the       RV   and


12       is    a    receipt           for a bulletproof                    vest.


13                                               MR.       KING        We       would          like    to    know          where      in


14       the       RV    it    was     specifically               found.


15                                               THE       COURT           Has       a    bulletproof             vest       been


16       offered          by the        State

17                                               MR.       SHOOK           No.           Purchased          and waiting               on

18       the       order.


19                                               THE       COURT           Waiting             on the       order.


20                                               MR.       KING        I    think             that    the    State          is


21       aware          that    theres           no    evidence            to    show          that    Mr.    Halprin            was

22       present          at    the     time any vests                 were          purchased.              And       I    dont

23       believe          any        evidence         to    show    he      had any             personal         knowledge

24       of    any      of     that.


25                                               THE       COURT           Well          ask     him.




                               283RD JUDICIAL DISTRICT COURT 214/653-5863
                                  NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                                              14
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                                         Page 18 of 219 PageID 7783



     1                                              MR.       SHOOK                Judge               thats              what       I    want           to


     2   ask     him       is       if    he    had personal                       knowledge                     because             I    think


     3   that       the    weight          goes          to       the       parties                   if    hes           committing

     4   crimes with                people          who       want          ballistic                  vests.


     s                                              THE       COURT                Ask       him.


     6                                              MR.       SHOOK                I    was       going              to       ask    him after


     7   it    was       admitted.              I    mean           I       dont think                      the       admission goes


     8   to    whether          he       admits          he       knows        about             it        or    not.


     9                                              THE       COURT                Where          was           it    found          in       the       RV

10                                                  MR.       SHOOK                I    think              the       officer             just


11       testified             it    was       in the             RV.


12                                                  MR.       KING             I       dont know where                              they       found


13       it.        It    doesnt           appear             to    be       in plain                  view.              If    you       go       back

14       the    only       --       there was             only          a    couple              of        items          that       appeared

15       to    be    in plain             view       and thats                     not       reflected                    in any


16       photograph             that       the       State          appears                 to    have           of       the       search.


17       And    maybe          they       do    have          a    photograph                    of        where          that       particular

18       item was          found           but       I    think             that        they           need          to       tie    that          up.


19                                       First       of       all           they        can       certainly ask                          Mr.


20       Halprin          outside          the       presence                if        he    has           any       knowledge                of


21       that.           But    that       is       certainly                some           action              and       I    make       a


22       proffer          to    the       Court          that       the       evidence                     is    going          to       show       that


23       Mr.    Rivas          and one          or       two       of       the        others were                    the       individuals

24       that       engaged          in    the       purchase                or the              attempted                    purchase             or

25       ordering          of       those vests.                    Those              vests          were           never          delivered.




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                               15
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                              Page 19 of 219 PageID 7784



 1   But    there       is    nothing          to    show    that    Mr.       Halprin          was       ever


 2   present       at       that    time       and theres           nothing          to    show          that       Mr.


 3   Halprin       has       any personal             knowledge          of    that.


 4                                        MS.       SMITH      We    dont have                 to    link          it    to


 5   him.        The    mindset of             the    parties       is    also in issue.                       And       some


.    of    the    parties          made    that       purchase.           It    think          its        certainly

 7   relevant          at    this      stage.


 8                                        THE       COURT      Its        relevant.                 It    goes          to


 9   the    weight.           I    will    admit       615.


10                                        MR.       KING      Its        also    an       extraneous


11   offense       that       we    would       specifically             object       to       and the


12   probative          value       of    it    outweighs       the       prejudicial                effect


13   sic.          There          hasnt        been    any testimony on direct

14   examination             in    regards          that    would    open       the       door to that


15   particular             extraneous          offense.        We       object       to       that       as       well.


16                                        THE       COURT      Overruled.                 Bring us             a    jury.


17                                                   Jury in

18                                        THE       COURT      Thank          you.        You       may be

19   seated.


20                Q.              By     Mr.    Shook         Mr.    Halprin              let       me    show          you

21   some    exhibits              344-A and          342-A     which          have       been       admitted                for


22   all    purposes.              Special          Agent    Mahoney          testified             he    found          one


23   of    these       --    one of       these       was    recovered          from       the       trash          can


24   outside       the       RV    and    the       other    inside       the    RV       in    a    black          bag.


25   Do    you    recognize            this     document




                       283RD JUDICIAL DISTRICT COURT-214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
 --3
                                                                                                                                            16
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                              Page 20 of 219 PageID 7785



 1               A.          No        sir           I    do       not.


 2               Q.          Have          you ever                seen          it       before


                 A.          No        sir.


 4               Q.          --       in       the       RV

 5               A.          No        sir.


 6               Q.          Do       you       know          if       any of             your    friends          there               if


 7   this    was      their document


 8               A.          No        sir.              May       I       see    the          back    of    one    of       those

 9   though        real     quick              Were           you able                to       find out          whose


10   handwriting           that       is

11               Q.          No.           I   havent                  looked             into    --    childrens home

12   anywhere         in   Colorado

13               A.          I    dont           know.                 I   was        just       wondering          if       you        had

14   a   hand    analysis done                 on        it       or anything.

is                                         MR.       SHOOK                 May        I    publish          to    the    jury

16   Your Honor

17                                         THE       COURT                 You        may.


18               Q.          By Mr.Shook                               The Ten Commandments                             of        Spec


19   War     according           to    Richard                Marcinko.                    I    am the       War    Lord           and


20   the    wrathful        God       of       Combat and                   I    will          always       lead    you           from


21   the    front      not       the       rear.              I    will          teach          you all          alike--just

22   like    shit.         Thou       shalt          do       nothing             I       will    not       do    first            and


23   thus    will     you be          created             Warriors                in My          deadly          image.            I




24   shall      punish      they       bodies             because                the       more       thou       sweatest              in


25   training         the    less          thou          bleedest                in       combat.           Indeed           if        thou




                      283RD JUDICIAL DISTRICT COURT 214/653-5863
                         NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                              17
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                         Page 21 of 219 PageID 7786



     1   hurtest    in       thy efforts                 and thou             suffer       painful       dings        then


     2   thou art       Doing       It        Right.              Thou    hast       not    to    like    it--thou


     3   hast   just     to    do       it.          Thou         shalt       Keep    It    Simple        Stupid.


     4   Thou   shalt        never       assume.                  Verily        thou       art    not    paid    for    thy


     5   methods        but    for       thy results                     by which          meaneth       thou    shalt


     6   kill   thine        enemy       before              he    killeth          you by any          means    possible

     7   sic.       Thou       shalt               in    thy Warriors Mind                       and Soul        always

     8   remember       My ultimate                  and         final    Commandment               There       Are    No

     9   Rules--thou          Shalt           Win       at       All    cost.

10                                 Mr.        Halprin              were       you    aware       that    George       Rivas


ii       had put    in an          order and paid                       for    four ballistic             vests

12                 A.              No         sir        I       was    not.


13                 Q.              Did        you       ever       hear       him discuss          that

14                 A.              No         sir.


15                 Q.              Did        you       ever       see    the       receipt       for    the    ballistic


16       vest   that     we    see       here in                 State    Exhibit          615

17                 A.              No         sir.           I    have    never       seen       that    receipt.


18                 Q.              Never           heard          them    talk       about       ordering ballistic

19       vests

20                 A.              No         sir.


21                 Q.              Were        they          discussing             other robberies             or


22       planning       to    do    other           robberies             in    Colorado

23                 A.              Not        to    my knowledge.

24                 Q.              Do    you        know          why    he    would       have    scanners          in the


25       Jeep   with    him and all                  those             weapons




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                  18
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 22 of 219 PageID 7787



     1                A.         I   really           dont         know.


     2                Q.        Why       did     yall have loaded                           weapons       all       over       the


     3   RV    and    in the    Jeep

     4                A.        You       would        have        to    ask    those          individuals.                 I




     5   dont        know.


     6                Q.        Well           you     had     a    loaded          gun       in your          pack.


     7                A.        Because           I    was     issued          one           yes     sir.


     8                Q.        And what              were     you       supposed             to    do    with       the    gun

     9                A.        They       wanted         me       to    carry       it       around.           I    just


10       kept    it    in my backpack.


11                    Q.        For what              reason

12                    A.        I    guess        for     protection.                    I    dont        know.


13                    Q.        Protection              from        who

14                    A.        I    dont         know.


15                    Q.        Let       me    show      you       State       Exhibit             965.        Is       this


16       the    diagram that          you       did yesterday


17                    A.        Yes        sir.


18                    Q.        Okay.


19                                         MR.        SHOOK             At    this       time we          will       offer


20       State       Exhibit    965

21                                         MR.        KING          No       objection              Your       Honor.


22                                         THE        COURT             No.    965       shall       be    admitted.


23                    Q.         By       Mr.     Shook             This       is    a       diagram       I    had you


24       draw.        You    have    got       the     fire        exit       here           Ford    Explorer here

25       and Mr.       Hawkins       --    Officer           Hawkins            car          behind       it        is    that




                           283RD JUDICIAL  DISTRICT  COURT 214/653-5863
                              NANCY BREWER   OFFICIAL COURT REPORTER
                                                                                                                   19
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                            Page 23 of 219 PageID 7788


     1   right

     2                A.          Yes     sir.


     3                Q.          You    were     loading       the    stolen       items       into   the


 4       back       seat     is   that    right

 5                    A.          Yes     sir.




--11
 6                    Q.          You    put     George       Rivas    at    the    front       Michael


 7       Rodriguez          Joseph       Garcia        and yourself           loading       equipment         in


 8       and    I    believe      Larry Harper           up    here

 9                   A.           Yes     sir.


10                    Q.          And    Larry Harper           was    trying       to    set   off


                     A.           At    the     time he       was    trying    to    set    the    smoke


12       bomb off.


13                    Q.          Was    that     inside       the    store

14                   A.           That    was     at   the     fire    exit    door.        Im     not    sure


15       exactly       where.


16                   Q.           Then    when     the    shooting          began        what   was    the


17       path you          took

18                   A.           I    went    around     the       Ford Explorer.


19                   Q.           This    way    or this        way

20                   A.           I    went    behind.


21                                        MR.    SHOOK          Can    I    have    him step       down      so


22       we    can   make     sure      which    way

23                   A.           I    went    behind.


24                   Q.           By     Mr.    Shook         Right        here

25                   A.           Yes.




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                     20
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                             Page 24 of 219 PageID 7789


     1                Q.           Then        where          did you              go




 --8
     2                A.           I    ran down              the        embankment             that       was    right          here.


     3                Q.           Did    you           go    in a        straight path                   when    you       took


 4       off    behind       the       Explorer

 5                    A.           I    dont remember                         exactly          how    I    ran.        I    just


 6       know    I    came       around.


 7                    Q.           Did    you           come        this          way    or    this       way    or


                      A.           I    never           went        this          way.


 9                    Q.           You    never              went        up       here

10                    A.           No     sir.


11                    Q.           So    - -




12                    A.           I    came        this       way        to       the    embankment             where       the


13       embankment          was       and thats               when           somebody called                   my name.

14                    Q.           Did    you           make        it    to       the    embankment             when       someone

15       called       your       name

16                    A.           I    was     near          it.         Im        not       sure    if    I    was       exactly

17       on the       grass      or not.

18                    Q.           Thats when                  you were                 shot

19                    A.           Thats when                  I     was          shot        yes.


20                    Q.           Were        you       shot        before             the    embankment             or after

21                    A.           Before           I    reached              the       embankment.


22                    Q.           And    then           you        started going                down       the       embankment

23       after       you were          shot

24                   A.            After        I       was    shot           I   hopped        up    and down             and


25       yelled       I    was   shot     said               Oh          shit           Im     shot.            And    I    ran




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
 --4
                                                                                                                             21
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 25 of 219 PageID 7790


 1   down     the      embankment          and by then              the    car       was        already pulling

 2   out.


 3                Q.           And       you were         definitely on the                         embankment

                  A.           I    was    on the         grass          yes        sir.


 s                Q.           --     after you were                shot

 6                A.           Yes        sir.


 7                Q.           Do     you know          how    far       you       made        it

 8                A.           Im        not     really sure how                   far     I    made       it.     I   just


 9   remember          somebody yelling                   Get       in    the       car.

10                Q.           What       was     the     path you         took          back        to    get    into


u    the     car

12                A.           Im        not     exactly       sure.           I    just        remember          hopping

13   into     the      car.


14                Q.           Definitely             went     straight             across           and straight

15   this    way       or this       way        but     not    up    here

16                A.           Yes        sir.


17                Q.           All       right.         Now       let     me       show        you    your written

18   confession             and you       talk       about     everyones position

19                A.           Yes        sir.


20                Q.           You       said        By     the     time       I   got         back       outside

21   Rodriguez          and Harper were                 out    by the          Explorer              and Rivas         was


22   standing          at    the    front       of    the     Explorer              telling           us    to    hurry

23   up.     I    brought          the    bag of        guns      out     and       then        put       them behind

24   the     drivers          seat.        Thats          when      the    cop       showed           up    and    I   was


25   still       at    the    back       door and Rivas              told me             to     stay there.




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                            22
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 26 of 219 PageID 7791



 1   Rivas    then          went       up    and       shot    the    cop       four    times.           Harper       was


 2   shooting          at    the       car        too.        And    then he went             and got          Garcia


 3   and Newbury.


 4                A.              Yes        sir.


 s                Q.              In    this          statement       you       have    got    George          Rivas


 6   out    front           Harper          and Rodriguez             out       here        also

 7                A.              Right.              But    Harper was          coming       --    at    the    time


 8   when    they       were          throwing          bags    in    --    I    mean        before       he    was


 9   smoking       the       --       when       he    told him to          smoke       it    or whatever.


10                Q.              But       hes        in this       area       then

11                A.              Yes        sir.


12                Q.              And       you       say    after    the       shooting       began       is    when


13   he    went    in       and got          Newbury          and Garcia

14                A.              I    believe          Garcia       was    out.        Im     not       sure


is   exactly       because             he    was       running       back       in    and out       to    get    the


16   bags.        So    at    that          time he          could    have       actually          been    inside


17   when    Newbury          came          out.        Im     not    --    Im        not    sure.


18                Q.              But       in    the       statement       you       have    got    as    the


19   shooting          began          Garcia          and Newbury          were       inside       and    then    they

20   come    out

21                A.              Well           you have       to    realize that             as    I    was


22   dictating          the       statement             that    Sergeant             Spivey    was       stopping

23   and explaining                   things          and asking       me       questions          and he       would




--25
24   go    back    on

                  Q.
                             so


                                  But       you       admit    that




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                      23
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 27 of 219 PageID 7792


                                  Yes




 --8
     1               A.                      sir.


     2               Q.           Okay.         What       I       want       to    show       you     Mr.       Halprin

     3   is   theres        a    retaining           wall           cement          retaining          wall           all


     4   along this         embankment.


     5               A.           Okay.


     6               Q.           Now        after you were                    shot        did you          --    I       guess

     7   you had      to    jump over           the    retaining                   wall    to    get       to    the


                     A.           I    dont remember                     the       retaining          wall.           I    dont

 9       remember.


10                   Q.           The     retaining                wall       obviously          is    there          in the


11       photograph

12                   A.           I    just     remember             running            through        grass.


13                   Q.           You     do    see    the          retaining             wall    there           dont

14       you

15                   A.           Yes        sir.


16                   Q.           Goes       all     the       way       to    the      curb

17                   A.           Yes        sir.


18                   Q.           So    if     you    were          shot           as   you     just       described             in


19       your diagram             you would           have          to    jump over             the    retaining                wall


20       to   get    to    this       grass         wouldnt              you

21                   A.           I    remember        touching                grass.


22                   Q.           But    thats         what          you would             have       to    do.           You

23       would      have    to    jump over           the          retaining            wall     to    get       there

24                  A.            Yes        sir.      Im          not        sure.        I    dont remember

25       jumping over            anything            but       I   know        I   was     on grass.




                          283RD       JUDICIAL DISTRICT COURT 214/653-5863
                            NANCY        BREWER OFFICIAL COURT REPORTER
                                                                                                                                          24
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                         Page 28 of 219 PageID 7793



     1                   Q.           And       to     get    back        if    you      are on           this       side       of


     2   the    retaining             wall           you would           have       to   jump back              over

     3   wouldnt              you

     4                   A.           Yes        sir.


     5                                           MR.       SHOOK          Thats          all        the    questions             we


     6   have        Judge.


     7                                               REDIRECT        EXAMINATION


     8   BY MR.          KING

     9                   Q.           Well           certainly wouldnt                     have       to       jump over             the


10       retaining             wall       if    you       ended     up    running          over       on this             grass

11       over    here              would       you

12                       A.           I    could          have     been       there        but       Im        not    sure


13       where       I    exactly          was       at    the     time.


14                       Q.           The       truth        of    the    matter         is         once       the    shooting

15       started              it    was    pretty hard to                 figure         --     there          was    a    lot       of


16       confusion             at    that       point         is    that       right

17                       A.           Yes        sir.


18                                               MR.       KING          Do    we    have       all       the     exhibits


19       out    in       the       courtroom or are                 some       still       in       there

20                                               COURT        REPORTER               Some       are       still       in       there.


21                                               MR.       KING          Judge         may      I    have       one       of    the


22       bailiffs             to    try    to    pull        some    of       the    other          stuff       out

23                                               THE       COURT          You       need      the     assistance                of


24       Ms.    Brewer.


25                                               MR.      KING           May    I    have      her        as    well           for




                              283RD JUDICIAL DISTRICT  COURT 214/653-5863
                                 NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                       25
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                           Page 29 of 219 PageID 7794



 1   just    a    moment        then         Judge

 2                                     THE       COURT         Yes.


 3                                     MR.       KING         She    has    care           and custody


 4                                     THE       COURT         Yes.


 s                                                Recess

 6                Q.            By    Mr.     King        Randy       --    Mr.       Halprin            when


 7   George       Rivas    pulled up             and you       came    out       of        the    stairs        which


 8   stairs       you    talking       about            These       stairs            Or these           stairs    up


 9   here

10                A.        I cant            really remember               how       everything           was    set


     up back       there.        I    just       cant     say.




--is
11




12                Q.        When       you       came    out    of    the    door           that      yall      came


13   out    of     could    you       see     the      Ford Explorer


14                A.        Yes        sir        it    was    almost


                  Q.        It       wasnt        hidden       from view              was        it

16                A.        No        sir.


17                Q.        That       wouldnt           make       much    sense           in    this    robbery

18   to    hide    the    getaway          car    from the view             of    the        people       coming




--23
19   out     now        would    it

20                A.        No        sir.


21                Q.        So       the    Ford       Explorer       had to be              parked       in    some


22   type    of    position          where       somebody       could       see       it


                  A.        Yes        sir.


24                Q.        --       from the          stairs        right

25                A.        Yes        sir.




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                   26
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 30 of 219 PageID 7795



     1               Q.           Now        you     know        I    dont know                    that    because          yall

     2   werent          coming    out       and     going           gee        I    wonder             where    George       is

     3               A.           No      it       was    already waiting                      there.           It    was


 4       already parked.

 5                   Q.           Okay.            Was    it    bright          light          out       there

 6                   A.           No.        There        was    --    it       was       completely             dark


 7       outside.          There       was     a    little       drizzle             and then             it    was    only

 8       illuminated            by the       lights        that       were          on    the       store       or    wherever


 9       there      was    a    light.


10                   Q.           Okay.            And    when       the    shooting                started           you    just


11       broke      and    ran

12                   A.           Yes        sir.


13                   Q.           Lets see                the    States             got        a    receipt          for    four


14       bulletproof           vests.          Im        sorry        but       how       many were             there


15       originally            in the     group          that    was       up       there          in    the    RV

16                   A.           Seven        people.


17                   Q.           Seven

18                   A.           Yes        sir.


19                   Q.           So     somebody          is    buying             four       vests           but    theres

20       seven      of    yall         correct

21                   A.           Yes        sir.


22                   Q.           And when           the       State       talks          in       terms of          you    being

23       --   you    and George          Rivas           being       the    two          smartest          ones        did you


24       ever    get      accepted        to       the    Naval       Academy

25                   A.           No      sir.




                          283RD JUDICIAL DISTRICT COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                      27
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                              Page 31 of 219 PageID 7796


     1             Q.          Did    you     ever    get      accepted          to       the    United    States

     2   Military Academy

     3             A.          No     sir.


                               Were            an honor            student




     --9
     4             Q.                  you                                       at       the    University          of


     5   Texas    at    El    Paso

     6             A.          No     sir


     7             Q.          Were    you     aware       that      Larry Harper                apparently




--13
     8   according       to   the    Texas     Department            of


                                       MR.     SHOOK           Well object                 to    hearsay        Your

10       Honor.        Assuming      facts     not    in    evidence            and the          form of       the


11       question.


12                 Q.           By    Mr.     King          Well          Mr.    Halprin              you said

                                       MR.     SHOOK           Judge        can       I    get    a    ruling on

14       my objection

15                                     THE    COURT            I    sustained             it.


16                                     MR.    SHOOK            Sorry-I didnt                     hear.


17                Q.           By     Mr.     King        You       have    seen          Mr.    Shook    in


18       action   before       this    jury in the             last       couple          of    days     havent

19       you

20                A.           Yes     sir.


21                Q.           Hes     a    very     thorough         and       meticulous

22       individual           isnt he

23                A.           Yes     sir.


24                Q.           You    know    for    a    fact        just       from the             letters

25       that    hes offered          in before          you       that    he    has       certainly       read




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                             28
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                             Page 32 of 219 PageID 7797



     1   every    letter      that    you     have       ever     written.


     2                                 MR.        SHOOK          We    object    to   the    leading

     3   nature    of   the    question.


     4                                 THE        COURT          Sustained.


     5             Q.          By     Mr.     King          You       were    aware    were      you   not

     6   that    they   were    copying           your    mail

     7             A.          Yes     sir.


     e             Q.          And you        still       were        writing    letters

     9             A.          Yes     sir.


10                 Q.          You    didnt         get     any letters while               you were    in


ii       prison

12                 A.          No     sir.


13                 Q.          You    got     a    couple

14                 A.          Couple.


is                 Q.          Didnt         have     any    visitors

16                 A.          No    visitors.


17                                     MR.        SHOOK          Well        object   to    leading     Your


18       Honor.


19                                     THE        COURT          Sustained.


20                 Q.          By     Mr.     King          Since       youve been          in   custody

21       have    you been      in a    single cell               or    not

22                 A.          Ive     been        isolated            yes     sir.


23                 Q.          Have    you        been    allowed        out    for   recreation

24                 A.          No    recreation.


25                 Q.          So    what     do    you     do    to    pass    the   time




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                   29
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 33 of 219 PageID 7798



     1                A.          I    write         letters and read.


     2                Q.          Now         a    lot   of       the    people              that   wrote        you

     3   letters did you know                        them before


     4                A.          No        sir.


     5                Q.          And       it     gives      you       something              to   do      doesnt           it

     6                A.          Yes         sir.


     7                Q.          And had you had any                       contact             with       --    in    the


     8   five    years you            were        in prison         with        any women

     9                A.          No    contact.              I   mean          I       have    had    a    pen       pal        but


10       it    never       turned      into anything.                    Wrote           a   couple        of    times       and

ii       you    know.


12                    Q.          What       do    you     mean never                   turned      into        anything

13                    A.          It    was        just       you       know.


14                    Q.          You       really       cant           have        a    relationship             with




--16
15       somebody

                      A.          Right.


17                    Q.          --    a    physical             relationship                  certainly              while


18       you    are    in    prison          can     you

19                    A.          Yes        sir.




--22
20                    Q.          So    any kind           of     relationship                  you have          with       a




--23
21       woman has          got   to    be


                      A.          On paper or


                      Q.          --    on paper


24                    A.          Yeah.


25                    Q.          You       ever     fantasize            on        paper       about       being with




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                30
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 34 of 219 PageID 7799


     1   somebody




 --7
     2               A.          Yeah.


 3                   Q.          Do    you       ever          write       those       kind       of    letters

 4                   A.          Yes        sir.


 5                   Q.          And certainly you might                               have       made yourself


 6       appear      to   be    something             that       you arent

                     A.          Yes        sir.


 8                   Q.          --    in    some          of    those       letters to                some    of    these


 9       people

10                   A.          Yes        sir.


11                   Q.          Were    you          a    part       of    the    red       team

12                   A.          No     sir.


13                   Q.          Were       you       a    part       of    the    blue       team

14                   A.          No     sir.


is                   Q.          Did you           ever         get    to    drive       one       of    the    vehicles

16                   A.          No     sir.


17                   Q.          Never

is                   A.          Never.


19                   Q.          Did    you ever                go    out    with      George           Rivas       and   any

20       of   the    other      guys    in Colorado                   and go to          any of          the    Army/Navy

21       stores      they      apparently             went       to

22                   A.          No     sir.


23                   Q.          Never

24                   A.          I    went       to       --    there       was    a    --    I    cant        remember


25       what   it    was      called       in    Colorado Springs                       that          they    had went




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                             31
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                          Page 35 of 219 PageID 7800



 1   one    time        and    I       went       with      them.           And       basically             I    was       looking

 2   for    some        kind       of    different               sandals              some       Dock       Martin             sandals


 3   that     they       had           but    I     never        purchased                anything          there.


 4                 Q.              Let       me     show        you what          has       been       marked          as


 5   Defense        Exhibits             34         35      36        and    37.           Let    me    show          you          37


 6   first.         And       scoot          this        out     of    the    way.           And       these          appear            to


     be

 --8
 7




                   A.              Copies           of     letters          Ive           written.


 9                 Q.              --    copies            of    letters

10                 A.              Yes        sir.


11                 Q.              And       36      once        again        these          appear             to    be       copies


12   of    letters

13                 A.              Yes        sir.


14                 Q.              Now        you        had written              some       letters to                me           had


15   you    not

16                 A.              I    had written                  George           I    believe.


17                 Q.              And       do     you know           whether             all    those          letters were


18   received           by George             --     Mr.        Ashford           I       mean

19                 A.              I    believe            --    I    was    told          some    of       them       were

20   never     received                 yes         sir.


21                 Q.              As a matter of                     fact        in order             to       mail       a       letter




--24
22   from     --    and this             is       Defense            Exhibit          35.        Theres              not       a


23   little        mail box or

                   A.              No        sir.


25                 Q.              --    post        office           box    --       listen to             me.        Dont




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                32
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 36 of 219 PageID 7801


     1   talk over          me.


     2                A.           Yes     sir.


     3                Q.           Theres         not    a       mail box or post                office         box up


     4   there    in the          county    jail        or in prison                 is    there

     s                A.           No     sir.


 6                    Q.           There    is     not       a    box you get             to    go    and drop         your

 7       mail    in which          says     you know               nobody       else       can violate               this


 8       face    and take          this    mail.         You       have       got    to    turn       it   over       to    a


 9       guard        right

10                    A.           Yes     sir.


11                    Q.           Now     you     have          had    stuff       that       was    supposedly

12       sent    to    you    in the       form of           pictures or other                   kinds         of    things

13       that    never       actually       --     and magazines                and some             mail that        you

14       never    actually          got

is                    A.           Yes     sir.


16                    Q.           And     of     course           did you          ever       have    a


17       conversation             with    Sergeant        Greg          Porter       in    that       regard

18                    A.           Yes     sir.


19                    Q.           And did you           ever          ask    Mr.    Ashford          or   I    to   have

20       a   conversation           with    individuals                 about       those       types      of       things

21                    A.           Yes     sir.


22                    Q.           Now     theres         a       lot    in    these       letters             isnt

23       there

24                A.               Yes     sir.


25                    Q.           A lot    of    letters to women                        letters to your




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                             NANCY BREWER   OFFICIAL COURT REPORTER
                                                                                                                      33
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 37 of 219 PageID 7802


     1   brother

     2                A.           Yes     sir.


     3                Q.           Is    there a        letter       in here          to    Wesley       your

     4   brother           where    you    tell        him you       were          sorry you       lied to      him

     s                A.           Yes     sir.


     6                Q.           What    did you        lie       to       him about

     7                A.           About       saying     that       I       had    not    caused    injury to        a


     8   child.


     9                Q.           And    Mr.     Shook       introduced             some    letters that         you

io       first       wrote    when       you    first     got       down       to   prison      while you        were

ii       in    the    Tarrant       County        Jail        is    that       right

12                    A.           Yes     sir.


13                    Q.           You    had been        on       the       street       living    --   you had

14       been    living       on the       street.         You       werent welcome                 to   come


15       home

16                   A.            Yes     sir.


17                   Q.            Been    living       apart        from your             family since         the


18       seventh       grade

19                   A.            Yes     sir.


20                   Q.            Since    you were           14    years         old

21                   A.            Yes     sir.


22                   Q.            You    had     --   once        you       started      using     drugs       had

23       you    lied to your             parents       about        that

24                   A.            All    the     time.


25                   Q.            And    you wrote       them           a    letter      and   said     you




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER   OFFICIAL COURT REPORTER
                                                                                                                                34
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                     Page 38 of 219 PageID 7803



      know     I    have       been       lying          to    you

  2                A.           Yes        sir.


  3                Q.           And you told                   them     that      you    were       sorry about

  4   that     that       you       had lied             to    them     about      a    lot    of       stuff

  5                A.           Yes        sir.


  6                Q.           Were       you          lying to        them      when       you told          them you


  7   had lied to          them

  8                A.           No        sir.


  9                Q.           You       were          telling       them       the    truth when             you       told


 10   them   you were           lying          to       them     right

 11                A.           Yes        sir.


 12                Q.           So       you were             trying       to   own     up    for       some    of       the


 13   things       you    had       done

14                 A.           Yes        sir.


is                 Q.           Now        who          sent    you    money while             you      were        in


16    prison

17                 A.           In       prison          I    never    received          any    money.


18                 Q.           How       do    you buy          things          from commissary                with       no


19    money

20                 A.           Ive        got          to    hustle.


21                 Q.          What        do       you mean hustle

22                 A.           I    mean           I    have    to    do       something           you   know

23    either       --    you    know       some          people       do    crafts       and arts              do


24    drawings.           When       I   was     working          in the         kitchen            I   was     selling

25    hamburgers          and cookies                   and    stuff.




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                         35
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 39 of 219 PageID 7804



     1                Q.            Okay.         Its     kind       of    a    cottage       industry inside

     2   the       prison     system        isnt it

     3                A.            Yes     sir.


 4                    Q.            This    fellow         Batman              the    guy that       was    --    was


     5   he    a    leader of        one    of     the    Arian groups


 6                    A.            The    Arian        Brotherhood              yes        sir.


 7                    Q.            Arian Brotherhood.                     Now        what    religious          sector

 e       are you       with

 9                   A.             Im     jewish.


10                    Q.            What    jewish        prison gang                is    there    in   TDC

11                   A.             Theres         no    jewish prison gang.

12                    Q.            Theres         no    jewish prison                gang

13                   A.             No     sir.


14                   Q.             Well        now      the    Arian Brotherhood                    they    are not


is       particularly fond                 of     blacks       or    jews        are       they

16                   A.             No.


17                   Q.             Or Mexicans           for       that    matter           are    they

18                   A.             No     sir.


19                   Q.         And        in     the    letter       that       Mr.       Shook    introduced          in


20       that      letter      you        actually         when       you      are        talking   about        this


21       Batman      guy who         is    working         cooking             making        cookies        you    are


22       talking       about    your relationship                     with      him         dont you

23                   A.         Yes         sir.


24                                          MR.     SHOOK           Judge        we        object   to     the


25       continuing          leading        questions.




                           -283RD JUDICIAL DISTRICT  COURT 214/653-58G3
                              NANCY BREWER   OFFICIAL COURT REPORTER
                                                                                                                                     36
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 40 of 219 PageID 7805



     1                                       THE    COURT            Sustained.


     2               Q.           By        Mr.    King         Can you             tell       me whether             or    not


 3       --    whether      or not          you had a          working          relationship                   with    that


 4       man

 5                   A.           It      was     business           yes        sir.


 6                   Q.           All       right.        Did    you make                a    statement          --    and


 7       Im     looking      for       the      exhibit         since          Mr.       Shook          offered       it

 a       although         in the       same       letter       that       Mr.       Shook          offered       where          you

 9       are    talking      about          that    individual                 do you make                a    statement

10       in regards         to        I     dont        like    him.           He       doesnt           like    me.        But


11       heres       the    deal       with       us
12                   A.           I    cant        really remember                      what       I    wrote    exactly

13       in    the   letter.


14                                           MR.    SHOOK            I    believe             its        No.    954.




--20
15                   Q.           By        Mr.    King         All       right.              The       letter    is       in


16       evidence.          Certainly             the    letter          will       speak          for    itself.          And

17       it    may be back            in the       room with             some       of       the       other    evidence

18       Mr.    Halprin       but         certainly        its           been       offered             into    evidence

19       and that         issue       can    certainly          be       checked             by the       jury

                                             MR.    KING         Was       954          previously offered

21                                           MR.    SHOOK            Yes.


22                   Q.           By        Mr.    King         Let       me    show          you what          has    been

23       marked      as    954        which       was   the     letter.         that          was       introduced         by

24       the    State.       And          once     again        this       is       a    letter          you wrote              is


25       that    correct




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
     --3
                                                                                                                                 37
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                     Page 41 of 219 PageID 7806



     1                A.           Yes        sir.


     2                Q.           You       wrote        it    to    Dawn       and    in here          it    says


         you    talking          about       being        in prison             and being          scared          and in


     4   regard       to    the    Blacks          and     the       Mexicans          and        They        just    pick

     5   the    jews       to    blame everything                    on.        They   never        tried that             crap


     6   with    me.        I    had    a    lot     of    respect          from one          of    the       leaders       of


     7   one    of    the       Arian gangs              over    there named             Batman who                didnt

     8   really like             me     so    to        speak        and    I    didnt        like       him.        He    knew


     9   I   didnt         put    up with          that        antisemitic             crap.

10                                 So       you    might have              been    picked          on because             you

ii       were    jewish           but       you    at     least       tried to         stand up              for yourself


12       being       jewish

13                   A.            Yes        sir.


14                    Q.           It       talks        about       you having          a    working

15       relationship.                 He    was     a    baker       and he       would          bake       the    cookies


16       and you       would       help       sell        them

17                   A.            Yes        sir.


18                   Q.            And       you     split       the       money       50/50

19                   A.            Yes        sir.


20                   Q.            What       did you do              with       the   money that              you made

21       doing       that       kind    of    stuff        in    prison

22                   A.            Mainly          it     was    to    take       care       of    myself as          far       as


23       hygiene.


24                   Q.            What       do    you        mean

25                   A.            Deodorant               toothpaste              shampoo.              I    got    myself




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                              38
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 42 of 219 PageID 7807



 1   a    radio.


 2               Q.           Well        do       you       have       to    buy deodorant                in    prison

 3               A.           Thats           the       only way             you    are going          to       get    it

 4   yes      sir.


 5               Q.           What       about          shampoo               Do    you    have       to    buy

 6   shampoo         in     prison

 7               A.           Yes        sir.


 8               Q.           The    prison doesnt                       give       it    to    you

 9               A.           No     sir.


10               Q.           You    have          to    buy       toothpaste             in    prison

11              A.            Yes        sir.


12               Q.           Prison didnt give                          that       to    you

13              A.            No     sir.           They          give       you    some       baking       soda.


14               Q.           Okay.           So    if       you    dont have money on your

15   books       if       theres     not        somebody            that       comes       in who          is    involved


16   in your         life    somehow            some         family or somebody                      else       that


17   wants      to    try    to    show       just       a    little          bit    of    support          and put


18   twenty      bucks       on your          books          every month             so    you can          have       a    few


19   little      things       just       to     try      to       stay clean             and have          some


20   semblance         of    what    it       might          be    to    have       some       own    personal

21   self-respect             you    have          got       to    do    something             inside       of    prison

22   to   try    to    make       some    money to                try    to    figure          out    how to          buy

23   that     stuff

24              A.            Yes        sir.


25              Q.            Now        did you             have       your       teeth       examined when                you




                      283RD JUDICIAL DISTRICT COURT 214/653-5863
                         NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                   39
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                         Page 43 of 219 PageID 7808



 1   went   into    prison

 2             A.          Yes      sir.


 3             Q.          Are your         teeth       in the       same    shape       that      they

 4   were   when    you    first     went        into    prison

 s             A.          No      sir.      They       are    in    real    bad shape            now.


 6             Q.          Prison doesnt                have       the    best    health      plan           does


 7   it

 8             A.          No      sir.


 9             Q.          Of    course          thats        to    be    expected       because         it    a


10   prison     after      all

11             A.          Yes      sir.


12                                  MR.     SHOOK         Judge           well object             to    the


13   leading    questions.

14                                  THE     COURT         Sustained.


is             Q.          By      Mr.     King         You    are       there    to   be    punished

16   arent you

17             A.          Yes      sir.


18             Q.          In    regard      to    Ms.    Roe        Ms.    Roe    has      had    a    child


19   recently       has    she     not

20             A.          Yes      sir.


21             Q.         And      how many children                 does    she       have

22             A.          She     has     two    children now.


23             Q.          You     have     letters           do    you    not     that      you have

24   written    where      you describe            yourself          as    the    father      of       the


25   children       so    to    speak




                    283RD JUDICIAL DISTRICT COURT 214/653-5863
                       NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                      40
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 44 of 219 PageID 7809


 1             A.               Yes        sir.


 2             Q.               And    the       reality of             that      is     you are not                   the


 3   father    of        any    of    her       children            are      you

 4             A.               No     sir.


 5             Q.               That       doesnt           keep       you    from having                some          type       of


 6   fantasy       in     that       regard       or    trying          to    describe          yourself                in


 7   those terms               does    it

 8             A.               No     sir.


 9                                         MR.    SHOOK            Judge         well object                      to    the


10   leading questions.

11                                         THE    COURT             Sustained.


12                                         MR.    KING            Well offer 34                     35        36        and


13   37.


14                                         MR.    SHOOK            No     objection.


15                                         THE    COURT            Defense          Nos.       34        35        36        and


16   37    shall    be     admitted.


17             Q.               By     Mr.       King            You    know        Mr.       Halprin              Im        sure


1s   the    jury will          be     glad       to    hear       that       Im     not       going          to    sit       here


19   and read       every        one       of    these       letters.            Would         it       be    fair          to


20   say that       if     the       jury wants             to    have       some      idea     of       what          you

21   are     who    you        are     what       your       life       may be         like         as       opposed             to


22   buying    a    book       and     taking          the       middle      page        or    two       and       reading

23   that    and    then closing                 the    book       and       say       well         I    have          read


24   the    book     and now           I    know       what       the     book      is    all       about.              I    know


25   what    the    characters              are       all    about.          They        would          really have




                    283RD JUDICIAL DISTRICT  COURT 214/653-5863
                       NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                   41
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 45 of 219 PageID 7810



 1   to    go    through       and read             all    those           letters              just       to    get    some


 2   idea        wouldnt           they

 3                A.           Yes        sir.


 4                Q.           When       you were             leaving              the       Oshmans            yall were

 s   trying       to    get    out      of     there       in     a       hurry

 6                A.           Yes        sir.


 7                Q.           People          were       running              up       and    down    the       stairs


 8   trying       to    get    the      stuff

 9                A.           Yes        sir.


10                Q.           As a matter of                   fact            although             you    were       the


11   first       one    at    the       door        did you previously testify                                   that       you

12   were       sent    back       to   get        the    sleeping              bag

13                A.           Yes        sir.


14                Q.           Now        you       are    aware           from sitting                here       in    court


Is   that       the    testimony          is       that    apparently                    some    bags       were


16   actually          left    on the          ground          out        there          during       the       course       of


17   trying       to    get    away       from the             Oshmans

18                A.           I    was      aware        there was                 a    lot    of    stuff       left


19   behind           yes     sir.


20                Q.           Okay.           There       was        a    bag          full    of    guns       or    clips

21   I    believe        there was             a    bag    full           of    ammo          thats        been       talked


22   about       by detective             --       one    of    the        officers             who    picked          up    the


23   crime       scene       material              is    that     correct

24                A.           Yes        sir.


25                Q.           And certainly                   theres               been       photographs             of    that




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                               42
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 46 of 219 PageID 7811



 1   introduced            in    front    of    the          jury.         And       that       is    reflected             that


 2   yall werent accomplishing                                everything                 that    you wanted             to


 3   accomplish.

 4                                       MR.    SHOOK               Judge            well        object       to    his


 s   continued          leading         questions.

 6                                       THE    COURT               Sustained.


 7                                       MR.    SHOOK               Well ask you                     to    instruct


 8   counsel         not    to    continue          to       lead    the        defendant.


 9                                       THE    COURT               Mr.        King        you know          how to          ask


10   the    proper         questions.

11                                       MR.    KING            Thank           you        Your Honor.


12               Q               By     Mr.    King            Well            Mr.       Halprin           tell    the


13   jury why         it    is    that    somebody             left        a    bag out          there

14               A.              Because       we       were    trying              --    everybody          was    trying

is   to    get   out       of    there.


16               Q.              Tell    the    jury why              it       is    somebody             dropped       a    gun

17   out    there

1s               A.              From what          I    understand                 he    was    pulling          the


19   officer         out    of    the    car    and          thats how               he    dropped          his    gun.


20   That    was      what       was    told to          us.


21               Q.              Why    didnt           he    stop     and pick             it       up

22               A.              Because       he       was    trying           to       leave.


23               Q.              Tell    the    jury          why      supposedly                    somebody       shot


24   somebody else               out    there

25               A.              Excuse       me



                      283RD JUDICIAL DISTRICT COURT 214/653-5863
                         NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                       43
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 47 of 219 PageID 7812




     --6
     i               Q.           Tell       the       jury how          Mr.    Rivas            got       shot.


     2               A.           He    was       in the       middle          of    it        while        everybody

     3   else    was      shooting.


     4               Q.           Tell       the       jury how you got                    shot.


     5               A.           I    was    trying          to    get       away    and somebody


         somebody         called       my name          and when          I    turned             I    felt       my foot          go


     7   numb.


     8               Q.           Tell       the       jury how the             windows               of    the    Ford


     9   Explorer         got    shot       out.


10                   A.           Donald          Newbury          shot       the    window            out       when    I    was


ii       in his      lap.


12                   Q.           What       sense       does       that       make

13                   A.           I    have       no    idea       why    he    did        it.


14                   Q.           Youre           not    up to       --       tell        --     Mr.       Halprin           do


15       you    --   do    you understand                that       this       jury            their job is              to


16       decide      whether          you    are       guilty of          capital              murder and then                    if



17       you are guilty of                  capital       murder              somehow             they       have       to


18       decide      the       answers       to    special          issues            You         understand             that

19                   A.           Yes        sir.


20                   Q.           Do    you understand                   that       they         can       believe       or


21       disbelieve            anything       you       say

22                   A.           Yes        sir.


23                   Q.           Have       you       ever    made       any       statement               to    anybody          in


24       any of      the       letters to          law    enforcement                or to            the    media that


25       you    fired      a    weapon       that       night




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                           44
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                               Page 48 of 219 PageID 7813


     1                A.               Never.


     2                Q.                  Your       statement             doesnt say                 that        you    ran over

     3   and jumped             in        --    well         your      statement                is    in     evidence            Ive

     4   got    a    copy       here.            But        part      of    the       statement              --    on    State


     5   Exhibit           931       of        course           Mr.    Spivey             is    writing           this    for    you

     6   correct

     7                A.               Yes           sir.


     8                Q.               You       are        dictating            it       and you           are    talking       about


 9       what       happened          and        hes writing                    it    down           is     that    correct

10                    A.              Yes            sir.


11                    Q.              And you               are      talking          about          the     shooting           you

12       are    talking          in        terms of             the    shooting                 Thats             when    the    cop

13       showed       up.        I    was        still          at    the       back      door.            Rivas        told me to

14       stay       there.           Rivas           went       up    and shot             the       cop.         Harper       was


is       shooting          at    the           car    and then             he    went          and got        Garcia.           They

16       came       out    and       there was              more gunfire.

17                                    See            when       you    look          at   this        statement            there


18       are    parts of             it        where       you       are    talking             about       specific           types


19       of    things       like          who        was    shooting

20                    A.              Yes            sir.


21                    Q.              Okay.            And       then       you are             talking           about    --    when

22       you    talk       about          yourself you                     go        at   some        point        in    all    this


23       shooting          you got              shot       in    the       foot.          You     took       off        running.

24       I     didnt        get       far       before           I    was       able      to     get       in the        Explorer.

25       I    was   yelling                I    got        shot       in    the       foot.               Rivas     said he          got




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                          45
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                     Page 49 of 219 PageID 7814


     1   shot    too.         I   was    sitting           on    the    lap of             Newbury        in    the   front


     2   seat.     And as we            were        leaving           Newbury          shot       out     the


     3   passenger       window         of    the     Explorer right

 4                 A.             Yes        sir.


     5             Q.             Now        theres         nothing          in       there       about     what


 6       particular       colors         were        assigned          to    everybody              is     there

 7                 A.             No     sir.


 8                 Q.             Did you           talk    to    Detective                Spivey       about     that

 9                 A.             Yes.        I     gave    him the          complete             code.


10                 Q.             Did you           make    any drawings                   for    Detective


11       Spivey

12                 A.              I   did a        couple       of    diagrams              yes        sir.


13                 Q.             They       are     not    attached             to    that        are    they

14                 A.             No     sir.


1s                 Q.             Was    there        another          police          officer          there     when


16       you   took     the       statement

17                 A.             Yes        sir.


18                 Q.             Do    you       know     whether          or not          he    was    taking

19       notes

20                 A.             He    was       taking        notes       on    a    yellow       tablet.


21                 Q.             Who    were        you getting             letters from


22                 A.             Letters

23                 Q.             While       you     are       here    in       the       jail     who     are you


24       getting      letters          from         Who     is    writing             you

25                 A.             A lot       of    people.            A lot          of   people        have    kind    of




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                      46
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                            Page 50 of 219 PageID 7815



      fallen         off   not       writing anymore.

  2                Q.           Are    these       people    you       knew       before      you got

  3   arrested

  4                A.           No     sir.


  s                Q.           These       are    people    that        just      read about             you   in


  6   the       newspaper       and they          just    wrote you          a    letter

  7                A.           Yes     sir.


  8                Q.           Did    you end up          writing them             back

  9                A.           Yes     sir.


 10                Q.           Do you       have    any    idea       who       Richard      Marcinko          is

11                 A.           No     sir.


12                 Q.           Im     mispronouncing             that.           Richard         Marcinko

13                 A.           No     sir.


14                 Q.           You    dont know whether                  or      not   hes        some     author


15    of    a    series    of       books    describing          his     life      as   a    Navy    Seal

16                 A.           I    believe       Im     familiar with             the      book    series

17    but       Im   not   sure.


18                 Q.           Its     called       red    something              red team          red


19    something

20                 A.           Yes.        George       Rivas    has     talked        about       it.         Its

21    something         about        Navy    Seals        yes     sir.


22                 Q.           Those       are   books     you    can       buy at         the   grocery

23    store

24                 A.           Yes     sir.


25                 Q.           Now     were      you     in the       military




                        283RD       JUDICIAL       DISTRICT  COURT 214/653-5863
                           NANCY       BREWER        OFFICIAL COURT REPORTER
                                                                                                                                    47
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 51 of 219 PageID 7816



     1              A.              No     sir.


     2              Q.              Do    you     know       if    Mr.      Harper        had been          in the


 3       military

 4                  A.              He    said he        had been             in the          military yes                   sir.


 5                  Q.              Do    you     know       if    he    came       from       a    military          family

 6                  A.              Yes     sir.         His       father          was    a    Special          Forces.


 7       Thats      what       he    said         his    father          was       in    Special          Forces.


 8                  Q.              Who    came        up with          the    nickname             of    Junior       for


 9       you

10                  A.              That    was        just       --    usually the                one    who    used        it


11       the    most was        Donald          Newbury.

12                  Q.              You    werent            --    you werent                 the    CO were you

13                  A.              No     sir.


14                  Q.              You    werent            the       XO     were       you

15                  A.              No     sir.


16                  Q.              Theres            some    individuals                that       were    walking           in


17       the    courtroom           yesterday afternoon.                           Do    you       recall       who    those


18       individuals           are

19                  A.              Yes     sir.         I    wasnt           sure of          the       middle person

20       at    first.      I    thought          it    was        somebody          else           but     yes        sir.


21                  Q.              Are those           individuals                from the          Texas

22       Department        of       Corrections

23                  A.              Yes     sir.


24                  Q.          Now         in     that       regard        you         are    aware       of   being         the


25       thorough        man that          Mr.    Shook           truly       is    that       he    certainly would




                         283RD JUDICIAL DISTRICT  COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                              48
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                     Page 52 of 219 PageID 7817



         have       gone    and combed               through      all    information that                  he    could

     2   get    about       the     prison break                 would       he    not

     3                A.            Yes        sir.


     4                Q.          You      would          think       that        wouldnt           you

     5                A.          Yes          sir.




--11
 6                    Q.            So    if    theres           something          to      indicate       that       you

 7       were       involved        in a       riot       down    in    TDC        certainly we            can       expect


 8       to    be    able    to     see    that        kind      of    documentation                from very


 9       thorough          Mr.    Shook         cant        we

10                    A.          Yes          sir.        There       would      be     some       kind   of


                                               MR.     SHOOK           Well object               to    leading and

12       sidebar.


13                                             THE     COURT           Sustained             just      leading.


14                    Q.            By     Mr.       King         And certainly                if     there     is


15       somebody          thats         going       to    come       down    and testify              that     you

16       pulled       a    weapon        on them yourself                during          the    prison break                we


17       can    certainly         expect         to       hear    that

18                                             MR.    SHOOK            Same       objection            leading.


19                                             THE    COURT            Sustained.

20                   Q.             By     Mr.       King         Why    did you write                people         that


21       you    didnt know

22                   A.           Pass         my time.

23                   Q.           Now          since      you have           been      in    the    Dallas       County

24       Jail   you havent               mingled with                 any of      the       other     inmates          have


25       you




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                               49
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 53 of 219 PageID 7818



     i               A.             No.        Ive talked                 to    some       inmates before                but


     2   not     like     on    a   personal           deal.


     3               Q.             Theres            just       people

     4               A.             Just       people          down       the       hall    yes           sir.


     s               Q.             All       right.           And     are      there always               guards       around


     6   there

     7               A.             Yes        sir.


     8               Q.             You       are     not      talking          about      some       type        of


     9   private          quiet       conversation

10                   A.             No        sir.


11                   Q.             In    regard          to     the      planning         of    the       Oshmans           was

12       it    the   plan       that      if    something              unusual         happened             somebody

13       walked      in        that      --    what       was     Mr.       Rivas      going         to    do     in that


14       regard

15                   A.             That       would        be    to      subdue       them.


16                   Q.             Okay.        And        how was            he   going       to    get       close


17       enough      to    subdue         them

18                   A.             He    was       going        to       you       know    take          them    off-guard

19       and then         you       know        try       to     tie      them      up     if    he       could.


20                   Q.             And how would                 he      take      them    offguard

21                   A.             Either          talking          or     however        he    does       it.        Hes



--23
22       good.       Hes

                     Q.             He    had       the     security            badge       right

24                   A.             Yes        sir.


25                   Q.             And       thats         what       he   had      done       to    the       employees




                          283RD JUDICIAL DISTRICT COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                 50
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 54 of 219 PageID 7819



     1   at   Oshmans.           He    had taken           them         offguard              by showing            them    the


     2   security badge

     3              A.           Yes        sir.


     4              Q.           And    that        was    essentially the                      game plan                wasnt

     5   it

     6              A.           Yes        sir.


     7              Q.           And    you        have    heard         testimony of                 how      he


     8   apparently        walked       outside           and      did exactly                 the    same         thing    to


 9       people     outside           showed        them      a    badge        and           tried to allay


10       their fears        that       he    was      some        type    of    security              guy          right

11                 A.            Yes        sir.


12                  Q.          And     when       you     saw         him approaching                   the       officer

13       what     did you       think       he    was     getting         ready to             do

14                 A.            I    thought       he     was         grabbing          for       his      security

is       badge.


16                 Q.           Was     that        in some            kind    of    a    wallet          like       type    of


17       thing

18                 A.           Yeah.            Im     not       sure exactly                what       --    I    cant

19       remember        what   it     looked       like          but         yes        it    was       some       kind    of


20       identification              holder.


21                                          MR.    KING            I    have    no       further questions.

22       Pass   the      witness.


23                                       MR.       SHOOK               Your Honor              I     will      now       offer

24       whats     been     entered          for    record             purposes          as    964       for       all


25       purposes.




                         283RD JUDICIAL DISTRICT  COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                            51
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                 Page 55 of 219 PageID 7820



 1                                     MR.    KING            No       objection.


 2                                     THE    COURT            No.       964       will       be    admitted       for


 3   all    purposes.

 4                                     MR.    SHOOK            May       I    publish          a    portion       of


 s   this    letter

 6                                     THE    COURT            You       may.


 7                                           CROSS-EXAMINATION


 a   BY MR.       SHOOK

 9                Q.           Sweetie        --        This       is    a    letter          to    Jennifer Roe


io   dated    7-3-02.


11                             Sweetie            TDC    doesnt              do    conjugals.           What       I




12   was    saying        in    some       states       make       you pay             for your       conjugal

13   visits        whether       with       money or good                time.           Dont        worry

14   people       are    trying       to    get    conjugals             for       Texas.           Thats why           I




15   want    you to       join TIFA.

16                             Whats        TIFA        Mr.    Halprin

17                A.           Texas       Inmate       Families             --    I    cant        remember       it


18   exactly.


19                Q.           Because        they       are working                   for    better    prison

20   conditions           rights           conjugal       visits              etc.           The    more people


21   who    get    involved          the    more    chances             of    better          things    like


22   conjugals         will     happen.           You    are       a    taxpayer.              You    have    a


23   right    to       speak    up   about        the    way       prisons             are    run.     Thats

24   what    TIFA is       about.           They    need       to       get       TVs    allowed       in    cells

25   too          Exclamation          point.           To     be       sold on the                commissary.              I




                       283RD JUDICIAL DISTRICT  COURT-214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                              52
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 56 of 219 PageID 7821



  1   could    do       my time       real          easy.       Listen to             the    radio           watch    TV

  2   see    you    on weekends                 have      wild        freaky          sex        a    piece    of


  3   cake.

  4                                        MR.       SHOOK           Thats        all       we       have     Judge.


  5                                         REDIRECT            EXAMINATION


  6   BY MR.       KING

  7                Q.           Are    you having               wild        freaky          sex up in the              jail


  8   here    in    Dallas

  9                A.           No     sir.


 10                Q.           Are you             listening         to    a    radio       here in Dallas


 11                A.           No     sir.


 12                Q.           Watching             a   TV    here    in       Dallas

13                 A.           No     sir.


14                 Q.           Do    you       suspect         that       you    return             to    prison     that


is    you are       going       to    be    in general               population

16                 A.           I    know       I    wont       be    in general             population.

17                 Q.           Have       you been            notified          of    a    classification


18    hearing       in your          particular               case    by the          Texas          Department        of


19    Corrections             which    took          place      after       the       escape

20                 A.           I    cant           remember         anything.


21                 Q.           Is    it    possible            that       in your          absence          from the


22    Texas    Department             of    Corrections                based          on    your          knowledge     of


23    how things          work       there           that      they    may have             reclassified as                 to


24    how.   they       are    going       to       house     you     should          you be          returned

25                 A.           Yes        sir.          Ive heard rumors and                             stuff.




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                             53
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 57 of 219 PageID 7822



     1              Q.              You    certainly have               charges       pending             against       you

     2   as   a   result       of    the    escape        do   you          not

     3              A.              Yes     sir.


     4              Q.              And    we    dont have conjugal                   visits             here    in    the


     5   State     of    Texas        do    we

     6              A.              No     sir.


     7              Q.              Once    again        thats          a    fantasy              isnt it

     8             A.               Yes     sir.


     9                                      MR.       KING     I    have       no    further questions


10       Your Honor.


11                                          MR.       SHOOK        We       have    nothing             further

12       Judge.


13                                          THE       COURT        Thank       you        Mr.       Halprin.

14                                          MR.       ASHFORD           Your Honor                 at    this    time

15       ladies     and gentlemen                 the   defense             would    rest          its    case    in


16       chief.


17                                          THE       COURT        Defense          rests.


18                                          MR.       SHOOK        Can we          have       a    minute        Judge

19                                          THE       COURT        Well        take       a       break    at    this


20       time.     We     will       take       our morning break                   1000.

21                                                     Jury out

22                                                     Recess

23                                                     Jury in

24                                          THE       COURT        Thank       you.           You       may be

25       seated.         Mr.    Shook           the   defense       having          rested              what    says    the




                         283RD JUDICIAL DISTRICT COURT 214/653-5863
                            NANCY BREWER OFFICIAL COURT REPORTER
                                                                                                                    54
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                            Page 58 of 219 PageID 7823



 1   State

 2                                     MR.    SHOOK                State    will    call       Patrick


 3   Moczygemba.

 4                                       PATRICK              MOCZYGEMBA

 5   having       been    duly    sworn           was     examined          and testified             as


 6   follows

 7                                      DIRECT           EXAMINATION


 8   BY MR.       SHOOK

 9                Q.        Would       you       tell        us    your name           please.


10                A.        My name          is    Patrick           Moczygemba.

11                Q.        And    where          do     you       live     sir

12                A.        I    live    in a          little        town    called       Panta       Maria.


13                Q.        Let    me    turn your attention                       --    let    me    ask   you

14   this.        Are you       employed at              this       time

is                A.        Im     unemployed.

16                Q.        Okay.        Back          in December           of    2000    where       were    you

17   working

is                A.        I    was    working           in       the   Connally        Unit    in    Kenedy

19   Texas.


20                Q.        Could       you       tell        the    jury where          the    Connally

21   Unit    is    located

22                A.        The    Connally Unit                    is   located        approximately          50


23   miles    south of          San Antonio              on    Highway       181        halfway      between


24   Corpus       and    San Antonio.

25                Q.        Were       you born and raised                    in    that       area where




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                       55
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                               Page 59 of 219 PageID 7824


     1   the    Connally      Unit       is

 2                 A.          Yes        sir         I    was.


 3                 Q.          And are you married and have                             a    family

 4                 A.          Yes        I    do.


 s                 Q.          Back       in    December           of    2000     what       was       your job at

 6       the    Connally      Unit

 7                 A.          I    was       the    Assistant Maintenance                       Supervisor       at


 8       the    Connally      Unit.


 9                 Q.          How       long       has     the    Connally       Unit       been       down


io       there

11                 A.          Approximately                 --    at    the    time    --       right    now    its

12       probably about            eight       years.


13                 Q.          What       type       of     prison unit          is    it

14                 A.          Its        a    maximum.


15                 Q.          About          how many inmates are there


16                 A.          About          2800.


17                 Q.          The       maintenance              department           what       do   you do

18       there    at    the   maintenance                 department

19                 A.          At    the      maintenance               department          we    basically

20       take    care    of   all    the       repairs        of    everything          that       goes    on    in


21       the    maintenance         of    a   prison.


22                 Q.          What       type       of     repairs       are    you    talking          about

23                 A.          Were talking                  about       repairing          doors        repairing

24       air    conditioning             doing       plumbing            repairing          any    broken       trim


25       of    doors    or anything             else       that     we    need    to    do.        Basically




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                       56
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                 Page 60 of 219 PageID 7825



 1   like    you       would    in    repairing          a    house.           Its       the     same     thing.


 2                Q.           Are prison          units       in    Texas           are    they      pretty

 3   self-sufficient


 4                A.           Yes     sir        they       are.


 s                Q.           What    --    how are they                self-sufficient


 6                A.           All    the    maintenance             is       basically          from     the


 7   inside.           The    food    is    cooked       on    the       inside.           All      the   cleaning

 8   is    done    by    the    offenders.              Its        all    basically            --    everything

 9   is    done    from the          inside.        Nothing          is       brought       in      from the


10   outside.


11                Q.           In    the    maintenance             department              do      you   have


12   inmates that             assist       you    in your          work       there

13                A.           Yes     sir        they       do.


14                Q.           Now     do    you have          civilian             employees         that      work


is   the    maintenance             department

16                A.           Yes     sir.        We    have       one       of    basically         every

17   field    that       is    out    in    the    free       world and             we   have       basically

18   like    air       conditioning          and heating                 we    have      two        plumbing      we


19   have    two        and    lock    techs       we    have       two        and so       on down        the


20   line.


21                Q.           Those       are    civilian          employees

22                A.           Yes     sir        they       are.


23                Q.           And    do    they    have       inmates that                would      work      under


24   them

25                A.           Yes     sir        they       do.




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                 57
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                              Page 61 of 219 PageID 7826



     1               Q.        If    they       are       able    to     are    all    inmates       in    the


     2   prison system in Texas                  required          to    have    a    job

     3               A.        Yes        sir        they       are.


     4               Q.        And    why       is       that

     s               A.        It    seems       to       keep    them    out    of    trouble.           They

     6   have   to       either go    to    education             or they       have    a    job   somewhere

     7   on   the    unit.


     s               Q.        Are    they       actually          paid       money for the          job

     9               A.        No     sir        they       are    not.


10                   Q.        What       hours do          they       work

11                   A.        Usually          they       can    work    as    long    as    they    are


12       needed.


13                   Q.        Now        the    maintenance             department          how     many

14       inmates would         work       out    of       that    unit

Is                   A.        Usually          anywhere          from    60    to    70.


16                   Q.        Okay.        Now           you     as    the    assistant       supervisor

17       did you      supervise       those          craftsmen

18                  A.         Yes        sir        I    did.


19                  Q.         And also those                   inmates

20                  A.         Yes        sir        I    did.


21                  Q.         Were       there          some    specific       inmates there          that


22       were   under       your direct         supervision

23                  A.         Yes        they were.

24                  Q.         Let    me    show         you     what    has    been    marked       State


25       Exhibit      44.     Do    you    recognize             these    photos




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                              58
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                          Page 62 of 219 PageID 7827


     1             A.        Yes      I    do.


     2             Q.        Were     these          inmates working            in    the     maintenance

     3   department       in December           of    2000

     4             A.        They     all       worked       except       for   one.


     s             Q.        Which        one    was       that

     6             A.        That     was       Michael       Rodriguez.

     7             Q.        Do    you know           what    his    job was         in   the   prison

     8             A.        He    was     on the          inside yard.


     9             Q.        What    do        you    do    on the    inside       yard

3.0                A.        The     inside          yard    they    basically         mow all        the


11       grass   and tend     all     the       flowerbeds          inside the         perimeter        of


12       the   fence.


13                 Q.        Now     these           individuals          in the     photograph

14       which   ones    had been         in    the    maintenance          department          the


15       longest    from what       you        recall

16                 A.        George       Rivas        and Murphy          and Newbury          were    the


17       longest    there.


18                 Q.        What    did George              Rivas    do    in the        maintenance

19       department

20                 A.        George       Rivas        was    basically         like      a   clerk.


21                 Q.        Okay.        And     where       did    he    work    there

22                 A.        He    worked        in    the    office.


23                 Q.        Is    that     where       you    worked        also

24                 A.        Yes.


25                 Q.        What    were        his    duties




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                               59
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 63 of 219 PageID 7828



     1              A.            His    duties             were       to    take      orders        make     orders

     2   and   when      the     parts came             in        he    classified            them    and put           them


     3   through       --   then we          put       them       in    the       warehouse.


     4              Q.            How    about          Murphy          and Newbury

     5              A.            Patrick          Murphy          was       a    carpenter.          He    worked        in


     6   the   carpenter          shop       with       Mark       Burgess.


     7              Q.            So    he    was       under          the       supervision         of    Mark


     8   Burgess

     9             A.             Thats        correct.


10                  Q.            And    Donald             Newbury

11                 A.             Donald       Newbury             worked         as    a    lock    tech.         He


12       worked    under         the    supervision                of       either Ronnie            Hahn     or    Terry

13       Schmidt.


14                 Q.             What       does       a    lock       tech      do

is                A               Lock       tech           they       work on all            detention        locks          in


16       the   prison system.

17                Q.             And then              Joseph          Garcia       and Randy         Halprin           and

18       Larry Harper            what        did they             do

19                A.             They        worked          in    the       warehouse.

20                Q.             Where       was        the    warehouse               located

21                A.             The     warehouse             was       located            on the    back     side       of


22       the   office       in   the     maintenance                building.

23                Q.             And what              was    kept       in      the   warehouse

24                A.             We     kept       a    stock       of        you      know     filters       for       air


25       conditioners            plumbing parts                     nails           bolts       a    little       bit    of




                         283RD JUDICIAL DISTRICT COURT 214/-653-S863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                  60
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                              Page 64 of 219 PageID 7829



 1   everything.

 2             Q.           And what          was    Randy       Halprins            duties         in the


 3   warehouse

 4             A.           Randy Halprins                 duties          were    --    he    was       the   tool


 5   person.        He    took    care     of      all    the    nonsensitive             tools.


 6             Q.           And    do    you       see    Mr.    Halprin          here    in the


 7   courtroom       today

 8             A.           Yes     I    do.


 9             Q.           Would       you point          him out          for    us

10             A.           Hes     sitting          right       at       the    end of       the    table


11   right there.

12             Q.           Pointing          to    the    man at          the    end of       the       table


13   with   the     suit    and tie       on

14             A.           Yes     sir.


15                                  MR.       SHOOK            Let    the       record    reflect          the


16   witness      has     identified          the    defendant.


17             Q.           By     Mr.    Shook            Now        if    inmates have             a    serious


18   discipline          problem        are     they      able       to    work    in the       maintenance

19   department

20             A.          No      they       dont.

21             Q.          You     say Rivas             and Newbury             and Murphy          had


22   worked    there the          longest

23             A.          Yes      sir         thats          correct.


24             Q.          Do     you    remember          when       Mr.       Garcia    and Mr.          Harper

25   and Mr.      Halprin were           brought          in    there




                    283RD JUDICIAL DISTRICT  COURT 214/653-5863
                       NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                     61
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 65 of 219 PageID 7830


     1                A.        I    think     they       were       brought             in    approximately a

     2   year before          the    actual        --    when       they           escaped.


     3                Q.        How     is    an     inmate         brought             into     the       maintenance

     4   department            How    does     he       get    a    job       there

     5                A.        What     he    does       is        they        usually          send          an    IOC       to


     6   the    maintenance          supervisor           and we          kind          of    screen           them       or


     7   they        by their       qualifications.                  They          are       brought           in by       their

     8   qualifications.

     9                Q.        Okay.         Did       George       Rivas           request          any       of    these

10       individuals

11                    A.        He    had     talked          --    he    recommended                 a    few       of    them.


12                    Q.        How    would        that       come       about

13                    A.        Well         basically             they       sent       an    IOC        in    to    us       and

14       we    look    at    their qualification                    and       if     they      fit        what       we    need

15       we    hire them.


16                    Q.        Up    until     December             13th          of    2000         had you             had

17       any    discipline          problems with              any of          these          individuals

18                    A.        None.


19                    Q.        Had you        got      along with                 them       all

20                    A.        Yes     I     did.


21                    Q.        Had    they     performed                --    well           had     --    they          hadnt

22       been    a    discipline       to    you or any              of       the       other        supervisors

23       either

24                    A.       Thats         correct.


25                    Q.       Let     me    show       you        some       posters          which        have          been




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                           62
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 66 of 219 PageID 7831



     i   marked       State       Exhibit          582       which       contains          some    names.        Are

     2   these    names          of    individuals                maintenance             workers        craftsmen

     3   guards        and also some                  inmates that             were       taken    hostage       on

     4   December          13th

     5                A.              Yes    sir        thats           correct.


     6                                       MR.       SHOOK            Well offer State                 Exhibit


     7   582.


     8                                       MR.       ASHFORD            No       objection           Your    Honor.


     9                                       THE       COURT            No.    582       shall    be    admitted.


10                    Q.              By    Mr.       Shook         Let       me    show    you State          Exhibit


11       543.     Does       this      show       a    blueprint          of       part    of    the    maintenance

12       unit     which          includes         the    warehouse                 your    office        and the

13       electrical          room

14                    A.              Thats       correct.


1s                                           MR.       SHOOK            Well offer              State    Exhibit

16       543.


17                                           MR.       ASHFORD            No       objections.

18                                           THE       COURT            No.    543       shall    be    admitted.


19                    Q.              By    Mr.       Shook         I    want       to    show    you    some


20       photographs             which      has       been    marked          State       Exhibits       500    through

21       550.     Do       you    recognize            these as          being       aerial       photographs         as


22       well    as    photographs               of    the    interior             and    exterior of          the


23       maintenance             unit       as    well       as   some        weapons       that       were    used

24       during       that       escape      and       injuries to             yourself

25                    A.           Yes       sir        thats           correct.




                           283RD       JUDICIAL   DISTRICT COURT 214/653-5863
                                 NANCY      BREWER OFFICIAL COURT REPORTER
                                                                                                                           63
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 67 of 219 PageID 7832



     1                                    MR.       SHOOK            At    this       time       we     offer State

     2   Exhibits 500         through          550.


     3                                    MR.       ASHFORD               No    objections.

     4                                    THE       COURT            Nos.       500       through        550      shall   be


     s   admitted.


     6               Q.           By     Mr.       Shook         Looking             at    the       monitor        is


     7   this   an    aerial view             of    what       the    Connally             Unit       looked       like

     8               A.           Yes     sir        thats           correct.


     9               Q.           How    many       gates go          into          the    Connally          Unit

10                   A.           We    have       one    entrance             gate       to    where       the


11       employees        and the        --    come       into.           And       then we          have    the   back

12       gate       which    is    where       the       vehicles          come       in       for    deliveries.


13                   Q.           Is    this       the    back       gate       here

14                   A.           Yes     sir.


15                   Q.           And are there                three guard                towers on the            unit

16                   A.           Yes     sir.


17                   Q.           All    right.           This       is    where          the    employees         park

18                  A.            Yes     sir.


19                   Q.           And the          nearest       town          is   what

20                  A.            The   nearest           town       is    Kenedy.


21                  Q.            How   far        away    is    it

22                  A.            Its     probably about                   three          miles       away.

23                  Q.            Let   me     show       you    State          Exhibit          501.       Does    this


24       show   a   view    from kind           of       the    back      part        of       the   prison

25                  A.        Yes         sir        thats           correct.




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                      64
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                              Page 68 of 219 PageID 7833



     1             Q.          Is    this       the    back    gate where             vehicles          come    in


     2   and    out

     3            A.           Yes     sir.


     4             Q.          And    this       building       here        is       that    the


     s   maintenance      department

     6            A.           Yes     sir        it    is.


     7             Q.          State       Exhibit       502    kind       of    shows       another          angle.


     8   Again     the   back       gate    is    here

 9                A.           Yes     sir.


10                Q.           And    is    this       the    maintenance             building

11                A.           Yes     sir        it    is.


12                Q.           There       is    where       your offices             were       and where       the


13       warehouse       was

14                A.           Thats        correct.


15                Q.           What    are       these       units       that    we    see       here    in    the


16       foreground

17                A.           Those       are    the    building          --    those       are    the


18       regular buildings            right there.              Theres           3    and    4    building

19       right   there.


20                Q.           And who would             stay in those                buildings

21                A.           Its     --       they    are    at    a   higher        custody          level    and

22       they    stay in those         buildings.

23                Q.           And then          these       large       buildings          here        what    are


24       they

25                A.           Those       are    the    dorms.




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                             65
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                     Page 69 of 219 PageID 7834



     1             Q.          And    what       types           of    inmates stay in the                         dorm

     2             A.          They       are    basically                 where       they       are    not       an


     3   escape    risk or anything                   like       that.           They    have       a    good       record


     4   and thats        where      they       stay.


     s             Q.          Is    that       where           most of          the    inmates that                worked


     6   under    you    in the      maintenance                 office           is    that       where       they       were

     7   housed

     a             A.          Yes        sir         thats           correct.


     9             Q.          Was    George              Rivas       housed       there

10                 A.          No     he    wasnt.

11                 Q.          Where       was     he       at

12                 A.          He    was    in        3    building              that    building             right

13       there.


14                 Q.          Were       the    others               Mr.    Halprin              Mr.    Harper

is       Garcia     Newbury          and Murphy                 were        they       housed       in the          dorm

16                 A.          They       were     either             in    18    --    either          18    or    19


17       building        either one.


18                 Q.          Did    you       have        a   vehicle           that        a    truck           that    you

19       could    bring    supplies         in    with

20                 A.          Yes        sir     we        did.


21                 Q.          What       was    the        procedure             for    that       vehicle

22                 A.          We    brought              the   truck        to    the       back       gate.        The


23       back    gate    shook      the    truck           down.           They    made       sure       there       was


24       nothing    in    it   or    under       it        or anywhere             inside           any       contraband

25       or anything       that      may    be    brought              inside          the    gate           just    drove




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                      66
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                Page 70 of 219 PageID 7835



     1   it    and parked        it    in    front     of    the       maintenance             shop.


     2              Q.           Was    the    truck        usually kept                there        then     at    the


     3   maintenance        shop

     4              A.           No     sir     we    didnt.

     5              Q.           It    would    only be           brought          in    when

     6              A.           We    brought       it     in    when       we    needed       to   either        drop

     7   off    supplies or go get              supplies.


     8              Q.           Here    we    see    kind        of    a    side    view       of   the


     9   maintenance        area        is    that    correct

10                  A.           Yes     sir        thats         correct.


11                  Q.           Where       would    the        truck       be    parked       when    you    bring

12       it    in

13                  A.           It    would    be    parked           between       the       maintenance


14       shop    and the other           side        which        that       is    the    education


15       building        right    there       and    it     would       be    parked       between         those


16       two    buildings.

17                  Q.           If    you were       going to              drive    from the

18       maintenance        department              would     you       take      this     road this          way

19                  A.           Yes     sir        thats        correct.


20                  Q.           And have       to    go through              this       gate

21                  A.           Through       that       gate     right          there        yes     sir.


22                  Q.           Now     did    the       inmates inside                 the    maintenance

23       department        know       when    the    truck       was     going       to    be    brought      in

24                  A.           Oh yes         sir         they did.

25                  Q.           How    would       they know          that




                         283RD JUDICIAL DISTRICT  COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
     --3
                                                                                                                        67
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                             Page 71 of 219 PageID 7836



     1               A.        Just hearing            us    talking          inside the             office.


     2               Q.        Okay.        Just       we    need       to    bring the          truck       in


                     A.        Right.


 4                   Q.        --   we    need    supplies              that    sort       of    thing

 5                   A.       Yes        sir.


 6                   Q.       How     did these         inmates          --    what    time did             they

 7       arrive      for   work     in the      morning

 8                   A.       They       usually arrive                for    work    just       a    little


 9       after    700.

10                   Q.       How    would       they       get     there

11                   A.       They       are    escorted          in    from A-turnout                to    our


12       work    area.


13                   Q.       By a guard

14                   A.       By a guard              yes     sir.


15                   Q.       How    many       guards       would       escort       those          inmates

16                   A.       Usually          one.


17                   Q.       One     for      how many       inmates

18                   A.       Well       we     usually brought                in about          30    or    so    at


19       a   time.


20                   Q.       Anything          unusual       about          that

21                   A.       No     sir        not    at    all.


22                   Q.       The    guards           when    they       escort       or    --       the    inmates

23       or work      with   the    ones       inside       the     yard       do    they       have       weapons

24                   A.       No     sir        they    dont.

25                   Q.       Which      guards        have       weapons




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                               68
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 72 of 219 PageID 7837



     1               A.           Just       the     ones      in    the    towers.


     2               Q.           And    what        time did         the       inmates arrive                   at    work

     3               A.           About       700.

     4               Q.           Was    the        routine         about       the       same       every       day    as


     s   far    as   arriving

     6               A.           Yes        sir.


     7               Q.           And    the       lunch       break

     8               A.           Yes        sir.


     9               Q.           Where       would       the       inmates eat                lunch

10                   A.           They       eat    lunch       in    6    building             in    the    cafeteria.


11       Basically             they    are    dining rooms.

12                   Q.           What       was    the       procedure             for    that

13                   A.           We    usually took                them    back          up    --    they       were

14       escorted         --    they    were       stripped down.                    After       they       left       the


15       maintenance            shop    they       were       stripped down                and they          put       their

16       clothes      back       on and they             were       escorted          back       to    A-turnout             and

17       they   were       fed    with       the    rest       of    the    offenders.


18                   Q.           Basically          the       same       time       every       day

19                   A.           Yes        sir     same       time every                day.


20                   Q.           If    they       didnt want              to       eat    in    the    inmate


21       cafeteria             where    did they          go
22                   A.           They    went       to       their dorms             or       back    to    their

23       house.


24                   Q.           Would      you ever           --    did       a   guard        have       to   escort


25       them   back       or    could    you       as    a    supervisor




                          283RD JUDICIAL DISTRICT COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                      69
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                          Page 73 of 219 PageID 7838


     1                A.             Yes        sir.           I    escorted             them     back       a    number       of


     2   times.


     3                Q.             Now        let       me       turn your             attention           to    December


     4   13th    of    2000.             When       you     arrived            at    work       that     day        were       you

     s   the    person          in   charge

     6                A.             Yes        I    was.


     7                Q.             Where          was     the         supervisor

     8                A.             She    was       at       in-service                training        in       Beeville.


     9                Q.             Had the          six          inmates that             worked           there       at    the


10       maintenance            department                 did they             all       arrive        at       work    that       day

11       at    the    usual          time

12                    A.             Yes        they       did.


13                    Q.             Did    anything                unusual          happen        in    the       morning

14                    A.             No     sir           it       didnt.

15                    Q.             At    some       point             in the       morning did you make                       a


16       decision          to   bring the             truck             in

17                    A.             Yes        I    did.


18                    Q.             What       was       the       reason          for    that

19                    A.             I    was       going          to    town       to    pick    up     some       supplies.


20                    Q.             And    about          what          time       was    the     truck          brought       in

21                    A.             Probably             about          1100        or    so.


22                    Q.             What       time did                the   --     what       time     did all          the


23       other       craftsmen            begin       to       take       their lunch             break

24                    A.             We    usually             start          stripping down                 about       1120.

25       We    start       stripping all                  the      offenders              down.        And        then    at




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                70
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 74 of 219 PageID 7839



     1   1130        we        close       the    doors        and     they       escort       them up       to    the


     2   dining           room        dining        halls.


     3                    Q.              Had    Donald Newbury               and Patrick             Murphy       been       out


     4   on assignments                    earlier in the              morning

     s                 A.                 Yes     they were.

     6                 Q.                 Had they        been       brought        back       into    the


     7   maintenance                 department           for    their lunch

     8                A.                  Right       yes       sir.


 9                     Q.                 Did    you have        some     different             plans       or    some


10       plans       to        go    --    concerning           the    six that           worked       under       your

11       supervision                 that       day

12                    A.                  That    day     --    we    had recently gone                    through       an


13       ACA    inspection                 and we        had planned              on sealing          the    floors       in


14       the    warehouse.                  And that           morning we           had some          ice    and so       I




15       was    --     I       had a       short      crew      and so        I    was    going       to    keep    back

16       some    of        these offenders.                     We    were        going    to    seal       the    floor

17       being       it        was    a    slow day.


18                    Q.                  Seal    the     floor back              in the       warehouse

19                    A.                  Yes     sir.




--24
20                    Q.                  Which    inmates were              going        to    stay back          and help

21       you    do    that

22                    A.                  Those    six     right there.

23                    Q.                  George      Rivas          Donald        Newbury

                      A.                  Yes     sir.


25                    Q.                  Patrick       Murphy         Joseph        Garcia           and Randy




                               283RD JUDICIAL DISTRICT COURT 214/653-5863
                                  NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                            71
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 75 of 219 PageID 7840



     1   Halprin          and Larry Harper


     2                A.           Yes       sir.


     3                Q.           And      were        you going          to    supervise       them while


     4   that       was    going       on

     5                A.           Yes       sir.


     6                Q.           Did      the    other           craftsmen       and guards              did they

     7   take       their lunch          break          at    the    usual       time

     8                A.           Yes       sir         they       did.


     9                Q.           And when             you    --    a    supervisor       takes       a    lunch

io       break        where    can       they      go        eat    lunch

11                    A.           We    either go to                the    officers        dining          room or

12       we    do    to    town.


13                    Q.           Do    they      generally              come    back    about    the          same


14       time every          day

is                    A.           Yes       sir         they       do.


16                    Q.           After         they        left        then     were    you    just


17       supervising          those         six inmates

18                   A.            Yes       sir         I    was.


19                   Q.            Let      me    --    well         at    some    point    in    time          did

20       George      Rivas     come         and ask           you    to    come    back    to    the       warehouse

21                   A.            Yes       he    did.


22                   Q.            Do    you      recall           about   what     time that          was

23                   A.            I    think      it        was    approximately about                1140           in


24       the    morning.

25                   Q.            Let    me      show       you     State       Exhibit    508.           Is   this       a




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                      72
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                              Page 76 of 219 PageID 7841



     1   photograph         of    part    of    your       offices

     2               A.           Yes     sir     it       is.


     3               Q.           The    door here           where       does       that    door    lead

  4                  A.           That    leads       to    the       warehouse.


  s                  Q.           Let    me    show    you       543.        Does    this    show       kind    of    a




  --9
  6      blueprint         of    the    office    and the warehouse


  7                  A.           Yes     it    does.


  8                  Q.           Can you

                                          MR.    SHOOK            Can    I    have    the    witness          stand


 10      up   for    a    moment        Your Honor

 11                                       THE    COURT            You    may.


 12                  Q.           By     Mr.    Shook            If    you    could        just    point       out


13       where      your offices          were    located             on this.

14                  A.            My office       is       right       here.


15                   Q.           And where       would          George      Rivas     have       worked

16                  A.            He    worked    in       this       area   right     here.


17                  Q.            What    about       Randy       Halprin       and Harper          and

18       Garcia

19                  A.            He    worked    in the          toolroom.           There       was    a


20       toolroom         right    in    this    area       right here          and he       worked          in this


21       area.


22                  Q.            And the       warehouse              who worked          there

23                  A.            Halprin worked             the       toolroom.           Randy    --       Larry

24       Harper     and Joseph Garcia                 worked          inside    the    warehouse.              They

25       issued     parts       and     things    like       that.




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                      73
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 77 of 219 PageID 7842



     1                Q.          About           the    time George                Rivas          came       to    get    you

     2   where       were    these      inmates located


     3                A.          They        were       all       in    this       area       right          here.


     4                Q.          Okay.            Did       you come          through             the    door       then       and


     s   into    the       warehouse

     6                A.          Yes         I    did.


     7                Q.          What        did George                Rivas       ask       you    to       come       do

     8                A.          He    wanted           me    to       identify          a    motor that                was


     9   laying on          the   floor.            He       wanted       to       know       what       to    do    with       it.


10       We    were    moving         everything              off       the    floor so we                can       seal       the


ii       floor.


12                    Q.          Okay.            When       you    went          back       into       the       warehouse


13       area        did you      see        some       of    the    other          inmates

14                    A.          Yes         I    did.


is                    Q.          Which           inmates do you                   recall          seeing

16                    A.          I    saw Halprin                 and Harper             and Newbury.                    Newbury

17       was    laying      on the        floor below                the       shelves              taking          the


18       shelves       apart      and Harper                 and Halprin             were          standing          around


19       that    motor.


20                    Q.          Was     the       motor          sitting          out       or    was       it    under


21       anything

22                    A.          It    was        under       a    table.


23                    Q.          Let    me        show      you     516.          Does        this       show       a    picture

24       of    the    warehouse         if        you    came       out       --   came        through             the    door

25                    A.          Yes        sir         I   did.




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
     --2
                                                                                                                                       74
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                              Page 78 of 219 PageID 7843



     1                  Q.           The        door would              be       located

                        A.           Just


     3                  Q.               --    on the          other        side       of      these        file   cabinets

     4                  A.           Just           to     the    right          of    those         file     cabinets.


     5                  Q.           Now            this       area     here           is      this     where      the     table


     6   was

     7                  A.           Yes            sir


     8                  Q.           What           is     around       this          corner

     9                  A.           The        electrical              room and               the    toolroom            issue


 10      room          is    right        there.


11                      Q.           I        see    some        type       of     shelving here.                  Whats         on

12       these         shelves

13                      A.           Those           are       parts         parts             bolts        are    stacked        on

14       those         shelves.


15                      Q.           So        the       tables        here with               the    motor under           it    and


16       is   it       George    Rivas              that       asks     you he            wants       you     to   look    at


17       this      motor

18                     A.            Yes            sir.


19                      Q.           And when              you went              over to          the    table       what


20       happened             What            did you          do

21                     A.            I        leaned       over        to    look         at   the      motor and then

22       when      I   did      just           like        I    just        like      I     was      knocked       out.      I    was


23       --   all      the    lights went                  out.


24                     Q.            Could           you       tell    where          the      blow     came       from

25                     A.            I        couldnt           tell        you.




                             283RD JUDICIAL DISTRICT COURT 214/653-5863
                                NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                                       75
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                                      Page 79 of 219 PageID 7844



     1                Q.              Do    you       know          how       long           you        were           knocked         out

     2                A.              I    dont have any                          idea.


     3                Q.              When       you       regained                   consciousness                         what       was


     4   going       on

     s                A.              I    was       laying on George                             Rivas                stomach.             He    had

     6   his    arms       around          me    and       I       was       struggling.                      Where          I    was       laying

     7   on the       floor           there was                a    pool          of        blood.


     8                Q.              Okay.           And          as       you       struggled               there              did    --       do


     9   you    remember          some          other          inmates                struggling                  with       you

10                    A.              Yes.           There          was       --       Newbury              was        trying          to    hold

11       my legs          down    and       he       was       like          he       was     punching                 me    in the


12       stomach          and trying             to    get          me       to       calm down               and Halprin                   was


13       standing          over       to    the       right             of    me.


14                    Q.              Okay.           Was          there          a    point            in time             that       you       did

is       calm       down

16                    A.              Yes        I    did.              I    was       --     I        calmed          down       after          they

17       put    a    shank       to       my neck          and          told me             to         calm down             or they

18       would       end    it    right there.

19                    Q.              Tell       the       jury what                   a    shank           is.


20                    A.              A shank          is      a        piece          of     metal           that          they      sharpen

21       up    to    an    extreme point                   and they                   make        it     --       it    actually             looks


22       just       like    a    knife.              They      sharpen                 it    up        to     a    point.             Its

23       pinpoint          sharp.


24                    Q.              And you          know         who       put           this        shank           up       to   you

25                   A.               It   was        Garcia.




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                 76
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                     Page 80 of 219 PageID 7845



  1                Q.              Where          did he put           it    next       to    you

  2                A.              Right          up    to    my throat.

  3                Q.              And      did he           make-a       threat        to you          at    that    time

  4                A.              Yes.           He    said        You can            stop     fighting            now    or


  5   we    can    end       it    right now.                 Whatever        happens          to       you will

  6   happen       to       the    rest       of       them.

  7                Q.              Did you take                his    threats           seriously

  8                A.              Yes        I    did.


  9                Q.              When       he       said        Whatever            happens          to    you

 10   happens          to    the       rest       of    them         what     did you take                   that    to


 11   mean

 12                A.              I    thought          to    me    it     meant       if    they       killed       me

 13   they       are    going          to   continue           on    with     the       rest       of    them       with


 14   killing          all    the       other          people       that     walked          in.


 15                Q.              What       was       the    next       thing        that    they          did to       you

 16                A.              They       started to bind                 my hands             up behind my

 17   back       and they          started             taking       my clothes           off.           And then          they

 18   realized that                they       needed          my shirt            so    they       unbound          my hands

 19   and took          my shirt            off        and they were              taking       my pants             off    and


20    took       my boots          and my          --    everything           else       off        everything             that


21    I    had     my keys              and everything.                     They       took    everything             from


22    me.


23                 Q.              After          they       got    your     clothes          off        what       did they

24    do    to    you

25                 A.              They       bound          my hands        in    front       of       me     bound       my




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
     --3
                                                                                                           77
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                 Page 81 of 219 PageID 7846



     1   feet    up      gagged      me       and put          a    pillowcase             over my head.

     2              Q.          Was    this           all     happening

                                          MR.         ASHFORD             Excuse       me           Your Honor

     4   could     we    just   ask    for        a    clarification              as       to       when          hes

     5   speaking        of   what    they        did         who    did what              as       to       the    form of


     6   the    question.

 7                                        THE         COURT          Overruled.                 You          can    clear      up


 8       anything        on cross.

 9                 Q.            By    Mr.        Shook             Was    this    going             on pretty

10       quickly

11                 A.           Yes       sir          it     was.


12                 Q.           Who    all        do    you        remember       tying             you up          and

13       gagging        you

14                 A.           Garcia        put        the    gag       in my    mouth                 I    believe          and


15       its     not     clear who        did what              but       they were             all          working      as    a


16       team.


17                 Q.           Were      you         still     bleeding

18                 A.           Yes       I   was.


19                 Q.           Did    everyone               seem    to   have        a   role              in    this

20                 A.           Yes       sir          they     did.


21                 Q.           And who           seemed to be              in    charge

22                 A.           Rivas.


23                 Q.           What      kind         of     gag    was   placed          in       your           mouth

24                 A.           It    was     a   large         piece      of     like          a   pillowcase

25       wrapped       with   duct     tape.




                         283RD JUDICIAL DISTRICT COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                         78
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 82 of 219 PageID 7847



     1                Q.        And        let     me     digress         for    one moment             and show    you

     2   State       Exhibit    524.          Is    that       a    photograph          of       the    prison

     3   truck

     4                A.        Yes          sir        it   is.



     s                Q.        After        the        --   you     said       it    was    a    large    gag

     6                A.        Yes          sir        it   was.


     7                Q.        And that            was      shoved           in your       mouth

     8                A.        Yes         sir         it   was.


     9                Q.        Was     it       difficult           to       breath

10                    A.        Yes         sir         real       difficult.


11                    Q.        After        they        put       the    gag    in your          mouth     Garcia


12       put    the    gag    in your        mouth           what        did you       do         What    happened

13       to    you    then

14                    A.        When        they put           the       pillowcase          over       my head    and


is       they    carried       me    into        the     electric             room.


16                    Q.        The    electric              room        is    this    room       thats     inside


17       the    warehouse

18                    A.        Yes        sir          it   is.


19                    Q.        Is    it     a    very large              room

20                    A.        Its        not     a     very       large       room at          all.     Its

21       pretty small.

22                    Q.       Okay.             And     thats           located       right       here     is    that


23       right

24                    A.       Yes         sir         thats         correct.


25                    Q.       Once        you     went        inside         the     electrical          room     what




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                             79
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 83 of 219 PageID 7848


     i   was    done    to    you

     2             A.              They       basically             --    they        basically         kind    of


     3   dropped       me    or    I    slipped          out    of       their hands             and they       put    me


     4   up against          the       wall       and told me to                be     quiet.


     s             Q.              Let    me       show       you    State           Exhibit      525.       Does     that


     6   show    the    electrical                room when          the       door     has      been       opened

     7             A.              Yes        sir.


     8             Q.              Now        after you were                   placed       in    there        were

     9   there more          threats          made to          you

10                 A.              Yes        sir        they       did.


11                 Q.              What       type       of    threat          was     that

12                 A.              They       kept       on threatening                 that      if    I   make     any

13       noise     that       they       were       going       to       end    it    right       there.


14                 Q.              Okay.           Now        after       some       time      did you         hear

15       something          happening             outside       the       electrical           room

16                 A.              Yes        I    did.


17                 Q.              What       was    that

18                 A.              I   heard        some       more       struggling           and fighting

19       going    on.


20                 Q.              Okay.          Were        you    able       to    see     out      of   your

21       pillowcase          at    that       time       at    all

22                 A.             No      sir        I    didnt.

23                 Q.             After you              heard       some      struggling               what   did you

24       hear    then

25                A.              Next        thing       I    know      that        they   had brought




                        283RD    JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER   OFFICIAL COURT REPORTER
                                                                                                                                    80
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                          Page 84 of 219 PageID 7849



     1   somebody            in    and laid them                down next             to    me.


     2                  Q.           Did       they make           any      threats             to    that    person

     3                  A.           Yes        they       did.


 4                      Q.           What       type       of     threats         did       they       make

 5                      A.           They       did       the     same      thing          to    me.        They    told them

 6       to   be    quiet           otherwise             they would             end       it    right       there        too.


 7                      Q.           Could          you    tell       who was          making          those       threats

 8                      A.           It     sounded         to    me     like         Garcia.


 9                      Q.           Do    you       remember          specifically                   what    types       of


10       threats         he       made

11                      A.           He    was       threatening             them.              He    was    apparently

12       putting         something             to    their ear and he                      said        Two pounds              of


13       pressure            --    one pound          of    pressure             do    something             and

14       everything               else    if    I    run    this       through             you        you    know       it


15       would      end it          right       now.

16                      Q.           Let       me    show       you    State          Exhibit          537.        This      show

17       part      of    the       floor of          the    electrical                room

18                      A.           Yes        sir        thats         correct.


19                      Q.           This       object          here        is    that          one    of    the    gags       or


20       is   this       the       type    of       gag    that       was    placed             in your       mouth

21                      A.          Yes         sir        thats         correct.


22                      Q.          Whats            the    next       thing          that       you    remember

23       happening

24                      A.          They        just       kept       on bringing                in people          one      after

25       another         and      there was           continuous             struggling                going       on   outside




                             283RD JUDICIAL DISTRICT  COURT 214/653-5863
                                NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                        81
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 85 of 219 PageID 7850



     1   and    they      just    kept       bringing people                in.


     2               Q.           Aspeople              were    brought          in     where       were    they

     3   placed

     4               A.           They       were       just    kind       of    lined       up    like    cord

     5   wood     right      next       to    each       other        until       it    got       really tight.

     6               Q.           Was    it    the       habit       of    the    craftsmen          to    come    in


     7   kind   of     one   at    a    time back              from their lunch

     8               A.           Yes        sir.


     9               Q.           They       didnt           come    in    back       in one       big group

10                   A.           No     sir        they       didnt.

11                   Q.           Could       you       tell    which       craftsmen             were    being

12       brought       into the         room

13                   A.           No     sir        I    didnt.

14                   Q.           Were       more       threats       made       to    the    individuals          as


is       they   were      brought        in

16                   A.           They       were       threatening             everybody.           As    they    were

17       brought       in they were being threatened                                  by the       same    person.

18                   Q.           Did    you hear anyone                   else besides            Mr.     Garcia

19       make   threats

20                   A.           No     I    didnt.

21                   Q.           Now        after       some       time   did you           hear them       bring

22       in   actual      inmates

23                 A.             Yes        sir        we   did.


24                 Q.            Were        these other            inmates           that   worked        in the


25       maintenance         department




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                   82
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 86 of 219 PageID 7851



     1                 A.              Yes     sir        they        were.


     2                 Q.              How    did     they      treat           those    inmates

     3                 A.              They were          --    they        were    calling          them      heros         and

     4   everything           else       and they          were           threatening          them       even    worse

     s   than        they    did us.           You       know         they       were    kicking          them    and

     6   beating           them    a    lot    worse       than           they    did us.

     7                 Q.              You    could       hear        that

     8                 A.              Yes     sir.


     9                 Q.              Did    that       room get           pretty crowded

10                     A.              Yes     it    got       real        crowded.


11                     Q.              After some          point           in    time    did the          --   was     the


12       light        on this          whole       time

13                     A.              The    light       was        on the      whole        time.


14                     Q.           At       some    point           in    time did          the    inmates shut              the


15       door        and    turn out          the    lights

16                     A.           Yes        they       did.


17                     Q.           Did       they       say anything              when       they       did   that

18                    A.            They       didnt           say        anything.


19                     Q.           How       long       had    this        been    going          on      You    were       the


20       first       person        taken       hostage.


21                    A.            I    think       I    probably went                 in there          about       1145

22       and     I    think    this          was    going       on    until        --    at    this       time    I    think

23       it    might        have   been        about       an    hour to           hour       and    a   half     or    so.


24       Thats        my estimation.

25                    Q.           Do        sometimes          if    someone           in    the    prison           will




                            283RD JUDICIAL DISTRICT  COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                              83
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                     Page 87 of 219 PageID 7852



     1   they    call       out    your       unit       to       see    if    everything            is    going okay

     2   or if       the    inmates are                accounted           for

     3                A.           Yes        sir.           We    have       what    they      call       count    time.


     4   We    have    count       time morning                   and    in    the    afternoon            and then


     s   several       times       at    the          night        also.        But       its    called       count


     6   time.


     7                Q.           And they will                   call       in the      morning and what               do


  8      they    do    when       they       call       in    the       count

  9                   A.           We    do a roster count                      to    identify            every

 10      offender          thats        in    the       prison.           Everyone         is    actually

 11      accounted          for person                by person.

 12                   Q.           Would          a    count       --    did    it    already come            on    in   the


 13      morning

 14                   A.           Yes        sir.           It    had gone          on   in the          morning    and

is       it    had passed          and       then       in    the       afternoon         and apparently had

16       done    the       same    thing.


17                    Q.           So    a    count          was    --    a    count      would       have    been

18       called       in    at    some       point       during          this       hostage      situation

19                   A.           Yes         sir        thats           correct.


20                    Q.          Now         after          the    door       was    closed         finally       and   the


21       lights       turn       off     what         happened           then

22                   A.            It    was       one       of    the    officers.             He    got    his hands


23       out    of   his     jacket.              They       tied his hands               up    inside his jacket

24       and he      pulled his hands                    out       of    the    restraints.


25                   Q.           Was        he    able       to    get       the    light      on




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                 84
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 88 of 219 PageID 7853



     1                A.          Yes     sir            he       did.


     2                Q.          Once    he        got       the       light    on        were       you able       --     did


  3      he    take    that      pillowcase              off       your       head

  4                   A.          What    I        did        I    pulled       it       back       myself because             I




  5      realized that            we    might        have          a    chance       then.


  6                   Q.          So    you        were       able       --    your hands             were    tied     in


  7      front    of       you

  8                   A.          Yes     sir            they          were.


  9                   Q.          And you           got       the       pillowcase             off

 10                   A.          I    didnt         take          it    off.        I    just       pulled    it    back


 11      above    my eyes where                I    could          see.


 12                   Q.          What    was        the          name    of    the       man who       had gotten


13       his    hands      free

14                    A.          Terry        Schmidt.


15                    Q.          Was    he        located             right by          the    door

16                    A.          Yes     sir.            He       was    right          by the       door.


17                    Q.          After       you could                 see     about          how many people


18       were    crammed in there

19                    A.          There       were        a       lot    of    people          in    that    room.


20       There    were       some      people        that          were       laying       right       across       our

21       feet.        They      started       laying people                    right       across       our    feet.


22       Thats how crowded                it        was.


23                    Q.          Theres            --    were          there    --       looking       at    the    names

24       1   through       14    down    to        Mr.    Martinez              were       those       the    names       of


25       the    individuals            that        were       back       there with             you




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                           85
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 89 of 219 PageID 7854



 1               A.              Yes        sir        thats           correct.


 2               Q.              So    14    total          were       crowded       in the          room

 3               A.              Yes        sir        thats           correct.


 4               Q.              Was       everyone              other       than    Mr.    Schmidt             tied up


 5   at   that    time

 6               A.              Everybody             else was          still       tied up.


 7               Q.              Once       he    got       his hands          free        what       happened

 a   then

 9               A.              We    started             discussing            asking         if    anybody had          a


10   knife    and one            of    the       people          next    to    me     which          was    Mr.    Garza

11   said he      had       a knife          in his             pocket       that    they       had missed


12   somehow.          So    I       reached       over          there       and retrieved             the       knife


13   from his pocket.


14               Q.              After you got                   the    knife       out    of    his pocket


is   what    happened            then

16               A.              I    started to                cut    people       loose.


17               Q.              Okay.           And       were you          able    to    get       cut    loose


18   yourself

19               A.              Yes        sir        I    did.


20               Q.              How    many       people             did you       get    cut       loose

21               A.              Approximately two                      or    three       and then          I   just


22   handed      the    knife          to    some          of    the    other       people       that      had     their


23   hands    free      and          they    started             cutting       other people                loose.


24               Q.                  Now     during             the    process       that       yall were

25   getting      cut       loose           did    something happen                   with       the       door




                      283RD JUDICIAL DISTRICT COURT 214/653-5863
                         NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                              86
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 90 of 219 PageID 7855



     1               A.              Yes         sir       they    did.        They    realized       that      we


     2   were   coming          loose        so       they       tried to come             back    in on    us.


     3               Q.              Did    the       door come          open

     4               A.              They    tried to             open    it    up     but    Terry       Schmidt


     5   and the      offenders             by the          door        they pushed          it    back    closed.


  6                  Q.              was    one       of    the    inmates trying             to    get    in there


     7   inside the            room

  8                  A.              Yes     he       was.


  9                  Q.              Could       you       see    him from your vantage                   point

 10                  A.              Yes     I    did.


 11                  Q.              Who    was       that

 12                  A.              It    was    Newbury.


 13                  Q.              Donald       Newbury

 14                  A.              Yes     sir.


 15                  Q.              Could       you see          any    of    the    other inmates behind

16       him

17                   A.              Shortly after                that    I    saw Rivas          and Rodriguez


18       standing         at    the       door.


19                   Q.              As he       came       through       the    door        then     is    that


20       when   Mr.       Schmidt          and    two       of    the    hostage       inmates pushed             back

21                   A.              Yes     sir.


22                   Q.              What    happened             to    Mr.    Newbury       then

23                   A.              His    --    basically             what    --    he    had himself         in


24       there part            of    the    way       and    they       trapped       his    shoulder       and his

25       --   part    of       his    body       in    the       door     they       were    pushing       so   hard.




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                 87
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 91 of 219 PageID 7856



     1                Q.           Was    he        wedged        in      there        then

     2                A.           He    was        wedged        in      there real          good.           He    was


     3   waving       a     shank       trying        to        stab      anybody by the                door to get


     4   them    to        turn loose          of    the     door.


     5                Q.           So    he     had half of                his       body    in    and half             out

     6                A.           Yes         sir         thats          correct.


     7                Q.           And    inside he               had      some       type    of       shank       or


     8   weapon

     9                A.           Yes         sir         thats          correct.


10                    Q.           What       was     he     doing with               that    weapon

11                    A.           He    was        just     flailing            it    up    in    the    air           trying

12       to    stab       anybody       close        to    the       door.


13                    Q.           Did    it        appear       that          the    inmates outside               were

14       trying       to    push the          door        open

15                    A.           Yes        sir         they       were.


16                    Q.           What       did you           think          was    going       to    happen           if


17       they    were       able    to    make        it    in       there

18                    A.           We    figured           if    they          came    in    there        they were

19       going    to       kill    us    all.


20                    Q.           How    did Mr.           Newbury            get    out     of       that    door

21                 A.              Halprin was              prying with               a     pry bar.           I   could

22       see    him.        He    was    prying with                 a    pry    bar        trying       to    open       the


23       door    up to get          Newbury          out        of       the   door.


24                 Q.              And did          they        get       Newbury         out

25                 A.              Yes     they did.




                           283RD JUDICIAL DISTRICT COURT-214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                         88
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                 Page 92 of 219 PageID 7857



 1                Q.          Did    the     door shut             then

 2                A.          The    door     was       shut        right.


 3                Q.          After       that         what    did you             do    once       the    door    was


 4   shut

 5                A.          We    started        tearing          some       wires          off    the    wall


 6   after       shutting       some      circuits        down       and we             tore    some       wires off


 7   the    wall       and anything          we    used we          tried to             tie    the       doors    shut


 8   so    they     couldnt         come     in    on us.

 9                Q.          Were     you    trying          to    get       someone          elses

10   attention          there      in the     prison to             come       to       your    aid

11                A.          Yes      sir        we    did.


12                Q.          What     did you          try    to    do       to    do    that

13                A.          We    set     the    fire       alarm off             to    try       to    get


14   Central        Controls attention.

is                Q.          What     do    we    see    there          in    State          Exhibit       533

16                A.          Thats         the    fire       alarm       control             panel.


17                Q.          Is    that     where       you       had    torn it             open       and tried

18   to    set    it   off

19                A.          Yes      sir        we   did.


20                Q.          Then     the    doorknob              is    that          the    effort       you    made

21   to    try    to   keep     them      from coming              back       in

22               A.           Yes      sir        thats        correct.


23                Q.          Were     you    able       to    fashion any                weapons          inside


24   there

25               A.           We    broke     some       conduit          off       the       wall       and there




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                89
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 93 of 219 PageID 7858



     1   were    some      nails       laying on                 the    floor and          we    took    some       of    the


     2   pillow cases            and poured             some           nails    in     the      bags    and broke


     3   short    pieces         of    conduit          off           the    wall    to    use    as    weapons.


     4               Q.           This       shows          the        floor.        Does       this    show       some    of


     5   the    gags      and tape       that          was       used        to. tape      the    hostages           hands


     6   together

     7               A.           Yes        sir        thats               correct.


     8               Q.           State       Exhibit                 536     that     shows      some    bloody

  9      cloth    or      Kleenex

 10                  A.           Yes        sir.


 11                  Q.           Were       people          bleeding           back       there

 12                  A.           Quite       a     few      of        us    were    bleeding.


 13                  Q.           You        yourself                  were    bleeding

 14                  A.           Yes        sir        I    was.


 is                  Q.           What       kind       of       damage        had been          done    to    your       head


 16      or    ear

 17                  A.           My ear was                basically           cut       in half       and    I    had two


18       large    gashes         on    the    back          of    my head.

19                   Q.           Again           we    see           some    blood or rag used                to    try    to


20       stop    some      of    the    blood

21                   A.           Yes        sir.


22                   Q.           Could       you      hear the               inmates doing             anything

23       after you had            the    door          shut

24                   A.           Yes        sir.           It    sounded           like     they were         trying       to


25       weld    the      door    shut       is    what          it     sounded       like.




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                      90
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                           Page 94 of 219 PageID 7859



 1                Q.           What    kind    of       sounds       did you       hear

 2                A.           The    sounds       of    rustling tools             and like          a    torch


 3   was    hissing outside.

 4                Q.           Let    me    show       you    State       Exhibit       545.     Is       that    a


 s   photograph          of    the    back    part       of    your       ear

 6                A.           Yes     sir     thats           correct.


 7                Q.           Now     at    some       point     in time         did you       quit


 8   hearing       noises          outside    that       the    inmates were             making

 9                A.           Yes     sir     we       did.


10                Q.           Did    yall attempt              to    go    out    the    door    at      all

11                A.           No     sir     we       didnt.

12                Q.           How    long    were       you back          there    until       someone


13   came    to    your       aid

14                A.           I    would    say at          least    two    and    a    half    hours       or


15   so.


16                Q.           Were    there       a    couple       of    guards       back    there       with


17   you

18                A.           Yes     sir     they          were.


19                Q.           Do    you    remember          their names


20                A.           Randy Albert             and Alex Marroquin were                   the       two


21   guards       that   were        with    us.


22                Q.           Did Randy       Albert           did he       work       back    there       with


23   yall     in the          maintenance          department

24                A.           He    was    working          outside       yard     I    believe          and     he


25   came   in     for    some       tools     I       believe.




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                  91
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 95 of 219 PageID 7860



     1             Q.          He    was    brought             in as          a    hostage

     2             A.          Yes     sir        he       was.


     3             Q.          Was    he    having             some       physical             problems

     4             A.          Yes     he    was.              When       they          --    they          used    his


     5   handcuffs       on him and they               didnt use.a lock                                mechanism.           They

     6   just    tightened      up    the    handcuffs                as       tight          as       they    would       go.


     7             Q.          And was       that          cutting             off       the       circulation             in


     8   his    hands

     9             A.          Yes     sir        it       was.


10                 Q.          Did you       get       a       look       at       his       hands

ii                 A.          Yes     I    did.           I    looked             at    his       hands       to    see    if


12       there    was    anything      we    could             do    and his hands                      were       turning

13       blue.     And    so   we    were    trying             to    put          ice       water          and paper


14       towels    around      his    wrists to get                   the          swelling             to    go    down.


15                 Q.          Was    there       a    water          cooler             that          had been       placed

16       back    there

17                 A.          Yes     there was.

18                 Q.          You     yourself hadnt                              placed          that       back    there

19                 A.          No     sir     I       didnt.

20                 Q.          Did    you try          to       use       that          water          to    get    him    some


21       relief

22                A.           Yes     sir        we       did.


23                 Q.          Did he       appear             to    be    in quite                a    bit    of    pain

24                A.           He    was    in extreme                pain.


25                Q.           How    were    you taken                   out       of       that       room




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                       92
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                           Page 96 of 219 PageID 7861



     1               A.            Basically what                   they          did        they brought                the    team

     2   that   usually goes              in        the    sort             team        and they             bring them          in


     3   there.           And   they     told us          all       to          kneel    down       on the          floor and

     4   face   forward           and   then        they       opened             the    door up             and escorted

     5   us   out.         They   handcuffed              us       and took             us    out       one       by one.        As


     6   they   identified              us    they        took          our handcuffs                   off.


     7               Q.           Did    you give              a    statement                at    that       time or          did

     8   you go      to     the   Medical          Center

     9               A.           We    were       taken           --       I    was    --    we    were          taken    to    the


 10      infirmary.


11                   Q.           What       was    done           with          your    ear

12                   A.           They       looked        at       our wounds                and       everything             else


13       and then         they    decided          to     transport us                   to       the    hospital.

14                   Q.           What       happened              at       the       hospital          with       your    ear

15                   A.           At    the    hospital                 I       was    treated          by    a    physician.

16       He   was    at    the    emergency             room and he                    treated          me    for    my

17       wounds.


18                   Q.           Okay.        Was        the       ear          --    did you get                some


19       stitches         in your       ear

20                   A.           Yes        sir        they        did.


21                   Q.           All    right.            Let          me       show    you State                Exhibit       547.


22       What   do    we    see    in    that       photograph

23                   A.           Thats        a    shank.


24                   Q.           Does       that       look        like          one   of     the      shanks           that    was


25       used   in    the       attack




                          283RD
                                214/653-5863-NANCY
                                  JUDICIAL DISTRICT
                                    BREWER   OFFICIAL
                                                      COURT
                                                        COURT REPORTER
                                                                                                                                            93
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                                  Page 97 of 219 PageID 7862



     1                  A.           Yes           sir.


     2                  Q.           No.       548            what       are        those

     3                  A.           Its           a     pieces          of       strap        that       looks        like      it   was


     4   sharpened            up to       make           a    cutting             weapon.


     s                  Q.           Okay.               And       then       549

     6                  A.           That          looks           like       a     piece       of       rebar or          something

     7   with       black      tape       on       it.


     8                  Q.           Okay.               And       State          Exhibit           550

     9                  A.           Thats               a    small          shank        made       from       a    piece       of   wire


 10      wrapped         with    a       handle              made       on    it.


11                      Q.           Now           since           this       time have              you       still


12       experienced            pain       from              the    blow          to     your       head

13                      A.           Yes           sir         I    do.


14                      Q.           What          type        of       pain        have       you experienced

is                      A.           I   have            vertigo             problems.               I    stay dizzy quite                  a


16       bit       of   the    time.           I    have           to    take          medication              to    keep     my

17       equilibrium where                     I    dont stagger                         and    I    still          have    constant

18       headaches            and loose             feelings                 to     my hands             and    legs       every once

19       in    a    while.


20                      Q.        Did       you quit                    the       prison system after                       this


21       incident

22                      A.        Yes              sir         I    did.


23                      Q.        Did you                 try       to    go        in   some        other line             of


24       employment

25                      A.        Yes              sir         I    did.




                             283RD JUDICIAL DISTRICT  COURT 2141653-5863
                                NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                         94
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 98 of 219 PageID 7863



     1              Q.           What        was       that

     2              A.           I    was        a    tractor       salesman         for    a    local    tractor


     3   equipment        company.


 4                  Q.           Have        you       been       able    to    continue         that    work

     5              A.           No         sir        Ive been unable                to.


 6                  Q.           Why        is       that

 7                  A.           Because              the    doctors       wont       let       me   drive    for   a


 a       long period        of       time.


 9                  Q.           Is    that           because       of    your vertigo

10                  A.           Yes         sir        thats           correct.


11                  Q.           Back        when       this       incident        happened          during   the


12       entire     process           were           those       seven    inmates working               together        as


13       a   team

14                  A.           Yes         sir        they       were.


1s                  Q.           Any        doubt       in your          mind that         --    well     did you


16       feel   that     your        life        was    in danger          during      that          incident

17                  A.           Yes         sir        it       was.


18                                          MR.        SHOOK            Pass   the    witness.


19                                                CROSS-EXAMINATION

20       BY MR.     ASHFORD

21                  Q.          Good        morning               Mr.    Moczygemba.             You    testified

22       in all     of   these        trials           so    far

23                A.            Yes          sir        thats           correct.


24                  Q.          This        would           be   number        five

25                A.            Yes         sir.




                         283RD JUDICIAL DISTRICT COURT 214/653-5863
                            NANCY BREWER OFFICIAL COURT REPORTER
                                                                                                       95
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                             Page 99 of 219 PageID 7864



     1            Q.          Okay.       And    you    have       got        --    some     of    the       people

     2   you   have    testified       about     that    work with                 you are here              today

     3   correct

     4            A.          Yes      sir.


     s            Q.          And     have     those    same       people           testified        in all


     6   the   trials

     7            A.          Yes      sir      basically.

     8            Q.          Okay.       So    been    anybody          else that            has    testified


     9   in other      trials      thats       not    here    today

 10               A.          Yes      sir      there    are.


 11               Q.          How    many that         you    can       recall

 12               A.          I    really      cant     recall.            I       know     that    some      of    us


 13      are   pretty regular          but      there    are       other           ones     that    they      use

14       occasionally.

is                Q.          Anybody        here     today       that    hadnt             testified

16       before

17                A.          I    cant      recall.


18                Q.          You    say the         Connally          Unit        is   a   maximum

19       security      unit

20                A.          Yes     sir       thats        correct.


21                Q.          Okay.       And    do    you    know       if        thats      just       a


22       classification           made by      the    types       of    offenses            that    the


23       offenders     have

24                A.          Thats       the    way    the       unit    is        classified           by TDC.

25                Q.          Okay.       Not    going       to    have        anybody down              there




                       283RD JUDICIAL DISTRICT  COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                               96
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 100 of 219 PageID 7865



      1   for    drugs and that                  kind       of    thing           correct

      2               A.                 I    cant      tell      you     that         sir.


     3                Q.                 Okay.        But     despite         that      entire    unit       being       a


     4    maximum security unit                          you      still       have      different          levels       of


     5    security         in       that       unit      as      you    have      described           correct

     6                A.                 Yes     sir        thats         correct.


     7                Q.                 Okay.        And     you got         two      big dorm-type          units          and


     8    then    you have               the    three       that       are    more      secure        is    that


     9    correct

 10                   A.                 Yes     sir        thats         correct.


 11                   Q.                 And    despite          the    fact      that    its     a    prison           you

 12       work    there             the       inmates work             there          everybody       has    lunch


 13       every       day       I    mean        it     functions            as   a    society    within         itself

 14       correct

 15                   A.                 Yes     sir        thats         correct.


 16                   Q.                 Okay.        And     theres problems                  naturally

 17       because      its           a       prison     correct

 18                   A.                 Yes     sir.


 19                   Q.                 But     I    mean       you      couldnt         function          work        down


 20       there       if    you          had problems with                   everybody        every        day     is    that


 21       correct

 22                   A.                 Thats        correct.


23                    Q.                 Now     you    testified             that      the   only person           that


24        was    in   that          more       secure       area was          George      Rivas        is   that


25        correct




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                               97
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 101 of 219 PageID 7866



      1             A.           Yes        sir.


  2                 Q.           Okay.           And       is    that    at     the       time    of    the    incident


  3       you    testified       about       or is             that    all     the    time       or    what

  4                 A.           They       had       a    small       reclassification                 at    the    time


  s       and    they were       going       through             there       and checking              his    records

  6       I   guess      and    it    came       up       that    he    may have          not     --    may not       have


  7       supposed       to    have    been        in the         dorms and they                 moved       him to       3



  8       building.

  9                 Q.           Okay.           So       he    had been        in the       dorms       at    some


 10       point    in    time

 11                 A.           Yes        sir           he    was.


 12                 Q.           Do    you       know          how long       he     had been          in that       more

 13       secure    unit

 14                 A.           I    cant        tell          you     sir.


 15                 Q.           Your       understanding                that        he   got    put     in    that


 16       more    secure      unit     because             he    haddone           anything           down    there       at


 17       the    penitentiary          to    cause             him to go        there or was             it    because


 18       they    looked      and     did their classifications                              they       said        hey

 19       based    on what       kind       of    offenses             this    guy has           coming       in     he


 20       should    have      been     reclassified

 21                 A.           Thats           correct.


 22                 Q.           Okay.           Who      had the        shortest           tenure       there       in


 23       the    maintenance          department

 24                 A.           Probably             Murphy.


 25                 Q.          Murphy                Okay.           How does        Mr.    Halprin          rate




                         283RD JUDICIAL DISTRICT COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                     98
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 102 of 219 PageID 7867



      1   there       in    terms       of    tenure

      2                A.           Oh        as    far        as    working          for    me

      3                Q.           Right.


      4                A.           I    must have              misunderstood                you        then           because       I




      s   meant       --    Murphy       was       there            really        the       longest.              He    was    one


      6   of    the    first       ones       that       was        there.        When       I       came    in    five       years

      7   ago     Murphy          was    working           there and             he    was       there approximately


      8   only    a    year.


      9                Q.           Okay.           Was        that    the       shortest             amount       of    time of


 10       any    of    the       guys    there

 11                    A.           The       last        --    well        we    had some             people          that


 12       worked       with       the    craftsmen              that       were       there probably only                      just


 13       a    couple       of    weeks       at    the        time.


 14                    Q.           I    mean           among        those       seven           among       those       six

 15                    A.           Right.              They        were    about       the          same.


 16                    Q.           Okay.           You        say he worked                with       nonsensitive

 17       tools.           What    does       that       mean

 18                   A.            What          that     means       is    we       have       a    sensitive


 19       toolroom          and that          classifies              everything             that       is    able       to    cut


 20       and cut          any    kind       of    wire        or any       kind       of    metal.           The


 21       nonsensitive             tools          are    like        sockets          and    screwdrivers                 stuff


 22       that    you       cant        cut       with.


 23                   Q.            Okay.           Do     you       have    inmates that                   work       with


 24       sensitive          tools       or was          that        restricted

 25                   A.            That          was    restricted.               And       that       was    restricted




                            283RD JUDICIAL DISTRICT COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                           99
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                           Page 103 of 219 PageID 7868



      1   to    the    supervisors.

      2                Q.           And    his        job was            pretty much                just          to    hand    out


      3   stuff       when    somebody          came          in    and requested                   it

  4                    A.           Thats           correct.


  5                    Q.           Okay.           Clerk-type                job

  6                    A.           Somewhat.                 All    he       was       required             to    do    was    just


  7       to    hand    out    tools.


  8                    Q.           Okay.           So    what       would          he       have       to    know            What


  9       kind    of     skills      would          he    have       to       have       to    do       that       particular

 io       job

 11                    A.           Just       to    be       able       to    read          and identify                tools.


 12                    Q.           Okay.           Did       he    have       to       go    through             and kind          of


 13       learn different                tools       or could             he       go    to    a    list          and see

 14       pliers are          in    slot       582       or    what

 is                    A.           Yes        sir.           Thats           basically             correct.              All       the


 16       tools       were    numbered          and he had                to       make       sure       that          they    go

 17       back    in    the    same       slots          that       he    got       them       from.


 is                    Q.           So    he    wouldnt              really have                   to   necessarily                 have


 19       a    whole    lot    of    familiarity                   with       tools          and what             tools       did

 20       what    and what          tools       looked             like

 21                    A.           Thats           correct.


 22                    Q.           Okay.           As    long       as       he    could          read

 23                    A.           Exactly.


 24                    Q.           Now        State       Exhibit             582       there           sitting          here

 25       all    these       people       were       people          that          were       taken          hostage           is




                            283RD JUDICIAL DISTRICT  COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                         100
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 104 of 219 PageID 7869



      that    correct

  2             A.             Yes           sir        thats           correct.


  3             Q.             Okay.              Nobody       suffered              any    life     threatening

  4   injury     as      far       as    you       know

  5             A.             What          do    you    mean          life        threatening

  6             Q.             Something                that       going        in the       hospital          that    they

  7   might    have      died          from

  8             A.             I       was    the       one    that          spent     the    most time          in    the


  9   hospital.          I   spent           two    days       in       the     hospital           from my head


 10   injury.        I   had       a    concussion.


 11             Q.             Okay.              Nobody       was       killed

 12             A.             Nobody             was    killed.


 13             Q.             So       you       say there was                 a    water    cooler          back    there


 14   that    you had put               back       there               Was     it    always       back    there

 15             A.             I       didnt put              that       cooler        back       there.


 16             Q.             Was       that       something                that     was    usually          back


 17   there

 18             A.             It       was       back    in       the       warehouse            yes.


 19             Q.             I       mean        back       in       the    electrical           room there

 20             A.             No        sir.           A water          cooler        is    not    a    good    place

 21   --   an electrical                room       is    not       a    good        place    to    put    a    water


 22   cooler.


 23             Q.           Appear               somebody             might        have    just    placed       that


 24   back    there

 25             A.             Thats              correct.




                     283RD JUDICIAL DISTRICT COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                            101
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                 Page 105 of 219 PageID 7870



      i               Q.              Everything          in    the    prison is             done    --    you

      2   testified         everything            is     done    the    same       time       all    the    time

      3               A.              Yes     sir.


      4               Q.              Okay.       Thats         just    basic          regimen of prison

      s   correct

      6               A.              Procedure.


      7               Q.              Okay.       Guys got        to    get       up     go to       their jobs


      8   meals are         the       same    time        the    counts       are       at    the    same       time


      9   every    day          correct

 10                   A.              No.     The       counts    were       changed           you    know           just


 ii       to   keep    it       not    regular.           That    was    a    procedure.              But       they

 12       were    basically            within       a    certain       time span             every    day.


 13                   Q.              Now     how       about    the    comings          and goings             of    the


 14       employees             the    workers          like    yourself               You    said    yall

 is       wouldnt          go    to    lunch      and come        back       at    the       same    time.           You

 16       came    back      kind       of    staggered.           Is    that       a    policy       or    is    that


 17       just    kind      of    the       way   you     did    it

 18                   A.              Thats       just     the    way    it       works       out     usually.


 19                   Q.              Okay.       And     from    reading          reports           correct          me    if


 20       Im     wrong          but    it    seems       like    two    people          would       come    back


 21       every    fifteen            minutes       or    so    and then          they       would    get


 22       confronted            and    taken      down     and put       in the          electrical             room

 23       correct

 24                   A.              Yes     sir        thats        correct.


 25                   Q.              Okay.       And was        that    just          because       two    people




                            283RD      JUDICIAL    DISTRICT COURT 214/653-5863
                                 NANCY      BREWER   OFFICIAL COURT REPORTER
                                                                                                                                102
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 106 of 219 PageID 7871


      would    go       to    lunch          together             and just          happened          to    come    back


  2   and another             two       people          would          go to       lunch       together

  3                A.              Yes        sir-thats                     correct.


  4                Q.              You       all       didnt           necessarily              of    course        have       to


  5   go   and eat           lunch       at       the       same       time

  6                A.              We    --       my employees                 they usually went                   at    the


  7   same    time because                   we    tried to             start       work       at    the    same    time


  8   every    day.


  9                Q.              Okay.           Well           you       have    a    certain       amount       of       time


 10   before       lunch

 11                A.              Yes        sir           we    have       an hour.

 12                Q.              Well           is    it       that       just    everybody          didnt        take


 13   their    hour            They          just       kind       of       came    back       to    the    area    or       how


 14   does    it    work out             that           you       know        two       people       are    coming       back

 is   every    fifteen             minutes             or    so

 16                A.              Well           what       happens           we       have    some       people       that


 17   live    in    Kenedyso                  they          go to       their house             to    eat.        You    have


 18   some    people          that       do       not       like       to    eat    on the unit              so    they       go

 19   to   their vehicle                 to       eat.           You    have       some       people       that    like       to


 20   go to    town           so    they go             to       Kenedy       to    eat.       And     then you          have

 21   some    of    us       that       go    to       the       officers          dining       room and we             eat


 22   over there.

 23                Q.              Okay.           And       thinking          back       on    it     leading          up    to


 24   that    day        is    that          pretty much                the    way       it    always       happened

 25                A.              Yes        sir.




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                         103
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                Page 107 of 219 PageID 7872



      1              Q.              Be    rare     that      everybody          go    to       lunch         and     come


      2   back     all    at    the       same    time       or    come    back       in groups               of     five    or


      3   six

      4              A.              That    was       the    way    it    was    from day             one         since     I




      5   was     there.


      6              Q.              Okay.        And    thats        kind       of    a       pattern         or


      7   practice        that       could       have    possibly been                observed              by the

      8   inmates         correct

      9              A.              Its     possible.

 10                  Q.              Okay.        Now        as    this    whole       thing          was      happening

 ii       you    said     it    appeared          that       George       Rivas       was       the    leader of

 12       this    whole        thing

 13                  A.              Yes     sir.


 14                  Q.              Okay.        And    why       would    you       say       that

 1s                  A.              Because       people          were    looking             to   him for          further

 16       instructions.

 17                  Q.              Okay.        For example

 18                 A.               Whenever          they       had me where             I    finally            settled

 19       down      they       all    looked       at    him and said                 okay          what       do    we     do


 20       now      And he        would       say        start       tying       him up or whatever                        else


 21       have    you or clean              up    the    blood       on    the    floor or whatever                         else


 22       have    you      you know.              He    was       basically       giving            the       orders.


 23                 Q.               Was    Rivas       responsible             for    getting            a    lot    of


 24       these    people        on at       the       maintenance          department

25                  A.               He    recommended             some    of    them          but     it      was    our




                          283RD JUDICIAL DISTRICT COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                     104
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                         Page 108 of 219 PageID 7873



      1   ultimate choice.                       If    they    appeared              to    be    a    good      worker        with


      2   a    good   record               we    pulled       them        in.


      3               Q.              As an           inmate         he    couldnt              say Mr.         Moczygemba

      4   I    want   you       to    hire this person                      but       he    certainly made

      5   recommendations                       correct

      6               A.              He        just    made        recommendations                   and we       took       those


      7   with    a   grain of              salt       and we        looked          through          their records.

      8               Q.              Okay.            Had    there been              other          individuals             that


      9   he   had recommended                    in    the    past        that       you       decided         not     to    hire

 10                   A.              He        tried to get              Rodriguez             in    there.          A couple

 ii       of   times       he    recommended                 him.         And he          sent       his    IOC    to    us    and

 12       we   didnt        see       anything           that       the     man could                do    that    would       fit


 13       our needs             so    we        didnt        hire him.


 14                   Q.              Okay.            Thats        Karnes           County down             there

 15                   A.              Yes         sir        thats         correct.


 16                   Q.              Have        you    testified              down       there about             these


 17       events      at    the       Karnes           County       Grand           Jury

 18                   A.              No         sir     I    havent.

 19                   Q.              Do        you    know    if    there are other pending                            cases


 20       down   there          for    the        escape       itself               for    the   assaults

21        themselves            for    these           inmates




--25
22                    A.              The        only other          one        I    testified            was     for   Ronald

23        Rodriguez.             I    testified              there    Tuesday.


24                    Q.              It    was       down     in


                      A.              In    Floresville.




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                     105
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 109 of 219 PageID 7874



      1              Q.           Now        you       gave          a     voluntary          written          statement             to


     2    the     Internal       Affairs          Division of                    the   TDC      Connally            Unit

     3    correct

     4               A.           Thats           correct.


     s               Q.           Okay.           And          I    assume you           gave       that       pretty          soon


     6    after     the    events           is    that             correct




 --11
     7               A.           It       was    the          following           day.


     8               Q.           Okay.           The          14th        of    December

     9               A.           Yes        sir           thats            correct.


 10                  Q.           And       you handwrote                       that   and




 --15
                     A.           No        sir        I       --    somebody          else        wrote       that.           I



 12       just     dictated.           I    was.not                able     to    hold     an      ink     pen      at       the




 --16
 13       time.


 14                  Q.           Okay.           So       someone              else handwrote


                     A.           It       was    that             internal


                     Q.           --       three and a half pages

 17                  A.           Yes        sir.              It    was        that   Internal            Affairs

 18       officer.         His    name       is     Simon on                there.        He       was     the      one       that


 19       wrote    it.


 20                  Q.           And       have       you          had a chance              to    look       at     it

 21                 A.            Yes        sir           I       have.


 22                  Q.           Okay.           And          I    dont know            if     you      are     --      a    lot    of


 23       these    statements              also    were              even        though       you     may      have          given    a


24        written        one     was       typed       up          and then        signed.            Do    you       recall


25        having    a     typed-up          statement                signed        also




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                  106
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 110 of 219 PageID 7875



  1                A.            No        sir.        Thats           the          only       statement             I       made.


  2   Thats         the    way       it    is.        Thats           the       way       its        always          been.


  3                 Q.           Okay.           Were       you       ever asked                to    supplement                   a


  4   statement           and add anything                      else       to       a    statement

  s                A.            No       sir.


  6                Q.            Okay.           As    far       as    you          know        out       of    these             16


  7   people         were       at    least        the      12    employees                   asked       to    do       the       same


  8   or similar type                 things

  9                A.            Yes        sir.


 10                Q.            Okay.           Now        when       they             ask    you    to       give          a


 11   statement            of    course          they want             you          to    just       tell       the          story

 12   and    tell        what    happened              correct

 13                A.            Yes        sir.


 14                Q.            And when             you       give       a    statement                 you want                to


 15   tell    the        most    important             things              correct

 16                A.            Yes        sir.


 17                Q.            Okay.           You       want       to       tell       who       hit    you and who

 18   said    something              bad     correct

 19                A.            Thats           correct.


 20                Q.            Who      threatened              you           correct

 21                A.            As close             as    you       can       remember             at    the       time.


 22                Q.            As opposed                to    when           I       went    into       the       electrical

 23   room    I    turned        left        as       opposed          to       turned          right           or       I       slipped

 24   on some       water        and      almost           fell        you          want       to    tell       the          events

 25   so    that    the     investigators                   know       what             happened          and    what




                         283RD JUDICIAL DISTRICT  COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                        107
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                             Page 111 of 219 PageID 7876




  --7
     1   particular          inmates          did           correct

     2                A.           Yes        sir           thats              correct.


  3                   Q.           Okay.           Now           I    want          to    ask    you        you       said a lot


  4      of    theys         in    there.              Okay

  5                   A.           I       said    a    lot          of       what

  6                   Q.           Theys.              In       your          direct          testimony

                      A.           Yes        sir.


  8                   Q.           --       you    said they                   did       this        they    did that.              I



  9      want    to    ask you             specifically                   what       you       remember          Mr.    Halprin

 10      doing.        Okay            I    want       to       stop.           I    want       to    ask    you       question

 11      by    question.

 12                   A.           Okay.


 13                   Q.           All       right.              So       I    believe          the    first          thing       you

 14      said about          Mr.       Halprin          was          that       when          you woke       up        he    was

 is      standing          over    to       the    right of                   you        is    that    correct

 16                A.              Yes        sir           I    think          so.


 17                   Q.           Okay.           And          how       far       away

 is                A.              Probably             about             four       feet       away.


19                    Q.           Okay.           And          any       shank          in his       hand

20                 A.              No.        I    think             all       he    had       in his       hand       was    a    mop.


21                 Q.              A mop               Okay.              Was       he    cleaning          up    while       this


22       was    going       on

23                 A.              Yes        sir.


24                 Q.              Actually             using             the       mop

25                 A.              Well           he    was          --       they       didnt        want       to    make




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                              108
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 112 of 219 PageID 7877




      --3
      1   anything         obvious         I    guess            so    they       were       cleaning       the       blood


      2   off   the    floor as         it


                      Q.           Okay.          So       he    was       actually          cleaning       up       blood

      4               A.           Yes         sir.


      s               Q.           Okay.         Did           you    ever    see       him hit          anybody

      6               A.           I   didnt.

      7               Q.           Okay.         And           you    said they             were    making       threats.


      8   Later on you said              that          you       didnt really hear anybody make

      9   threats      but       Garcia.          Is       that       fair

 10                   A.           Well         Garcia was                 making       a    lot    of    the    threats

 ii       too    was       making      most of             the       threats       at       the    time.        He    was    the


 12       one   that       was    most vocal.

 13                   Q.           Okay.         Well            you       knew    these          inmates            You    know

 14       their voices

 is                   A.           Yes         sir         I    do.


 16                   Q.           Okay.         Ill            ask    you    specifically                 did you          ever


 17       hear Mr.         Halprin      make          any       threats

 18                   A.           I   didnt.

 19                   Q.           Okay.         You           testified          when       the    door was          closed


 20       you   could       hear them           yelling and                 them making             statements

 21       correct

 22                 A.             Yes         sir.


 23                   Q.           I   want      to        ask       you    specifically                 did you hear

 24       Mr.   Halprin          say anything                  when    the    door          was    closed

 25                 A.            No     sir           I       didnt.




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                109
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 113 of 219 PageID 7878



      1               Q.           Okay.            You       said when             the    door       was    closed          you

      2   could    hear the            inmates getting                       kicked       and beat          it    sounded


  3       like

  4                   A.           Yes        sir.


  s                   Q.           You     said          it       sounded          like    they       were       getting      it


  6       a   whole     lot      rougher        than          you guys             did

  7                   A.           Yes        sir.


  e                   Q.           And     in       speaking             of    the       inmates who

  9       participated            in    the     escape              you       said they          were       treating         them

 10       a   whole     lot      worse

 11                   A.           Right.


 12                   Q.           Is    there           anything             that       you heard          that


 13       indicated         to   you that               Mr.       Halprin          was    beating       any of          these


 14       inmates

 15                   A.           Well         it       appeared             to    me    that    they       were       --   they

 16       all    were      working       as     a       team       and so          thats        the    reason       I    made

 17       that    statement.

 18                   Q.           Okay.            I    understand                that.        But    Im        talking

 19       about    specific            actions.


 20                   A.           I    cant            --    I    cant        break       it    down       one    by one.

 21                   Q.           Okay.            Now           you    saw       him basically             trying to

 22       pry Mr.       Newbury         out    of        the       door

 23                   A.           Yes        sir.


 24                   Q.           Okay.         And          thats           because       Mr.       Newbury       was


 25       caught      in    that       door and kind                    of    stuck       there       and couldnt            get




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                            110
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 114 of 219 PageID 7879



     1   out    one       way    or the       other           correct

     2                A.              Yes     sir.


     3                Q.              And the       action          hes        taking        is    actually      prying

     4   the    door       open           correct

     5                A.              Yes     sir.


     6                Q.              Not    swinging          the    pry bar          at     anybody         or hitting


     7   anybody          with    it        correct

     8                A.              No     sir.


  9                   Q.              In    addition          to    giving       your       statement           were       you

 10      asked       to    compile          information that                   would    assist          law


 11      enforcement             in       trying    to    catch       these          individuals


 12                   A.              Yes     sir        we    did.


 13                   Q.              Okay.        And    what       types       of    information             were    you

 14      asked       to    provide

is                    A.              We    were    providing             them with           current

16       descriptions             and some          of    their habits                and mannerisms             that


17       they     did basically while                     they       were      working            for   us    and how

18       they     acted         and stuff          like       that.        Basically              they wanted         an


19       updated          description          of    what          they    looked       like.


20                    Q.              Did you       provide          that       to    your        chief       Bill


21       Lazenby           phonetic

22                    A.              I    cant     recall         who     I
                                                                               gave     it        to.


23                    Q.              Ill     show       you Defense             Exhibit No.             38    and    ask


24       you    if    you       can       identify that.

25                    A.              Yes     sir        thats        correct.




                            283RD JUDICIAL DISTRICT COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
     --3
                                                                                                                   111
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                            Page 115 of 219 PageID 7880



     1                Q.           And    what     is    that

     2                A.           That    is     basically       a    description           of    their


         the    way    he    was    at    the     time and       their physical              and mental


     4   attributes           I    guess.


     5                Q.           As provided           by   you

     6                A.           Yes     sir.


     7                Q.           About    Mr.        Halprin

     8                A.           Yes     sir.


  9                                        MR.     KING         Offer Defense             Exhibit       38    at


 10      this    time.


 11                                        THE     COURT         Any    objection          to     Defense      38

 12                                        MR.     SHOOK         No    objection.

 13                                        THE     COURT         Defense       38    shall        be   admitted.


 14                   Q.           By     Mr.     Ashford         Sir        they    first        asked      you

 15      his    physical          description.            You    gave       that     correct

 16                   A.           Yes     sir.


 17                   Q.           They    asked        you his       tattoos        scars         or marks


 18      and you       said none          that     you were       aware      of      correct

 19                   A.           Correct.

 20                   Q.           They    asked        you his       job   skills        and you said

 21      none     correct

 22                A.             Thats         correct.


23                    Q.          All     right.        And     they    asked       you   his     mannerisms

24       and    including          in    that     is    temperament          correct

25                 A.             Yes      sir.




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                            112
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                 Page 116 of 219 PageID 7881



  1                Q.              And       you       said Halprin          was    dumb as             a    bag of


  2   rocks        had    to       be       told       time       after    time    how    to       complete          a




  --7
  3   task        is    that       correct

  4                A.              Thats           correct.


  s                Q.              And       that       was       your    honest    opinion of                Mr.


  6   Halprins           mental capabilities

                   A.              Thats           correct.


  8                Q.              --       at    that       time        correct

  9                A.              Thats           correct.


 10                Q.              Do       you    think          hes     smart    enough          to       plan    an


 11   escape       like       that

 12                A.              Follow          orders.


 13                Q.              Follow          orders

 14                A.              Basically.

 15                Q.              Do       you    think          thats     pretty much             what       his       role


 16   was

 17                A.              Well           that       is    basically       all    I    told him to                do.


 18   All    he    could       do       is       follow          orders    every    time       I    told him


 19   something          and you             know       how that          goes.


 20                Q.              Were          you    asked       to    participate          or were             you

 21   aware       at    any    time that                information          that       you provided                might

 22   have    been       used          to    create          a    profile    of    the    seven             offenders


 23   and rank          them       in       terms       of       dangerous    to    least          dangerous             most


 24   likely       to    be    a       leader          to    least       likely    to    be    a    leader

 25                A.              I    dont know                 the    procedures       on       that.




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                           113
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                 Page 117 of 219 PageID 7882



     1             Q.           Okay.        Well           were       you       ever     asked       those        types


     2   of   questions

  3                A.           I    cant      recall.


  4                Q.           Okay.        And       so    do    you know              if     the   information


  s      that    you provided          and     that         others provided                     was   used        in that


  6      way

  7                A.           I    cant      tell         you    that           sir.


  8                Q.           Okay.        Now        you       said that             you      were    aware       that


  9      other    individuals          gave       statements                possibly supplements                     to


 10      statements       just       like    you did              correct

 11                A.           Its     possible.

 12                Q.           Are you        aware         that       other       individuals              also gave


 13      these    kinds    of       profiles that             I    just          showed         you and was

 14      introduced       as    Defendants              Exhibit             38

 15                A.           I    cant      tell         you.        I    have       no      idea.


 16                Q.           Okay.        Ill        show       you what             is      marked    as      Defense


 17      Exhibit    39    and ask       you       to    take       a    look       at     it.


 18                A.           Yes     sir.


 19                Q.           Recognize          the       names          on    that

 20                A.           Yes     sir        I    do.


 21                Q.           The    names       of       the    offenders

 22                A.           Yes     sir.


23                 Q.           Appear       to    be       from the             Connally         Unit

24                                      MR.       SHOOK            Judge           well          object      if


25       theyre     going       to    discuss          documents             not    in        evidence.           Well




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                               114
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                        Page 118 of 219 PageID 7883



  1   object      to    that.


  2                                  THE     COURT        Overruled.


  3               Q.           By   Mr.    Ashford            Does       it    appear      to   be   making


  4   similar evaluations              and judgments            just          like    State     Exhibit


  s   38

  6                                  MR.     SHOOK        Judge           hes referring              to    a


  7   document         not    in evidence        and    hes     even          characterizing          what


  8   it   says    and       well object         to    that.


  9                                  THE     COURT        Sustained.


 10                                  MR.     ASHFORD           Offer defense               Exhibit        39   at


 11   this   time.


 12                                  MR.     SHOOK        May       I    take       the   witness     on


 13   voir   dire

 14                                  THE     COURT        You       may.


 15                                    VOIR      DIRE    EXAMINATION


 16   BY MR.      SHOOK

 17               Q.           Is   this your         document

 18               A.          No    sir      its       not.


 19               Q.          Did you      put    it    together

 20               A.          No    sir      I   didnt.

 21                                  MR.     SHOOK        I    object          to    hearsay.


                                     THE     COURT        Sustained.




 --25
 22




 23               Q.           By   Mr.    Ashford            You       said that         Mr.   Halprin

 24   just   followed orders               okay

                  A.          Yes     sir.




                       283RD JUDICIAL DISTRICT  COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                               115
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                             Page 119 of 219 PageID 7884



  1             Q.           --    is    that          correct           Okay.        And thats        about


  2   the    best    he    could    do

  3             A.           Yes        sir.


  4             Q.           Okay.           Now        what       about    Mr.      Rivas

  s             A.           He    had       a    lot    of       leadership         qualities.

  6             Q.           Okay.           Appear          to   be    pretty       smart

  7             A.           Yes        sir.


  8             Q.           And    you worked                with      everybody       pretty much

  9   except    Rodriguez           correct

 10             A.           Thats           correct.


 11             Q.           Okay.           What       about      Mr.     Harper

 12             A.           Mr.    Harper             was    fairly       intelligent          hard


 13   worker.


 14             Q.           What       about          Mr.    Newbury

 15             A.           He    was       very intelligent                  and a    hard worker.


 16             Q.           What       about          Mr.    Garcia

 17             A.          He     was       hard       --    they      were    all    hard workers.


 18             Q.          Okay.            Well        Im       not    talking       about    hardworking

 19   right now.           Im     talking             about       intelligence         and    leadership

 20   qualities           okay

 21             A.          Well         I       never       asked      them    to    display that        just


 22   to    follow   orders.


 23             Q.          Okay.            How       about      Mr.    Murphy

 24             A.          Murphy               he   was     very      intelligent          and was   very

 25   talented.




                     283RD JUDICIAL DISTRICT  COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                         116
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                              Page 120 of 219 PageID 7885



  1             Q.              If    I    asked       you based          on    your       opinion          to    rank




  --9
  2   Mr.    Halprin in terms of                      intelligence             with       all    the      rest     of


  3   those    people       I    just          asked    you    about           what       would       you    say

  4             A.              He    was       right    at    the      very     bottom.


  5             Q.              Okay.           And    Ill     ask      you     again           did TDC          ask    you

  6   that    type    of    information                  Did       they    ask       you to          do   that     type


  7   of    qualification

  8             A.              They       basically          asked       us    to    give       them       their


      how would       you       say        their physical               and mental


 10   characteristics.


 11             Q.              Okay.           Did    they use         terms        such       as    leadership

 12             A.              Oh        not    really        not      that     I    can       recall.


 13             Q.              But       no    doubt    in your          mind that             Rivas       was    the


 14   leader

 15             A.              Yes        sir.


 16             Q.              And       those       were    --    that       was    consistent             with       his


 17   intelligence          and his character                      as   you     knew       him

 18             A.              Yes        sir        thats        correct.


 19             Q.              And Randy             Halprin       you    saw       mopping up             the


 20   floor

 21             A.              Yes        sir.


 22             Q.              And       thats        pretty much             consistent             with       what


 23   you    knew    about       him

 24             A.              Yes        sir.


 25             Q.              Did       Halprin       put    a    bandage          on    your       head




                     283RD JUDICIAL DISTRICT COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                           117
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                               Page 121 of 219 PageID 7886



      1                 A.              I    dont        know.           I    think          he       tried to           dab it       or


      2   swab    it.         I    dont           recall          who    did that.                    I    wasnt         turning

  3       around        much.


  4                     Q.              But       when    you got             hit       on       the       head         you    dont

  5       know    who        hit    you on the                head           first          of    all

  6                     A.              I    dont have              no       idea.


  7                     Q.              You       didnt           come       in    and try                to   pick      any    of


  8       these    guys           and       say    that       guy hit             me    on       the       head.         You    are


  9       answering           honestly              correct

 10                     A.              Yes        sir        thats           correct.


 11                     Q.              You       dont know who                        but       it       felt     like       somebody

 12       might    have           tried to put                a    bandage             on your             head

 13                     A.              I    cant        recall.


 14                     Q.              Do    you remember after                            getting            the      pillowcase

 15       off    your head              and seeing                any    type          of    bandage              or    anything

 16       sir

 17                 A.                  Excuse       me

 18                     Q.              Do you       remember seeing                         any          type     of    bandage

 19       after you got                 the   pillowcase                 off      your           head

 20                 A.              No        sir         I       didnt.

 21                                               MR.     ASHFORD                  I    pass          the      witness.


 22                                               MR.     SHOOK              We        have       no       further questions.

 23                                               THE     COURT               Thank          you           sir.         You    may

 24       stand    down.


 25                                               MR.     SHOOK              May        this          witness           be    excused




                             283RD-JUDICIAL  DISTRICT COURT 214/653-5863
                                NANCY BREWER   OFFICIAL COURT REPORTER
                                                                                                         118
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                Page 122 of 219 PageID 7887



      1                                      MR.    ASHFORD            No    objections        Your       Honor.


      2                                      THE    COURT         He    may.


      3                                      MR.    DAMORE             Call       Alejandro    Marroquin.

      4                                           ALEJANDRO     MARROOUIN

      s   having      been   duly       sworn        was    examined and testified                   as


      6   follows


  7                                               DIRECT    EXAMINATION


  8       BY MR.      DAMORE

  9                   Q.          Would       you    state      your name            please.


 10                   A.          Alejandro          Marroquin              Jr.


 11                   Q.          Sir        how old a man are                you

 12                   A.          Twenty-five             years.


 13                   Q.          Direct          your    attention          back    to    December       of    2000


 14       and ask      you   to       tell    the    jury where             you were       working    at       that


 is       time

 16                   A.          I    was    working       in the          Connally       maintenance

 17       room.


 la                   Q.          And what          was    your    job       at   that     time

 19                   A.          I    was    the    maintenance             paint    supervisor.

 20                   Q.          Your       job was       to   work within           the    prison system

 21       is   that    right

 22                   A.          Yes        it    was.


 23                   Q.          What       was    your    job    title

 24                   A.          Correction             officer       3.


 25                   Q.          How    long       had you been             with    the    prison system




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                      119
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                             Page 123 of 219 PageID 7888



      1            A.         Roughly       four        years.


      2            Q.         And    your job           that       day was          to   do    what

      3            A.         Pull    the        inmates out             for    work       and basically


      4   detail   and brush up on              the     unit       paint       as    needed.


      s            Q.         All    right.           That     day       there       was      an   escape   from


      6   that   unit    is   that    right

      7            A.         Yes.


      8            Q.         There       were       seven     people          who       escaped

  9                A.         Yes.


 10                Q.         Did you       know        these       seven       people

 11                A.         Yes     I    did.


 12                Q.         And how       do       you know        them

 13                A.         Basically          officer/inmate                 contact.


 14                Q.         Had you       supervised              any    of       those      seven   people

 15                A.         Yes     I    did.


 16                Q.         How    many       of    them

 17                A.         Six of       them.


 18                Q.         Which       one    did you           not    supervise

 19                A.         Michael       Rodriguez.

 20                Q.         The    other six               did    that       include        Randy    Halprin

 21                A.         Yes.


 22                Q.         Do    you    see       him in court              today

 23                A.         Yes     I    do.


 24                Q.         Would       you    identify where                 he       is

 25                A.         To    the    far       left.




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                   120
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                              Page 124 of 219 PageID 7889



      1               Q.           At   the     end of       the    table

  2                   A.           Yes        sir.


  3                                           MR.    DAMORE          Let      the     record       reflect       that


  4       this   witness          has   identified           the    defendant            in open     court.


  s                   Q.           By     Mr.       DAmore          At    what      point     did you       become


  6       involved         in being       a    hostage       or    assaulted          as    part    of    the


  7       escape

  8                   A.           Time       wise

  9                   Q.           Yes        sir.


 10                   A.           Roughly          about    1145        that    afternoon.


 11                   Q.          All     right.        Right       before       noon

 12                   A.          Right.


 13                   Q.          what        had you been          doing       right       before       that

 14                   A.          Doing        my paperwork.

 15                   Q.          And where           were    you    located

 16                   A.          Right        inside the          maintenance             office.


 17                   Q.          Who     else was          in that      maintenance           office       at


 18       that   time

 19                   A.          Supervisor           Camber.


 20                   Q.          All     right.        Were       there      any     of    those    seven

 21       people      in    there

 22                   A.          At    that        time when       we   were       in     there     the    only

 23       offender         that   walked        in was       offender         Murphy.


 24                   Q.          All     right.        Did       some   of     the   other        prisoners

 25       come   in    there




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                      121
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                             Page 125 of 219 PageID 7890



  1               A.           Roughly          a    few    minutes      offender       Halprin

  2   Garcia       and Harper and                   Newbury    came      in.



  3               Q.           Did you          know       someone    by the         name of       George

  4   Rivas

  5               A.           Yes        I    did.


  6               Q.           Was    he       around       that    day     also

  7               A.           Yes        he    was.


  8               Q.           Did he          come    into    that      office        also

  9               A.           He    came       in roughly          about      two    or three minutes


 10   after the         other       offenders          had positioned             themselves.


 11               Q.           All    right.           Within       that    office      you       said you


 12   were   at    a    desk

 13               A.           Right.


 14               Q.           And you          were       doing    some    paperwork

 15               A.           Right.


 16               Q.           What       happened          when    they    were      all    in    there

 17               A.           After          they were       all    in there         offender       Rivas


 18   came     placed      himself in front                   of    me     picked      me    up    out   of    my

 19   chair.       At    that       point       I    was    struck    from behind.


 20               Q.           Do    you       know    who    struck       you    from behind


 21               A.           No     I       dont.

 22               Q.           All    right.           And    how was       it   that       he    picked      you

 23   up out      of    your    chair

 24               A.           He    got       me    in a    bear hug and            just    lifted      me    out


 25   of   my chair.




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                               122
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                         Page 126 of 219 PageID 7891



       1             Q.           Did    he          say anything                to    you

   2                 A.           At    that             time    he    didnt           say anything.


   3                 Q.           What       did you             think       was       going       on

   4                 A.           I    thought             they were             --    I    tried to       down play           it



   5       to   avoid     confrontation                    but    I    saw       that        you    know        it   was


   6       serious.        At   that     time              you know              I    started       to    struggle         with


   7       them    and thats           when          I    was    hit       from behind.


   8                 Q.           Okay.              Did       you get       knocked             unconscious         as    a


   9       result

 10                  A.           No.


 ii.                 Q.           Did    you             get    knocked          down       onto    the    floor

 12                  A.           Yes        I       did.


 13                  Q.           What       happened             at       that       point

 14                  A.           At    that             point    when       I       was    on    the    floor

 15        offender       Newbury       had          a    knife       to    my throat             and told me         not      to


 16        move.     At    that       time       I       looked       towards          my feet          where


 17        supervisor       Camber was                   being    subdued             by offender          Halprin         and


 18        Garcia.


 19                  Q.           Now     you             said he          had a knife             to    you

 20                  A.           Right.


 21                  Q.           What       type          of    knife       was       it

 22                  A.           It    was          a    12-inch          homemade          shank.


 23                  Q.           All    right.                 And    did you             take    what    he    said


 24        seriously

 25                  A.           Very.




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                 123
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 127 of 219 PageID 7892



      1                Q.           All    right.              You     could          look    over       and you could


  2       see    Mr.    Camber within                a    few    feet        from       you

  3                    A.           Right.


  4                    Q.           And who          was       with     him at          that       point

  5                    A.           Offender             Halprin        was       basically             by his head            and


  6       offender          Garcia       was    on top          of     him.


  7                    Q.           What       were       they doing              with       him

  8                    A.           They       were       slamming his head                       down    and at          that


  9       time offender             Garcia       moved          towards           to    tie       supervisor             Camber


 10       and at       that    time Halprin                   took     over       the       top    part       of    his    body

 11       and    from what          I    saw    he       was    slamming              his    head       into       the


 12       ground.


 13                    Q.           Mr.    Camber              what     was       his       job back          then

 14                    A.           He    was    HVAC          technician.


 is                    Q.           He    worked          in the        maintenance                unit

 16                    A.           Right.


 17                    Q.           All    right.              Was     he    struggling             as    those          two

 18       Halprin       and Mr.          Garcia          were         with       him initially


 19                    A.           He    was    struggling                 to    a    point.           Eventually

 20       after    being       struck          on the          ground        a    few       times        he    complied

 21       with    what      they        started          to    tell     him.


 22                    Q.           All    right.              And     so    you       saw        then        Mr.    Garcia


 23       and Mr.       Halprin          subdue          him after           they       put       his    head       into    the


 24       floor several             times

 25                    A.           Right.




                            283RD       JUDICIAL  DISTRICT  COURT-214/653-5863
                              NANCY        BREWER   OFFICIAL COURT REPORTER
                                                                                                                                         124
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                              Page 128 of 219 PageID 7893



  1                Q.              What       happened                then

  2                A.              At    that      time           when             they    had       him subdued              Garcia


  3   then    came       to    help          offender             Newbury                and offender                Halprin        --    I




  4   mean     Harper              to    subdue          me.


  s                Q.              All       right.           Were             they       able       to    subdue       you

  6                A.              At    that      point              they          were       just       --    they    took        off


  7   my uniform.

  8                Q.              What       happened                then

  9                A.              At    that      point              I    looked          at    Rivas          and Rivas           then


 10   looked       down       at    me       and told me                   if       I    hesitated             any    more     he


 11   wouldnt           hesitate             to   kill        me.              I    was    placed          on my belly              and


 12   made    to    crawl          to    the      back        to          the       electrical             room.        At    that


 13   point    they       continued               to     tie          me       with       zipties          and the          first


 14   couple       of    sets       I    broke.              After             they       figured          out        they

 is   started       putting             more      zipties                  more          duct    tape          around       my legs

 16   my arms.

 17                                At    that      time           I       was       drug       into       the    electrical


 18   room where          I    was       placed          next             to       supervisor             Moczygemba          and


 19   with    all       the    blood          that       I    saw          in       there        I    thought          he    was


 20   dead.


 21                Q.              All       right.           Had you                   been    struck           then        several


 22   times    before          you       were      put        into             that       electrical             room

 23                A.              Right.          They           tried to                put    a    gag       in my mouth.


 24   I   wouldnt         let       them.          And        offender                   Newbury          grabbed       me    by my


 25   hair and          struck          me    seven          or       eight             times.        I    dont know




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                125
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 129 of 219 PageID 7894



  1   exactly.           I    was    knocked                out    and broke             my nose.

  2                Q.           You       had       a       broken       nose       as    a   result of          what


  3   Newbury       did

  4                A.           Right.


  5                Q.           Did       you take                the    threats          that      they    said       to    you

  6   seriously

  7                A.           Yes.


  8                Q.           And you got                   put       back    in the         electrical             room

  9   Mr.    Moczygemba             was    there

 10                A.           Right.


 11                Q.           Was       someone             else       brought          in there         after       you

 12                A.           After          I    was       placed       in       there          supervisor          Camber




 --16
 13   was    then       placed       in there.


 14                Q.           All       right.              And       were    you guys            talking       at    all


 15   to    each    other       at    that         point           or

                   A.           We    were          told to             keep    quiet.             They    put    a    hood


 17   on me and          I    really couldnt                       talk    or       breath         with    that       hood


 18   on.


 19                Q.           Could          you          see    out    of    it

 20                A.          As     first             I    couldnt            but       when      they

 21   repositioned            us     and they                tied our hood                with      duct    tape        my

 22   hood    came       up    over one             of       my eyes and             I    could      see.        But    I




 23   tried not          to   make        it       too       obvious           because         I    was    afraid they


 24   were    either going                to       strike          me    more       or    end up      killing          me.


 25                Q.          After           that          was    there       a    process         where       other




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                             126
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 130 of 219 PageID 7895



  1   people       were       brought             back    and       put       in    that       room where                you

  2   were

  3                A.              Yes.


  4                Q.              Could          you hear          any       threats being                made as              these


  s   people       were       being          brought          in    there

  6                A.              There          was    threats             made       towards       some          of        the


  7   other       supervisors.                    Regarding             Im        not    sure        but       they kept

  8   threatening             to     kill         them and          if       they       moved    or       if    they

  9   fought           that    they          would       get       struck          or    get     you know                    get         a


 io   shank       in    them       or whatever.

 11                Q.              Okay.           Did the          people          in    the    room take                   those


 12   threats          seriously

 13                A.              They          took    them very seriously.                             After          a    while


 14   it    was    very quiet                in    there until                all       the    inmates left.


 15                Q.              What          happened          at    that       point       when       the       people

 16   were    put       into       the       room and          the       door closed


 17                A.           After             the    inmates had                left       and    I    guess             they

 18   locked       the    door or closed                      it        at    that       point       one       of    the


 19   supervisors             had       a    pocketknife.                    We    all    tried to get                   it     out


 20   of    his pocket             and being             as    I    had my shoulder                   separated                      I



 21   was    the       only one             that       could       reach          that    far.        I    grabbed              it


 22   and we       passed          it       on    to    another          one       that       had his hand                   already

 23   loose.        We    continued                to    untie          everybody.

 24                             One          of    the    guys          that      was     in    there           another


 25   officer           Randy       Albert              had    a    pair of             handcuffs          put      on him




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                    127
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 131 of 219 PageID 7896



      1   but    they       were      on so          tight         I    couldnt          pick         none    of    the


      2   locks.


      3                               We    then       were        all       free     except          for    Randy       Albert.


      4   He    was    placed         in    the       back         seeing how            he      was    defenseless.


      5   The    inmates found                  out    we     were          loose.       They         tried to get             back


      6   in.


      7                Q.             Let       me    ask     you       this.         Did       you    do    anything          to


      8   try    to    help         his hands


      9                A.             I    told three of                    the    inmates that              were    in    there


 io       with       us     there         was    a    bucket           of    water.         I    told them          to    put


 ii       his    hands         in there          and massage                 them     because          his    hands       were

 12       you    know          two    or three           times their size.                        I    told them          to    try


 13       and get         as    much       blood       flow        as       possible.            And    I    kept    him in


 14       the    back          seeing how             the     inmates were               trying         to    get    back       in


 15       all    I    kept      hearing was              that          they       were   going         to    kill    us.        I



 16       told       him you know                    stay to           the    back.         If    they       come    through

 17       me theyre                 going       to    kill     you           too.


 18                    Q.             Did       they     --    those          people            those       escapees           try


 19       to    get    back         through          that     door

 20                    A.             Right.


 21                    Q.             And could              you       see    that       happen

 22                   A.              Right.


 23                    Q.             What       did you           and       the    other people                those


 24       hostages             do    in    preparation                 or     I    guess         in    case     they      came


 25       back       in




                             283RD JUDICIAL DISTRICT  COURT 214/653-5863
                                NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                     128
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                            Page 132 of 219 PageID 7897



      1                   A.              We       started           ripping       conduit           electrical                   panels.


      2   We     found         a    bag       of    nails.            We    started          filling       socks          with          them


      3   and       I    told       them       it       was    do     or    die.        If    they       come       back           in you

      4   are       either          going          to    die        or you       are    going       to    fight           one       or


      s   the       other.


      6                   Q.              At       some       point        did one       of       them    try       to    come          back


      7   through             that       door

      8                   A.              Right              offender Newbury.


      9                   Q.              And       tell        the       jury what          you    saw    happen             there.


 10                       A.              At       that       time        they opened             up the       door       with          a


 11       pry bar.                 Offender             Newbury           stuck    his       --    Im     thinking                his


 12       left          arm    in.        At       that       time everybody                 was    kind       of    at       a    --       it



 13       was       kind       of    crazy          at       that     time.        I    told one          of    them          to    give

 14       me    a       knife        seeing             as    they     were       going       to    come       in.        I       was


 is       going          to    try       to    cut       his        arm    off     just       so    we    could          close          the


 16       door back.


 17                                      At        that       time when           he    heard       me    say that                 he


 is       took          his    arm out.                 At    that     time       some       of    the    supervisors

 19       began          to    tie       the       door closed              so    they       couldnt           reenter             and at


 20       that          time       the    inmates               I    guess.       tried to booby                trap          it


 21       somehow             on the          outside.              And at        that       time    they       left.              They

 22       tried to reenter                         at    that        time.


 23                       Q.             You        could           hear them          doing       something             out       there.


 24       You       are       not    sure          what       it     was

 25                       A.             Right.




                               283RD
                                     214/653-5863-NANCY
                                       JUDICIAL DISTRICT
                                         BREWER
                                                          COURT
                                                  OFFICIAL COURT REPORTER
                                                                                                                               129
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 133 of 219 PageID 7898



      1                Q.           Got    quiet       outside          after       that

      2                A.           Yes.


      3                Q.           How    long       do    you    think       you and the                   other


      4   hostages          were    in there          before       you were          rescued                  Was    it   a


      s   while

      6                A.           Three      to     four       hours.        Im        not       too       sure    on the


      7   time.


      8                Q.           And when          you    were       brought          out       of    there        was


      9   there    a    procedure          that       was    used

 10                    A.           They    suited          up    an extraction                team           basically            a


 ii       riot    team.        Since       none       of    us    had    IDs        we    were          all    placed         on


 12       the    ground       on    our knees.              We    were    all       handcuffed                 brought

 13       out    and    identified          by      somebody           that    knew       us.


 14                                 At    that      time     we    were       --    they       took          the


 is       handcuffs          off    of    us     if    they       knew    us.        The       inmates that               were


 16       in there          with    us    stayed       handcuffed             and    taken          to       solitary

 17       confinement.              At    that      time     they proceeded                   to    get       our names

 18       social       security          numbers.           They       tried to          --    they          took    us   to


 19       an    infirmary for             medical          attention.


 20                    Q.           All    right.           Was    a    picture          taken          of    you

 21                    A.           Yes.


 22                    Q.           Ill     show       you what          is    marked          State          Exhibit         583


 23       and ask       you    if    you    recognize             that    photo

 24                    A.           Yes.


 25                    Q.           Was    that       taken       of    you    that       day       afterwards




                            283RD    JUDICIAL    DISTRICT COURT 214/653-5863
                               NANCY       BREWER OFFICIAL COURT REPORTER
                                                                                                           130
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 134 of 219 PageID 7899



  1              A.              Yes.


  2                                         MR.       DAMORE             Wed        offer State              Exhibit


  3   583.


  4                                         MR.       ASHFORD            No    objections                 Your    Honor.


  5                                         THE       COURT           No.     583    shall          be     admitted.


  6              Q.              By     Mr.       Shook           As a        result of             what     happened

  7   that     day        you    said already you                     had a broken              nose

  8              A.              Yes.


  9              Q.              You    had some               cuts     and abrasions                on your        face

 10   also

 11              A.              Yes.


 12              Q.              And    any       other         injuries

 13              A.              I    had    a    separated             shoulder           some           shattered


 14   bone     in my       right       eye        and      I    still       have     the       scars        on my


 is   wrists.


 16              Q.              All    right.             Prior to           that    day           did you       ever


 17   have     any    conflict          or       trouble         with       any of        those           seven   people

 18              A.              At    that       time          no.


 19              Q.              Did    you prepare                sometime later that                       day a

 20   statement           as    to    some       of    the      details as           to    what           happened

 21              A.              Yes.        The       Internal         Affairs            I    guess         officer


 22   wrote     it    for       me    because          I   could        not    use    my hands.               And    he


 23   wrote my statement                    down       and he pretty much                      wrote        basic


 24   stuff.         He    really       didnt go                into     detail       with          it.



 25                                         MR.       DAMORE             Thats        all       I    have.        Pass




                      283RD JUDICIAL DISTRICT COURT 214/653-5863
                         NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                     131
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                           Page 135 of 219 PageID 7900




      --8
          the    witness.


      2                                                 CROSS-EXAMINATION


      3   BY MR.       ASHFORD

      4                Q.             Mr.    Marroquin                 I    note        that       your     right    eye     is


      5   slightly closed

      6                A.             Right.


      7                Q.             Okay.           Is    that       a    result           of     this    or was      it


                       A.             Yes.


  9                    Q.             --    or was          it    always              that    way

 10                    A.             It    was       like       this.            I    had plastic           surgery and

 11       at    that       time    they      broke          the    vein          on top           that     was

 12       reconstructed.


 13                    Q.             Okay.           But       what       Im         saying        that     slight


 14       closure          of    your      right       eye        was       it        like    that       before     this


 15       escape

 16                    A.             Not    fully          the    way          it     is    now.


 17                    Q.             But    to       some       extent

 18                    A.             Yes        sir.


 19                    Q.             Did    you       do       some       TV    interviews              about    the    way

 20       TDC   was        treating         you       as    a    result          of     this      escape

 21                    A.             Yes        I   did.


 22                    Q              Okay.          Did        you get          fired

 23                    A.             I    got       terminated                 yes.


 24                    Q.             You    got      terminated                      Okay.         Why    did they


 25       terminate             you




                            283RD JUDICIAL DISTRICT  COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                  132
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                         Page 136 of 219 PageID 7901



  1            A.        They       didnt      give        me    a       reason.

  2            Q.        They       didnt      give        you       a    reason

  3            A.        No.


  4            Q.        Why    do    you    think         they          terminated         you

  s            A.        I    dont     know.


  6            Q.        Okay.        Well      when        you were             on   TV     you    were

  7   saying   that    basically       TDC    was         trying          to    blame you and the


  8   other guards      for    what    happened             is       that       correct

  9            A.        Right.


 10            Q.        Okay.        Do    you think            thats why             they    terminated


 11   you

 12            A.        I    couldnt        say      if    thats              true   or not.


 13            Q.        Okay.        Well      you        gave          this    voluntary         written


 14   statement      December       13th.      That        would          have been         almost       a


 is   couple   of    weeks    after    it    happened                correct

 16            A.        December          13th       I    think          thats       the    day    it


 17   happened.


 18            Q.        The    day    that     it        happened              Im    sorry.       And


 19   thats    one    that    you    say the         investigator                wrote

 20            A.        Right.        I    gave     him the              story and he wrote                 it.



 21            Q.        All    right.        Then         are       you aware         that    theres              a


 22   typed version

 23            A.        Right.


 24            Q.        Okay.        And    thats          dated          the    next      day.


 25            A.        Right.




                    283RD JUDICIAL DISTRICT COURT 214/653-5863
                       NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                           133
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 137 of 219 PageID 7902



  1                  Q.        Okay.            So    have       you    had an           opportunity          to    go


  2   over      it    again        correct

  3                  A.        The       typed        statement              I     never    saw    it       until    I



  4   came      to    court.


  s                  Q.        Okay.           Thats            not    your        signature       on       the    bottom


  6   of   the       typed    statement

  7                  A.        I    would       have        to    see       it.


  8                  Q.        Ill        show        you what          I    have        marked    as       Defense


  9   Exhibits 40            and    41    and ask           you        first        of    all     does       40    appear

 10   to   be    the       handwritten          statement

 11                  A.        Yes        it    is.


 12                  Q.        Is    that       your        signature

 13                  A.        Yes.


 14                  Q.        Okay.           And     41        does       that     appear       to    be    the


 is   typed      statement

 16                  A.        Yeah.           This        is    the    one        that    they   got        our


 17   personal            belongings           right.


 18                  Q.        And       is    that        your signature

 19                  A.        Yes.


 20                  Q.        And       its         the    very next              day

21                   A.        Right.           I     dont        phonetic                remember          that    one.


22                                        MR.       ASHFORD             Offer        40    and 41       at    this


23    time.


24                                       MR.        DAMORE              No        objection.


25                                        THE       COURT             Defense        Exhibits          40    and    41




                          283RD JUDICIAL DISTRICT COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                  134
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 138 of 219 PageID 7903



      shall    be       admitted.


  2                Q.                  By    Mr.    Ashford            Now         at    this       time you               are


  3   giving       information about                      what    happened              for    Internal           Affairs


  4   as    accurately             as       you    can      correct

  s                A.              Right.


  6                Q.              They       asked       you to       give.accurate                    information


  7                A.              Yes        they       did.


  8                Q.              They       asked       you to       tell        the       important           stuff

  9                A.              Yes        they       did.


 10                Q.              They       wanted       to    know    who        hit       who       and who        yelled


 11   at    who     as    opposed             to    what       color    the        paint       on the           wall       was


 12   in the       electrical                room        right

 13                A.              Yes        sir.


 14                Q.              Okay.           And you speak              to    that       kind       of     stuff           in


 is   your    statement.                    You    talk    about       Rivas        putting             you     in a


 16   bearhug           correct

 17                A.              Yes.


 18                Q.              Okay.           And    so    you    are     telling             the    jury        it     was


 19   just    kind       of    a       short       statement          and he didnt                  ask        much


 20   detail

 21                A.              I    gave       him detail          and he           just       pretty much                  just


 22   wrote.        I    guess          he    broke       it    up     just        put       the    significance                  of


 23   it.     He    didnt really                    go    into    detail           as    I    told       it.


 24                Q.              So    you       are    telling       the        jury when             you     are


 25   explaining          an       event          and you are giving                    lots       of    detail            it




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL  COURT REPORTER
                                                                                                                                          135
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                          Page 139 of 219 PageID 7904



      1   didnt        happen          where           everything          you        say       doesnt        end up           in the


      2   statement

      3                A.              Right.


      4                Q.              Okay.           All     right.            Any particular                   reason            why

      5   you    are    bringing             that        up    that       everything              that       you    said            is


      6   not    in the       statement

      7                A.              No.


      8                Q.              Okay.           Well         you    didnt            say       in    your    statement

      9   that    Randy Halprin                    was      banging        Mr.        Cambers head on                    the


 10       ground        did       you

 11                 A.                 Yes         I   did.         They       didnt            put    it    in    the


 12       statement.


 13                    Q.              They        didnt        put       it     in

 14                 A.                 Right.


 is                 Q.                 Okay.           So     whats        written              here       in either           40        or


 16       41    doesnt        reflect              that

 17                 A.                 No.


 18                 Q.                 Okay.           No.     40    was       given        on    the       13th    and 41               was


 19       given    on       the       14th    of       December            correct

 20                 A.                 The    statement              on the           13th        they       revised           it        for


 21       the    14th.        The       statement             on the           14th         I    didnt        give       it.


 22       They    just       retyped          it       for      I    guess            for       evidence       and       I     just


 23       signed    it.           I   didnt            read    over        it        or anything.              At    the        time


 24       I    didnt        feel       like    reading              over       it.


 25                 Q.                 So    you       just     signed          it




                            283RD JUDICIAL DISTRICT COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                         136
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 140 of 219 PageID 7905



  1                A.           Right.


  2                Q.           Okay.           So    you wouldnt                  have    had opportunity               to


  3   look    at    it    and say             hey      man           this doesnt               say everything

  4   that    I    need    to       say.        This       is    not       detailed enough.


  s                A.           I    didnt           care       at    that        time.        I    wanted    to   get


  6   off    the    prison unit.

                                And the          day before                when     you did the




 --10
  7                Q.


  8   handwritten          deal           I   mean         I    think       actually           as    it    ends    he    Xs


  9   out    the    bottom          to    make       sure


                   A.           Nothing          is    added          to    it.


 11                Q.           --       nothing       is       added        right

 12                A.           No.


 13                Q.           So       certainly             something           could       have       been

 14   correct

 15                A.           Right.


 16                Q.           Are you          aware          that       when     other people             thought


 17   of    other       things           they    had an          opportunity              to       supplement      their


 18   statements          and add other                details

 19                A.           I    was      not     aware          of    that.


 20                Q.           But       thats        not       unreasonable                  correct

 21                A.           No        its        not       unreasonable.


 22                Q.           And what             was       going       on while        you       were    giving

 23   this    information in terms                         of    how       TDC     was    treating          you and

 24   what    they       were       doing       to    you            You    have     got       one     investigation


 25   of    what    did    the       inmates          do okay               and then           I    assume you      are




                         283RD JUDICIAL DISTRICT COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                      137
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                             Page 141 of 219 PageID 7906



  1   also being            asked        what    did you       do    and whats             your     lack       of


  2   responsibility                or    fault       might have          been       in    this     is    that


  3   correct

  4                   A.           Not    to    my recollection.                 I    dont remember them

  5   asking          me   any questions              like    that.


  6                   Q.           Okay.        Well     how    long       after          this    happened          did


  7   they       say you are             terminated

  8                   A.           July    17        2002.


  9                   Q.           Six months


 10                   A.           Or 2001           probably       two    years.


 11                   Q.           Okay.        So    you werent           necessarily             terminated


 12   as    a    result       of    this       event

 13                   A.           No.


 14                   Q.           Okay.        So    when    you are on TV                and you are upset


 15   and you are             saying           were being blamed                 for       this    and    it    was


 16   not       our    fault       or whatever           where       is    that       coming       from

 17                   A.           Anger.


 18                   Q.           Okay.        Well     evidently             though            somebody       had


 19   suggested            that     you might          have    been       to   blame         okay         Who       had



 --21
 20   Superiors

                      A.           Superiors.

 22                   Q.           --    coming       from the       news      or     what

 23                   A.           It    was    superiors.


 24                   Q.           And    fair       enough    to    say nobody             wants    to    be


 25   treated          like    yall        were       treated       that       day        correct




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                       138
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                               Page 142 of 219 PageID 7907



  1                A.           Correct.


  2                Q.           You    were       angry about             that

  3                A.           Yeah.


  4                Q.           Okay.           The    fact       that        you know         it    was    guys


  s   that    hadnt        given       you       any problem before                    might    even       be    worse


  6   than    if    it    was    somebody             that       you knew        was    just    a    bad    apple

  7   right

  8                A.           Yeah.


  9                Q.           Okay.           But    then       you    also got        the    fact       that    you

 10   are    getting       blamed          for    the       deal

 11                A.           Right.


 12                Q.           Okay.           And    every time you come                    down    here       and


 13   testify           you got       to    kind       of    relive        it    again        correct

 14                A.           Yeah.


 15                Q.           Okay.           And    how       many    times have           you    testified


 16   so    far

 17                A.           Four or five                 Im     not       sure.      I    dont really

 18   care    about       this trial.


 19                Q.           Dont really                 care    about        it

 20                A.           Nope        I    want       to    get    it     over with.


 21                Q.           All    right.           Well        you       talked     about       in your


 22   statements           Mr.    Halprin             and Mr.       Garcia        commandeering             or


 23   taking       down    Mr.    Camber              correct

 24                A.           Right.


 25                Q.           But        once       again        you    didnt         put    any    detail       in




                         283RD JUDICIAL DISTRICT  COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                               Page 143 of 219 PageID 139
                                                                                                        7908



  1   there       about       Mr.    Halprin       slamming              Mr.    Cambers head down                          did


  2   you

  3                A.           No.


  4                Q.           Okay.        And       the       first     time       you    started talking


  5   about       that       kind    of    thing       was       when     you    came       up     and you


  6   started       testifying              is    that       correct

  7               A.            Right        for       the       Rivas     trial.


  8                Q.           Okay.        Now        in Mr.           Garcias           trial        when        you


  9   have    a    lawyer       here       and lawyer             here     and Mr.          Garcia        sitting


 10   there        you       said    it    was    Mr.       Garcia        that    was       slamming


 11   Mr.    Cambers head down                    on the pavement                     is    that        correct

 12               A.            Yes        thats        what       they        asked       about.


 13                Q.           But       what    do    you mean           thats           what     they           asked


 14   about

 15               A.            They       asked       me    if    Garcia was              the     one    that        was


 16   slamming          him and       I    said yes.              They     didnt           ask     me    if        Halprin

 17   was.


 18                Q.           Do    you    remember             exactly        what       the     sequence              of


 19   questions          was

20                A.            No.


21                 Q.           Okay.        Would          it    refresh your              memory            if    you    had


22    a   chance        to    look    at    the    questions

23                A.            Yeah.


24                Q.            The       question          is     Tell         the    jury what

25    happened               correct




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                            140
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                     Page 144 of 219 PageID 7909



  1             A.           Right.


  2             Q.           Okay.        And    then    you go       into    a    narrative


  3   describing       what       happened        correct

  4             A.           Right.


  s             Q.           Okay.        Whats        the    last    thing       you    say    there

  6             A.           It    says     I     saw    Garcia       slamming          Mr.    Cambers

  7   head    into    the    ground.

  8             Q.           The    last    word

  9             A.           While.


 10             Q.           I     saw    Mr.    Garcia       slamming       Mr.       Cambers head

 11   into    the    ground       while    --     correct

 12             A.           Yes.


 13             Q.           You    stop    right       in    the    middle       of    your    question

 14   apparently        correct

 15             A.           Correct.


 16             Q.           It    says     Was        that    Halprin             That       was   the


 17   question       asked    to    you

 18             A.           Yes.


 19             Q.           Whats        your    answer

 20             A.           No.         That    was    Garcia.        Halprin          was    holding

 21   Mr.    Camber down          while    Garcia       was    on top    of       him.

 22             Q.           Okay.        Then    the    question       was        Well         they      were


 23   both    over    there

 24             A.           Yes.


 25             Q.           Okay.        All    right.       Now      Mr.    Garcias           lawyer




                     283RD JUDICIAL DISTRICT  COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                    141
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                           Page 145 of 219 PageID 7910



      checked       you on        that       correct

  2                A.           Yeah.


  3                Q.           He    said        well        you know           in another           trial      you


  4   said    it    was     Mr.      Halprin

  s                A.           It    was    both       of    them.


  6                Q.           Well        the    question          was    and he        checked         you    in


  7   another       trial       and you       said that          was       Mr.    Halprin           correct

  8                A.           Correct.


  9                Q.           And    apparently             in that       trial        you    kind      of    told


 10   the    story       just     like      that        but    you made          the     person       slamming


 11   the    head       exclusively          Mr.    Halprin           correct

 12                A.           Right.


 13                Q.           Okay.        But    right       there       in     the    Garcia         trial

 14   you    said        no     Mr.    Halprin          was    holding       him down           and it         was


 15   Garcia       slamming          the    head    down        right

 16                A.           Until       Garcia       started       tying          him.


 17                Q.           And    when       the    lawyer       checked          you     on   it        thats

 18   when    you       came up       with    the       version       that       it    was     both      of    them

 19                A.           It    was    both of          them    from the           start.


 20                Q.           All    right.           You    didnt        say that           in your


 21   statements            though           Correct

 22                A.           Right.


 23                Q.           Okay.        You    were       testifying under                 oath in the


 24   Rivas    trial

 25                A.           Right.




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                     142
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 146 of 219 PageID 7911



      1             Q.           Correct

      2             A.           Right.


      3             Q.           You    were       testifying under                    oath     in the    Garcia


      4   trial

      s             A.           Right.


      6             Q.           Okay.        You    said a          lot     of       theys.      They    did


      7   this     they    did       that.     Let       me    just        ask    you      go    ahead    and      tell


      8   us    specifically          what    you remember                Mr.     Halprin        doing

      9             A.           He    was    holding Mr.             Camber while offender


 io       Garcia was       slamming          his    head.           Then     when       Garcia went          to    tie


 ii       Mr.    Camber        the    roles changed.                 Halprin           held     his   head    while


 12       he    slammed    it    and at       that       time       when     Mr.       Camber was        then


 13       subdued    at    that       time    he    was       in    full     control            offender      Garcia


 14       then went       to    help    the    other offenders                    hold     me    down.


 Is                 Q.           Was    Mr.    Cambers head                  hooded        at    that    time

 16                 A.           No.


 17                 Q.           Okay.        So    he    could       see        what     was    going on         with


 18       him

 19                 A.           No     his    glasses             were    off.


 20                 Q.           His glasses             were       off.         He    knows     these    inmates


 21       just    like    you    knew       them

22                  A.           I    would    think          so.


23                  Q.           He    knows       their voices


24                  A.           I    wouldnt        know          about     that.


25                  Q.           Is    he    here    today




                         283RD JUDICIAL DISTRICT  COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                         143
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                Page 147 of 219 PageID 7912



  1              A.         Yes        he       is.



  2              Q.         Okay.           You       said       youre back                 in the       electrical


  3   room and you         are    back          there preparing                   the       weapons.         You    are


  4   talking     about     fighting             because          you       think       they       are     going    to


  s   come   back       in and    kill          you

  6              A.         They       were       trying          to    come       back       in    and kill        us.


  7              Q.         How    do       you know             that

  8              A.         Because             they       tried to open                the       door and had


  9   shanks     in their        hands           saying           Were            going       to    kill     you    if



 10   we   get   in.

 11              Q.         Okay.           Who       is    saying          that

 12              A.         It    was       a    matter          of    --    I    couldnt           pick     for    sure


 13   exactly     who     was    saying          it        but    there was             a    few    out     there


 14   saying     it.


 is              Q.         Okay.           You       work with             these       guys.        You     know


 16   their voices


 17              A.         I    worked          with       them       for       about       five    months.         I



 18   wouldnt          say that    I     knew         them personally.


 19              Q.         Did    it       make       much       sense          that       they    would     take


 20   everybody        down      tie     them         up     put       them       back       in    the     electric


 21   room alive          and    then go          back       in       there       and kill          them

 22              A.         Not    really.


 23              Q.         No.        Some       shanks          were       used       to    actually        get


 24   people     bound     and    get       them       under          control       to       get    them     tied up


 25   and get     them     back    there           in the         room           correct




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                          144
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 148 of 219 PageID 7913



      1               A.          Right.


      2               Q.          So    clearly if               they       wanted       to    kill       anybody

      3   they    could      have      killed          them      and threw          the       bodies       back    in    the


  4       electrical         room

      5               A.          Right.


  6                   Q.          Okay.           Now          Mr.    Garcia was          the    one       making       most


  7       of    the   threats         with       the       shank       is    that    correct

  8                   A.          I    dont           --   I    dont remember hearing                       him.




 --11
  9                   Q.          Okay.           You      dont remember                 the    one       pound    of


 10       pressure         and two      pounds

                      A.          Yes.           He    had      the    ice    pick.


 12                   Q.          Okay.           You      didnt hear              Mr.    Halprin make             any

 13       threat      like    that

 14                   A.          Not       that       I   know       of.


 is                   Q.          You       didnt          see       any weapon          in Mr.       Halprins

 16       hand

 17                   A.          No        I    didnt.

 18                   Q.          Okay.           Did      you       ever    see    him with          a    mop

 19                   A.          No.


 20                   Q.          Okay.           Did      you       ever    see    him standing             back       away

 21       from everybody              like       he    was      looking       out

 22                   A.          No.


 23                   Q.          Were          you    ever asked            to    participate               Were       you

 24       ever    asked      to   do    a       form like            this    that    asked       you to       explain

 25       the    characteristics                 of    the      inmates




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                               145
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                            Page 149 of 219 PageID 7914



  1               A.        No     I    didnt.

  2               Q.        Okay.        Were    you    ever        asked       that     type     of


  3   information

  4               A.        No.


  s               Q.        Nobody       ever    asked     you          who    you   thought       the


  6   leader was         and who       you    thought     was       the       smartest      and who          you

  7   thought      was    the   weakest

  8               A.        No.


  9               Q.        Okay.        Did    there     appear          to    be   a   leader there


 10               A.        Yes.


 11               Q.        Who    was       that

 12               A.        Rivas.


 13               Q.        Did    there       appear     to       be    an    enforcer      type       of    guy

 14   who   was    being    the    toughest         and    you          know      making     all       the


 15   threats

 16               A.        They       were    pretty     much          all    the   same    to    me.


 17                                    MR.    ASHFORD          I    pass       the   witness.


 18                                    MR.    DAMORE           We       have    no   further


 19   questions.

 20                                    THE    COURT       Thank          you      sir.      You may


 21   stand down.

 22                                    MR.    DAMORE           May he be             excused

 23                                    MR.    ASHFORD          No       objections.

 24                                    THE    COURT       He       may.


 25                                    MR.    DAMORE           Call       Mr.     Camber.




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                146
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                           Page 150 of 219 PageID 7915



  1                                                ALLEN       CAMBER

  2   having     been   duly       sworn           was       examined and          testified      as


  3   follows

  4                                          DIRECT          EXAMINATION


  5   BY MR.     DAMORE

  6              Q.          Would          you    state       your       name     please.


  7              A.          Allen          Camber.


  8              Q.          Mr.       Camber           where       do    you work       currently

  9              A.          I    work       at    the       Connally Unit          in   Kenedy        Texas.


 10              Q.          How       long       have       you worked       there

 11              A.          It    is       93    months       as    of    today.


 12              Q.          And tell             the    jury what          type    of   work you       do


 13   there

 14              A.          Im        working          in    the    maintenance         department          and


 1s   I   take   care   of       all    the       heating           ventilation          and air


 16   conditioning       equipment                on    the    unit.


 17              Q.          And       in    doing that             you    have    inmates that         work


 18   with   you

 19              A.          Yes        sir        I    do.


 20              Q.          And direct                your    attention          back   to    December       of


 21   2000   and ask     you       did you have                some       inmates you were


 22   supervising       at       that       time

 23              A.          Yes        I    did.


 24              Q.          And were             any    of    these       people    the      inmates that


 25   escaped     on the         13th       of    December          that    day




                      283RD JUDICIAL DISTRICT COURT 214/653-5863
                         NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                        147
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 151 of 219 PageID 7916



  i                   A.           No     they werent.

  2                   Q.           Did    you know             those       seven    people       or    any of      them


  3   that       escaped

  4                   A.           Yes        I    did.


  s                   Q.           And    how many             of    them did you          know

  6                   A.           I    knew       all       seven    of    them.


  7                   Q.           Had you ever                supervised          any    of    those      seven

  8                   A.           No     I       hadnt.

  9                   Q.           How    do       you know          them or have          contact         with


 10   them

 11                   A.           Most       of    them       worked       inside       the    office      and


 12   warehouse             and just              you    know        daily       contact        you    know       just


 13   by getting             parts       and everything                   like    that     or    tools      thats

 14   how    I    had contact             with          them.


 is                   Q.           So    you       had contact             with    them    for    a    period      of


 16   time       up    to    the       escape

 17                   A.           Yes.


 18                   Q.           Included             in    that    group       was    someone       by the     name


 19   of    Randy          Halprin.           Did       you know          him

 20                   A.           Yes.


 21                   Q.           Do    you       see       him in the          court    today

 22                   A.           Yes        I    do.


 23                   Q.           Would          you    identify          him     please.


 24                   A.           Hes        at    the      end     of    the    table.


 25                   Q.           All    right.             What     time did          you get       to   work   on




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                      148
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                           Page 152 of 219 PageID 7917



  1   the    13th       of    December                 that       day

  2                A.               It       was       shortly             --    about       630        in the       morning          or


  3   SO.


  4                Q.               Was       that          your normal                time       to    start

  s                A.               Yes       645               something             like       that.


  6                Q.               What          time did you                   normally          leave

  7                A.               For       lunch              about          almost       1125        or something


  8   like    that       when           we    left          for       lunch.


  9                Q.               Where          did you go                   for    lunch       that       day

 10               A.                We       went          to    the       officers              dining       room.


 11                Q.              And        after             lunch          where       did you       go

 12               A.               Myself              and Officer                   Marroquin went                back    to    the


 13   maintenance             shop.


 14                Q.               What          were          you going             to    do    there

 1s               A.                I    was       going          to       go through             paperwork          and        you

 16   know        just       get        all       my stuff             in       line       for    the    afternoon          job.


 17                Q.              And        when          you       --       did you go back                to    the    office


 18   there

 19               A.                Yes.




 --25
 20                Q.              And as              you were                in the       office       doing your


 21   paperwork              tell        the       jury what                   happened.


 22               A.               Well            I       was    inside             and Officer             Marroquin was


 23   in    there        too            and all             of    a    sudden          Murphy           he    walked       up    and


 24   he    asked       me    about           a    part          for       a    vacuum       cleaner          and    I    said


      he    was    showing              me    in       a    book       and       I    said        yes        that    looks       like




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                149
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 153 of 219 PageID 7918



  1   the    part       and all          of       a    sudden       they       started attacking                      myself


  2   and    Marroquin             at    the          same    time.


  3                Q.              How    many          people          were    in       the       office       doing that


  4   Do you       recall          roughly

  s                A.              It    was          approximately five                      to    six of          them.


  6                Q.              All    right.              And       what    happened                to   yourself

  7   What    did they             do    to       you    first

  8                A.              Well           they grabbed             me       and       they       threw me down


  9   to    the    ground          and        you know              they       started             --    they       were


 10   holding me             down       and they             removed       my        you       know           shirt        my


 11   pants       and       they       tied my hands                and my feet.


 12                Q.              Were       you       struggling             at    first

 13                A.              Yes        I       was.


 14                Q.              And how were                 you      struggling

 15                A.              I    was       trying         you      know           to    get       away        you    know.


 16                Q.              All    right.              Could       you       see       officer          Marroquin

 17   Was    he    being          attacked              also

 18                A.              Yes.           At    first       I    did.        But       then          they    threw me


 19   down    and       I    couldnt              really see             anything             after          that.


 20                Q.              As they             throw you down                on the             ground        you       are


 21   struggling             at    that       point.            Did      they       do    something             with       your

 22   head

 23                A.              Yes.           Someone        went      and they were                      grabbing          my


 24   head    and they             were       just       banging          it        you       know           real    hard


 25   against       the       concrete                 just     one      after       the       other.




                        283RD JUDICIAL DISTRICTCOURT   214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                150
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 154 of 219 PageID 7919



     1                Q.        Could          you        tell    who       was       doing       that       to    yourself

     2                A.        Not    at           the    time.        I    could          not    tell       because        my

     3   head    was       facing    and        I    was    facing          straight             towards          the


  4      concrete.


  s                   Q.        How    many           times do          you       think          your head          was


  6      smashed       into    the    ground

  7                   A.        At    least           eight       to    ten       times.


  8                   Q.        Did    you           eventually             stop       struggling

  9                   A.        Yes        I        did.


 10                   Q.        Did    anybody              say anything                to       you

 11                   A.        Yes        it        was    Garcia.              He    pointed          a    shank      in my


 12      ear    and he       said      Its            one    pound          of    pressure now                    two   to


 13      three more pounds             and you              will       be    dead.

 14                   Q.        Could          you        feel    the       shank       at       your       head




 --19
 15                   A.        Yes.


 16                   Q.        It    actually              touched          your       skin

 17                   A.        Yes.


 18                   Q.        And    did you              stop       struggling

                      A.        Yes        I        did.


20                    Q.        --    when           he    said    that               All    right.          Where        did

21       they    --
                       you    said    they           took    your       clothes             off

22                    A.        Yes.


23                    Q.        And    did           they    take       you       somewhere

24                    A.        Yes.           They        took    me       to    the       --    its       the


25       electrical          room.




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                               151
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 155 of 219 PageID 7920



  1                Q.          And       did they            have          you       tied up when        they      took


  2   you    there

  3                A.             Yes.


  4                Q.          And       how      did they             do       that

  s                A.             They      hog-tied             me.        They       just     tied me      from


  6   behind       and       you      know        tied my legs                   up.


  7                Q.             Now       were       you       in.some pain                 after what      they      had


  8   done    to    your      head

  9                A.             Yes.


 10                Q.             When      you     got      put       into          the     electrical      room at


 11   some    point          did they          do      anything             else       with     you

 12                A.             Yes.       They       threw me                --    when     they    got   me    to   the


 13   electrical             room      they       threw me             head          first     into the      conduits.


 14                Q.             Had they          put      a    hood          or anything           over   your

 15   head

 16                A.             Yes.       They       did do             it    after that.            Right      before


 17   they    got       me   in       there       they       put       a    hood       over     my head.

 18                Q.          And did they                  place          anything           in your       mouth

 19                A.             Yes.       They       put       a    gag       in    my mouth.

 20                Q.          When         they put             the       hood       over     your    eyes       could


 21   you    see    anything           at    all

 22                A.             I   could       see     very         little.


 23                Q.          And how            was     that

 24                A.             Because         it    wasnt              quite       over my eyes          all    the


 25   way.




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                    152
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                           Page 156 of 219 PageID 7921



  1             Q.        All    right.           Were          there    other people                in that


  2   electrical       room when          you    got       in    there

  3             A.        Yes.        Mr.       Moczygemba             was    in    there.


  4             Q.        And did the             other person                in the       office       come    in


  5   with   you      also      Marroquin

  6             A.        Yes       they brought                 both    of    us    in


  7   simultaneously.

  8             Q.        After       that        were          there    a    series       of    other


  9   people    brought      into     that       room

 10             A.        Yes.


 11             Q.        And were          there          --    was    there anything                being

 12   said as these       other       people          were       brought       in    there

 13            A.         Yes.        Rodriguez             stated       one       thing    that        you

 14   know     that    there would          be    a    little          lady showing             up    that


 15   dont worry about           it        that       hes        not    in    for     you       know        sexual


 16   offender       or whatever.           Hes        just       in    for     you       know        murder.


 17   They   wont      harm her.


 18             Q.        All    right.           Did       any females get                put       into    that


 19   room

 20            A.         No.


 21            Q.         Were      there        any other             threats       that       you    recall

 22            A.         Yes.        I    heard       one       thing       about    that       Rodriguez

 23   also said that         when     he    was       in    overseas          in war       that       they    took


 24   ears   for     souvenirs.


 25            Q.         Did    you know             whether          that    was    true       or    not




                     283RD JUDICIAL DISTRICT  COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                         153
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                 Page 157 of 219 PageID 7922



  1                A.           Yes     I    do.        I    did hear this.


  2                Q.           You    heard       him say          that

  3                A.           Yes.


                   Q.           But    whether          or not       he       was       in    the    war    and cut




  --6
  4




  5   an ear off

                   A.           No.     I    didnt know              if       he    did that          or not.


  7                Q.           But    you    took          the   threats           seriously

  8                A.           Yes.


  9                Q.           As    did     apparently                 everyone             else    in that


 10   room

 11                A.           Yes.


 12                Q.           At    some    point          were    some          of    the       people    in there


 13   able    to    get    free

 14                A.           Yes.


 15                Q.           And what          happened          at    that          point

 16                A.           Well        they       --    when    we       started             getting    free        I



 17   guess       they    heard       the    commotion             inside          the       room because          they

 18   had    it    --    closed       the    door and             they    tried getting                in on       us.


 19                Q.           And what          had you          and the          other hostages             done


 20   at    that    point       to    protect          yourselves

 21                A.           We    started           you know              we    were          breaking

 22   conduits          loose    off    the       wall        you know              so       we    could    have    some


 23   sort    of    weapon       and also          I    went       and    I    triggered the                fire


 24   alarm in the          building.

 25                Q.           Where       was    that       located




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                           154
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 158 of 219 PageID 7923



  1                   A.          Inside          that     electrical             room.


  2                   Q.         And did anyone                  respond           to    that

  3                   A.         Not       right        away      no        sir.


  4                   Q.         At     some       point        did one       of        the    escapees          try    to


  5   come    back          in   that      room

  6                   A.         Yes.         Thats when               we    start        breaking          loose       and


  7   it    was       Newbury.          He    tried coming              in.



  8                   Q.         And was           the     door    jammed

  9                   A.         Yes.


 10                   Q.         And was           he     able    to    come        through          fully

 11                   A.         No.


 12                   Q.         Did       the     inmates in that                  room help             keep    --    try

 13   to    keep       that      door closed


 14                   A.         Yes         they       did.


 15                   Q.         As well           as     the    maintenance              workers          and some          of


 16   the    guards

 17                   A.         Yes.


 18                   Q.         You       were      in there          for    a     period          of    time    before


 19   a    team       was    able     to     get     you    and the          other        hostages          out        is


 20   that    correct

 21                   A.         Yes         sir.


 22                   Q.         What        injuries did you                 have        as    a    result       of    that


 23   day

 24                   A.          I   had     a     lot    of    bruises           and    lacerations             and my


 25   eyes        I    had a hemorrhaging                   inside          my eyes           that       caused    my




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                        155
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                               Page 159 of 219 PageID 7924



  1   eyes     to    turn red.


  2                 Q.          Did    you      ever     get    any of           your property          back


  3   that    was        taken

  4                 A.          No      sir.


  s                 Q.          What     type      of    things          were     taken    from you         that


  6   day

  7                 A.          My    clothes           my boots           my wallet            with    money

  8   there     it        keys.


  9                 Q.          Identification                cards

 10                 A.          Yes      identification.


 11                 Q.          All    right.           And    you       still    work     in    that    same


 12   unit      is       that   right

 13                 A.          Yes.


 14                 Q.          Thank     you        sir.


 15                                     MR.     DAMORE               I    pass the        witness.


 16                                            CROSS-EXAMINATION


 17   BY MR.        ASHFORD

 18                 Q.          Mr.    Camber           you    still       work     there       at   that   unit

 19                 A.          Yes      sir.


 20                 Q.          And you        and Mr.         Marroquin            yall were actually

 21   corrections           officers

 22                 A.          No.     He     was      the    correction           officer.           Im    in


 23   the    maintenance             department.

 24                 Q.          Okay.        You     and Mr.         Moczygemba           are    maintenance


 25   worker        civilians




                         283RD JUDICIAL DISTRICT COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                156
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                           Page 160 of 219 PageID 7925



  1             A.         Yes.


  2             Q.         He     told us       he    had    a       title     of   maintenance              paint


  3   supervisor       but      then he was           also       a    corrections             officer

  4             A.         Yes.


  5             Q.         Is     that    kind       of    the       way     they   do   it

  6             A.         Yes.


  7             Q.         The     correction             officer          still    is   over       a   certain


  8   department      or   whatever

  9             A.         Yes.


 10             Q.         You     gave    a    statement             to     Internal         Affairs        about


 11   what    happened       is    that    correct

 12             A.         Yes.


 13             Q.         About        three    typed pages                 long   and signed


 14             A.         Yes.


 15             Q.         Do     you    recall       that

 16             A.         Yes.


 17             Q.         Are     there any more                that        you are      aware         of     Any


 18   that    were   handwritten          before          they       typed     it   out         Any


 19   supplements      that       they    asked       you    to       do     after or anything                like


 20   that

 21             A.         Not     that    Im        aware       of.


 22             Q.         Okay.         And you told                everything          as    best     you


 23   could    remember correct

 24             A.         Yes.


 25             Q.         Okay.         And you          have       also testified             a   few




                     283RD JUDICIAL DISTRICT  COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                               157
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 161 of 219 PageID 7926



     1   times correct

     2                A.              Yes        sir.


     3                Q.              Okay.           Now.        If     Mr.    Marroquin           was        to    say you


     4   couldnt           see     because            you       lost     your glasses               would           that    be          a




     --8
     5   fair    characterization

     6                A.              You       --    what       do.    you    mean     I    couldnt                see    what

     7   was    going       on there or


                      Q.              Well           if    he    implied that           your        vision           without

     9   your glasses              was         not    very       good         would    that        be    correct           or


 10      would     that       be      incorrect

 11                   A.              I       have    20/60       vision        without       my glasses                   so       I



 12      can    still       see       fairly          good.


 13                   Q.              Okay.           So    the        only    time    you wouldnt                   have       been


 14      able    to     see      is       when       you actually              had    that    hood        over your

 is      head     correct

 16                   A.              When       I    wasnt            able    to    see       I    saw        --
                                                                                                                     yes        I



 17      could    see      when           I    had the          hood     over       my head.

 18                   Q.              You       could       see    when        you had       the        hood        over    your

 19      head

 20                   A.              Yes.


 21                   Q.              Now        at       some    point        you    testified           that        you       got


 22      hit    from behind pretty hard and you were                                         asked        if        you    lost


23       consciousness                and you             said no        not    at    that    time         correct

24                 A.                 Yes.


25                    Q.              And at          that       point        you were       wrestled               down    to




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                158
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                           Page 162 of 219 PageID 7927



      the    ground

  2                A.           Yes.


  3                Q.           Okay.        Did    you    see    what       was    going    on at       that


  4   time

  s                A.           I    did not.        I    could       not    see    what    was    going       on

  6   because       my head          --    they were       forcing          my head       into    the    floor.


  7                Q.           Okay.        So    you    had the       --
                                                                              you had your vision

  8   it    was    just       because       your    head    was       going       down    in the    floor


  9   that    you       could       not    see

 10                A.           Yes.




 --16
 11                Q.           Okay.        You    could       hear

 12                A.           Yes.


 13                Q.           And you could             feel

 14                A.           Yes.


 is                Q.           All       right.     And    at    the       time that       you were

      had your head             pushed       down    into       the    ground        what    did you


 17   feel         You    feel       somebody       with    your       arms somebody              straddling

 18   your    back

 19                A.           Yes        they were       on top       of    me     just    trying       to


 20   hold    me    down.


 21                Q.           Okay.        Im     asking       you    as    specifically          as   you

 22   can    get        you    know        was    there    one    person          like    maybe

 23   straddling          your       back        laying    on your back              sitting       across

 24   your back          and another             person    in front          of    you     holding your


 25   arms   or specifically                 as    you    can    remember          what    was    happening




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                          159
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                 Page 163 of 219 PageID 7928



  1             A.              They    had me          in back          and       there was       someone       they

  2   had    their knees             or whatever          right          in the       back       and    actually

  3   caused    me    --    I    couldnt           even    breath             when    they       were    doing

  4   that.     They       were       actually          holding          me    down       real    hard.


  5             Q.              You    felt       one    knee

  6             A.              It    felt       like    two        but       it    was     you    know        two


  7   knees    and    someone          else       had me cross                the    legs        too.     They

  8   were    holding       my legs.

  9             Q.              Across       the    legs       --    okay.           So    on    the    back    of


 10   your    legs

11              A.              Yes.


12              Q.              Okay.        And when          you       say       they pushed          your    head


13    down     is    that       when    you mean          they       were          pushing your          head    down


14



--15           A.               Yes.


16              Q.              --    the    seven       or eight             times

17             A.               Eight       to    ten    times       at       least.


18              Q.              And you          basically          testified             before       that    they




--23
19    pushed   your head              down       and all       of    a    sudden          Garcia       stuck    the


20    shank    in your          ear

21             A.               Yes.


22             Q.               Like    that       happened          right          after

               A.               Yes.


24             Q.               --    your       head    got    banged             down

25             A.               Yes     after       he    banged          my head.




                     283RD JUDICIAL DISTRICT COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                       160
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 164 of 219 PageID 7929



  1             Q.           And       right          after your head                  got       banged    down    the


  2   shank    was    in your          ear

  3             A.           Yes.


  4             Q.           Okay.              Which       is    on the            side    of    your    head

  5             A.           Yes.


  6             Q.           Okay.              And    you       clearly recognize                  Garcias

  7   voice

  8             A.           Yes.


  9             Q.           Okay.              And    hes        the         one    that    made    that    comment


 10   that     One pound              of       pressure          now and two               or three       more and


 11   you   will     be    dead

 12             A.           Yes.


 13             Q.           Okay.              You    recognized               that       voice

 14             A.           Yes           I    recognized              it.



 15             Q.           Did you                recognize           Mr.     Halprins voice              at   any

 16   time

 17             A.           No        I       did not.


 18             Q.           Okay.              Now     when       you         say    that        do you mean he


 19   might    have       said       something          and you               didnt        hear it       clearly or

 20



 --21           A.           Yes.              He    might       have         said something.              You   know

 22   its     just    that       I   did not           hear       it.



 23             Q.           Okay.              But    he    made        no     threat       to    you    that   you

 24   can   recall

 25            A.            No.




                     283RD JUDICIAL DISTRICT COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                161
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                       Page 165 of 219 PageID 7930



  1             Q.         No    threat        that   you     have       ever    testified         about

  2   No

  3             A.         No.


  4             Q.         And    no    threat        that   you        ever    put    in your


  5   statement

  6             A.         Yes.


  7                                MR.    ASHFORD             Ill       pass     the    witness.


  8                                    REDIRECT        EXAMINATION


  9   BY MR.    DAMORE

 10             Q.         But    theres         no    doubt       your head          was   slammed


 11   into    that   floor several             times

 12             A.         Yes.


 13             Q.         Although       you didnt               see    who    did    it    did you


 14   ever    talk   to   Mr.    Marroquin        about      what        he    saw

 is             A.         Yes     I    did.


 16             Q.         Did    he    tell     you who          he    saw do    it

 17             A.         Yes     he    did.


 18             Q.         And did he           say he       saw Halprin          do    that       Mr.


 19   Halprin

 20             A.         Yes.


 21             Q.         As well       as    Mr.     Garcia

 22             A.         Yes.


 23                                MR.    DAMORE              I    believe       thats       all    I




 24   have.


 25                                     RECROSS        EXAMINATION




                     283RD JUDICIAL DISTRICT  COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                    162
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 166 of 219 PageID 7931



  i   BY MR.         ASHFORD

  2                   Q.         Well           did he          tell    you          he    saw       Halprin          do   it   or


  3   did he          tell     you    he    saw       Garcia do             it

  4                  A.          He    said he             seen    both          of       them.           Thats        what     he


  s   told me.


  6                   Q.         But       it     felt      like       to       you       --    I    mean        it    wasnt

  7   1 2 3 4                  switch       positions              a    couple             of       seconds       later         1

  8   2 3 4                somebody pushed                 your head             down          seven       or    eight       times


  9   in    a    row         correct

 10                  A.          Yes        at       least       eight          to    ten.           But        you    know         it



 11   was       at    least     eight       to       ten    times       that          they          pushed       it    down.


 12                  Q.          Immediately                after that                Garcia          has       got    the


 13   shank          in your     ear

 14                  A.          Yes.


 15                  Q.          Okay.           And       is    that       the       way       Mr.       Marroquin

 16   described              seeing    it       to    you

 17                  A.          He    just          said       that    they          were          both        you    know

 18   pounding             my head     down.           Thats           what          he    told me.


 19                  Q.          Okay.


 20                                         MR.      ASHFORD                Ill           pass       the    witness.


 21                                         MR.       DAMORE                I    have          no    further


22    questions.

23                                          THE       COURT            Thank          you           Mr.    Camber.


24                                          MR.       DAMORE                May       he       be    excused           also

25                                          MR.      ASHFORD                No       objections                 Your Honor.




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                   163
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                          Page 167 of 219 PageID 7932



  1                                    THE       COURT         He    may.       Members of          the    jury

  2   its     noon.     I   have       a    few       other matters to               take    care    of.        I




  3   need    about    130.        Go with            the     Sheriff.


  4                                               Recess

  5                                    THE       COURT         Thank       you       you may    be       seated.


  6   Mr.    Shook     call     your        next      witness.


  7                                    MR.       DAMORE             Call    Mark      Burgess.


  8                                              MARK    BURGESS

  9   having    been    duly      sworn           was    examined          and testified            as


 10   follows

 11                                         DIRECT       EXAMINATION


 12   BY MR.    DAMORE

 13             Q.          Would          you    state       your name          please.


 14             A.          Mark       Burgess.


 15             Q.          And        Mr.       Burgess          how old a man are             you

 16             A.          Im     45.


 17             Q.          Back       in December             of    the    year      2000     were       you

 18   working    at    that     time

 19             A.          Yes        sir        I   was.


 20             Q.          Would          you    tell      the     jury where         you were

 21   working.


 22             A.          I   was        working       at    the    John      B.    Connally       Unit

 23   Texas    Department         of       Criminal Justice                in   the    maintenance


 24   department       as   a   carpenter/painter                    supervisor.

 25             Q.          How    long          had you worked             in that         maintenance




                      283RD JUDICIAL DISTRICT COURT 214/653-5863
                         NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                  164
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                         Page 168 of 219 PageID 7933



      1   department           in that    capacity

      2               A.          Approximately two              years.


      3               Q.          And    did you        supervise       some    inmates as part            of


      4   your    responsibility            there       in the    maintenance          department

      s               A.          Yes     sir      I    did.


      6               Q.          And    for     what    purpose         What    did they       do   for


      7   you

      8               A.          They    did various           carpentry       jobs    that    were    sent


      9   to    the   shop     and maintenance            jobs    in the       buildings       and


 10       painting.

 11                   Q.          The    seven     people       who    escaped    on    December       13th


 12       of    the   year     2000      did you know           any of    those    seven       people

 13                   A.          Yes     sir      I    knew    them    all.


 14                   Q.         And     did you ever           have    direct    supervision          over

 15       any of      those     seven     people

 16                   A.         Yes      all     but    one.


 17                   Q.         Which     one     did you       not    supervise

 18                   A.         That     would        have    been    Rodriguez.


 19                   Q.         Michael         Rodriguez

 20                   A.         Yes      sir.


 21                   Q.         The     other     six at       some    point    you    supervised

 22       within      your     work     responsibility

 23                   A.         No      sir.      But    in the       shop     generally        I   could

 24       you    know      I   had day-to-day            dealings       with    them.


 25                   Q.         So     they    worked        in that    maintenance       department




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                        165
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                               Page 169 of 219 PageID 7934



  i   then

  2               A.          Yes        sir.


  3               Q.          About          how long             had you known          those      people

  4               A.          Ever       since          I    went    to    the    maintenance           shop.


  s               Q.          All       right.              And    about       when    had   --   you     been         in


  6   there   for      how    long       in    the          maintenance          department

  7               A.          About          two    years.


  8               Q.          And one          of       them       by the       name of      Randy      Halprin

  9               A.          Yes        sir.


 10               Q.          Do       you    see       him in the             courtroom today


 11               A.          Yes        sir        I       do.


 12               Q.          Would          you    identify where                he    is    please.


 13               A.          Hes        the       man sitting             at    the    end of      the      table


 14   right   there.


 15               Q.          All       right.              Going    to    December          13   2000           did


 16   you go to        work       in    the    morning hours

 17               A.          Yes        sir        I       did.


 18               Q.          What       were       you doing             in    the    morning

 19               A.          I    had just             come       back    from vacation            and      I    was

 20   doing   a    lot   of       clerical          work           catching       up    on paperwork

21    helping      Mr.   Moczygemba                do       some    errands       around      the    unit.


22                Q.          Had you been                   in    the    maintenance         office         that


23    morning

24                A.          Yes        sir        I       had.


25                Q.          Up       on the       screen           State       Exhibit      530       is       that       a




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                        166
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                Page 170 of 219 PageID 7935



  1   photograph          showing         the       entrance       to       the    maintenance


  2   department          office

  3                A.          Yes        sir.


  4                Q.          Okay.           So    behind       that       door       would    be    where       the


  5   office       and the         desks       were        is    that       correct

  6                A.          Thats           correct.


  7                Q.          And then             theres        another          door that          leads       you


  8   to   the     back    warehouse            area

  9                A.          Yes        sir.


 10                Q.          What       time       did something                start    with       you       that


 11   lead    to    your involvement                     in being       a    hostage

 12                A.          I    came       back       from lunch          at    approximately                1200

 13   somewhere         around          there.           And when       I    entered       the    room           thats

 14   basically         when       it    all     started         for    me.


 15                Q.          Do       you    recall       who    you       saw    in    the    room when             you

 16   came    in    about      that       time

 17                A.          Yes        sir        I    do.


 is                Q.          Who       was    that

 19                A.          Offender             Halprin       and George             Rivas    and Murphy


 20   Patrick       Murphy.

 21                Q.          And when             you went       into       the       office    and saw


 22   those      people     there             did any       of    them       say    anything          to    you

 23                A.          Yes        sir.           George    Rivas          was    standing          at    the


 24   door    by    the    warehouse            and he          told me that             Mr.    Moczygemba             was


 25   in the       warehouse            and wanted          to    see       me.




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                               167
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                      Page 171 of 219 PageID 7936



  1                Q.              All       right.             What       did you       do       then

  2                A.              I    went          into      the    warehouse             door and at                that


  3   time offender                Halprin             had gone            in    about       the       same       time        I    did




  --9
  4   and thats              when       I    noticed             you       know        something             was    going on.


  s                Q.              Did you             get      through          the    door to          the       warehouse


  6   area

  7                A.              Sir

  8                Q.              Did       you       actually            get    through

                   A.              Yes           sir       I    did.


 10                Q.              What          happened            inside       the    warehouse                area

 11                A.              When          I   was       got    there        I    was       standing          there and


 12   I    noticed          the    lights were                  out    in the          warehouse             where       the


 13   shelves          were       and where             we      keep       the    parts          supplies.              And


 14   offender          Halprin             was       kneeling         in front          of       me    to    the       side           and


 15   he    had    a    box with             a       motor      in it       and he was                trying       to    get           my

 16   attention.              He       says           Check          this       motor    out            or take          a        look


 17   at    this       --    look       at       this      motor.           And there was                an       electric


 18   motor       in the          box.


 19                Q.              Was       there anybody else                        near him at                that       time

 20                A.              At       that       time          not    in    front          of    us     no        sir.


 21                Q.              Did       you       look      over       where       he       asked       to    you       look

 22                A.              I    glanced            down       at    it     but       I    didnt           pay    it        any


 23   attention.              I    more walked                  kind       of    even    with          him because                 I




 24   was    wanting          to       see       what      was       going       on in the             warehouse             area


 25   and thats             when        they took               me    down.




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                        168
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                               Page 172 of 219 PageID 7937



      i                Q.       Do     you        see             who       took       you       down

      2                A.       No         sir.


      3                Q.       And        how        did they                take          you       down

      4                A.        Struck          me           in the          back          of    the       head    with    a    hard


      5   object        knocked       me    out.


      6                Q.       Was        it     a       hand          or    fist          or    something          harder

      7                A.        It    was       harder.                     It       knocked          me    completely          out.


      8                Q.       You        were           unconscious

      9                A.       Yes         sir.


 10                    Q.       So     basically                       the    last          thing       you    saw was          Mr.


 ii       Halprin       kneeling       over           a       box

 12                    A.       Thats            correct.


 13                    Q.       Do     you know                    how       long you were                   out

 14                    A.       No         sir            I       dont.

 15                    Q.       When        you           came          to        what       was       going       on

 16                    A.       I     was       on top of                    George          Rivas.           We   were     --    he


 17       was    on his back          on    the           ground.                 I    was       on    top    of    him and we


 18       were    in a      struggle.             Im              not       sure       if    I    was       just    flopping

 19       around       from getting             hit           in       the    head          or    if    I    was    actually

 20       struggling         with     him.            But          the       moment          I    came       to     he    told me


 21       to    stop    and thats           when              I    felt       the       knives          come       into    my body.

 22                    Q.       Where           was           that

 23                    A.       The        location                    in    the       warehouse

 24                    Q.       The        knives                 to    your          body

 25                    A.       They        were              in my          back           my neck           and on the




                            283RD JUDICIAL DISTRICT  COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                    169
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                          Page 173 of 219 PageID 7938



      i   side.


      2             Q.               And       where       inside             the     warehouse          was       this

      3             A.               Right       in     front            of     the       door     just       inside       the


      4   door.


      s             Q.               Door to          the       office

      6             A.               Yes        sir.


      7             Q.               And       could       you tell                 who    had the       knives       on you

      8   or the    shanks           or whatever                they          were

      9             A.               No.        The    only          one        I    saw    at    that       time    when

 10       Rivas    --    I     got       up    from our             --     he       got    up    from under          me they

 11       rolled me over                 and offender                Newbury              had his knee             in my chest


 12       and    had a       long        shank       pointed             here and he             was     waiting

 13       instructions              from       Rivas.


 14                 Q.               All       right.           What          was     said to you             at    that    point

 is       after    they         I    guess           turned          you over              and Newbury             had that       to


 16       your throat

 17                 A.               Thats when                 I    was        told that.             Were          going

 18       home.     You        can       go home           too           or not.            Its     up       to    you.         And

 19       then    thats         when          they    had me down                    and at      that        point    Rivas

 20       says     Get       his         clothes.               And        they       started taking                all    my

 21       clothes       off.


 22                 Q.               Who      was     at    your           feet       at    that    time

 23                 A.               I   saw     Randy          Halprin and Rivas                      and that           was


 24       really the         only two            that       I       saw.            There   were       others        there.           I




                         --283RD
25        could    feel      hands            and hear bodies                       moving       but     I    couldnt




                                   JUDICIAL DISTRICT COURT 214/653-5863
                               NANCY BREWER   OFFICIAL COURT REPORTER
                                                                                                         170
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                Page 174 of 219 PageID 7939



  1              Q.           Did       they    remove          your clothes                 then

  2              A.           Yes        sir.


  3              Q.           All       right.        And       was    Newbury           Mr.       Newbury

  4   still     there with          a    shank       towards          you    or       had he backed          off

  s              A.           They       had backed             off    because          they       couldnt        get


  6   my clothes        off       with    him on          top    of    me    with       his    knee       on me.


  7              Q.           Did       they    remove          all    your       clothes

  8              A.           I    had my underwear                   and my socks             on.


  9              Q.           What       did they          do    with       you       after    --    when    they

 io   had you        in that       condition

 11              A.           Thats        when       they       started          tying       me    up     duct


 12   tape     and    zipties.           They       put    a    gag    in    my mouth          and    took       duct


 13   tape     and wrapped          my eyes.

 14              Q.           How       were    they       able       to    tie       your    arms    up         How


 is   did     that    happen

 16              A.           They       had    finally          turned          me    around       and Rivas


17    and offender           Halprin       were       getting          my arms behind me                   and


18    thats      when    Halprin          --    I    remember          Halprin          grabbing          my arms

19    and because        I    couldnt           get       them    close          enough       behind me.           And


20    excuse     my wording              but    this       is    the       way    he    said.        He    said

21    Get your fucking                  hands       behind       you.            And    just       ratchetting

22    them.


23               Q.           Behind       you

24               A.           Yes        sir.


25               Q.           Were       they       able        then        to    tie    your       arms    then




                      283RD JUDICIAL DISTRICT COURT 214/653-5863
                         NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                        171
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                               Page 175 of 219 PageID 7940



  1                A.           Yes         sir.        Thats           when    he    ziptied my wrists

  2   behind       me    like       this.


  3                Q.           That       was        Mr.    Halprin          that    said       that

  4                A.           Yes.


  5                Q.           All       right.            Did    they       secure       your    legs          at    all

  6                A.           Yes        sir.         They       started       at    the       ankles          and at


  7   the    knees       and just          below        the       waist.


  8                Q.           All       right.            What       did they       do    at    that       point

  9                A.           Thats when they picked                           me    up       and took          me    back


 10   to    the    electrical             room.


 11                Q.           Now        at     that       point       had they          --
                                                                                                 you    said they


 12   had put       duct       tape       and     a    hood            Had    they    done       that       yet

 13                A.           No.        They        had duct          tape    --    I    could       see       out    of


 14   this    eye        but    this one              was    closed.           And    then       they       --    thats

 15   --    they    hadnt           put    the        pillowcase              or whatever          it       was        over


 16   my head       yet.


 17                Q.           Did       they        take    you where          then

 18                A.           Back       to     the       electrical          room.           Its     a    room just


 19   off    down       the    hall in the              warehouse             area     the       supply          area

 20   where       theres        a    lot    of        wires       on    the    walls        switches              and


 21   just    things          like       that.


 22                Q.           Was       there        any    conversation             or       anything          said to


 23   you on       the    way       to    that        room

 24                A.           Yes        sir.


 25                Q.           What       was        that




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                             172
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 176 of 219 PageID 7941



  1                A.            At       that     point          offender           Halprin          made    a



  2   statement          to     me.        He    says         Burgess                you may think                I    always


  3   liked    you        but        I    hate     you.           And    if     you give             us    any problem.

  4   Ill     just       kill        your       fucking           ass.

  5                Q.            How       were     they          carrying you              at       that    point       when




  --7
  6   they    were

                   A.            At       that     time       Rivas       had my feet                 and Halprin             had


  8   grabbed       me    by the           head     like          this    and was           carrying          me       like


  9   this    demonstrating.                        And       I    had     --    I    had       spinal       surgery and

 10   I    pleaded        Dont             pick     me    up       by    the     head           please.               And they


 11   just    dropped           me       and picked           me    up under              the    shoulders.


 12                Q.            So       who    would        have       been        carrying             you under        your

 13   shoulders          at     that       point

 14                A.            That       would        be       offender           Halprin.


 15                Q.           And Rivas            was          carrying           you by your             feet

 16                A.            By the          feet.


 17                Q.            Did       they     put       you       inside            then        that    electrical


 18   room

 19                A.            Yes        sir.


 20                Q.           And were            there other                 people          in    there

 21                A.           Yes         sir.         There          was     --    I    saw       three    bodies


 22   laying down               basically in the                    same        shape       I    was        tied      up

 23   stripped clothes.

 24                Q.           All        right.         You       could        see      out        of   partially           one


 25   of    your    eyes




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                     173
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                           Page 177 of 219 PageID 7942



      1               A.             Yes        sir.


      2               Q.             Did    you        see    any       of       the       other          inmates in there


      3   at   that     time

      4               A.             There       was     offender                Garcia          was       keeping          watch


      s   over    the      people         in the        room.


      6               Q.             Did    he       say anything                 to       you when             you were

      7   placed      in    there

      8               A.             Yes        sir.         He    stuck          a    knife          in my ear             and he


      9   told    me       he   said        Thats             one       pound          of       pressure.               He    said

 10       Two more pounds                  of    pressure           its           in your             brain and you are


 ii       dead.         And     he    made       a     statement                 then           he    says        If        anything

 12       goes    wrong         well both               get       the    needle.                 Youll           get    yours

 13       right now         and      Ill        get     my in about                   five       years           because       the


 14       year    2050      does      not       come     soon       enough.

 15                   Q.             Did    you believe                 what          he    was       telling          you

 16                   A.             Yes        sir      I    did.


 17                   Q.             Did    you        resist or struggle                            at    all

 18                   A.             No     sir.


 19                   Q.             Could       you     tell       if       there          were          any    other       inmates


 20       in   there       at   that       point

 21                   A.             In    and out.               They       came          in    and out.              As    they

 22       bring people            in       there would              be       a    mix in and then                      they would

23        go out      and wait            for    the     next       victim             to       come       in    and take       them


24        down.


25                    Q.             Did you          ever        hear or see                   the       defendant          Halprin




                           283RD JUDICIAL DISTRICT   COURT 214/653-5863
                              NANCY BREWER  OFFICIAL   COURT REPORTER
                                                                                                                                    174
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                            Page 178 of 219 PageID 7943



     1   any more         inside          that       room

     2               A.              Yes        sir.           He    had       made       a   statement          to     --    I



  3      believe       it      was       Marroquin.                 We    had       --    his      hands       were    numb        and


  4      he    said something                  about           What           is    wrong       with      you          And




  --6
  s      Marroquin

                     Q.              Who       said       that

  7                 A.               I    believe          that          was       Marroquin.             There       again         it


  8      was    dark      in     there          but       it    was       one       of    the      victims       made        the


  9      statement.              And      he    says           You know what                        When       they    brought




 --14
 10      me    in   the     chain         bus       here        they          had me in handcuffs                     for


 11      several       hours.              I    forgot          the       exact          --   10    hours        18    hours

 12      14    hours        or    something.                   And       he    says           They had          me    in


 13      handcuffs          the      whole          time        so       fuck       you.           And


                    Q.               You       are     saying            Mr.       Halprin         made    that       remark

 15                 A.               Yes        sir.


 16                 Q.               In    response             to       Marroquin            or someone             else


 17      complaining             about         their hands


 18                 A.               Yes        sir.


 19                 Q.               There          was    a    number             of    people         brought       into        that


 20      room over          the      course          of    time

 21                 A.               Yes        sir.


 22                 Q.               And       at    some       point          did some            of    you    or    the


23       people     in      there          were        they         able       to       get   untied

24                  A.               Yes        sir.           When       they          had   finally          gotten        all


25       the   maintenance                workers          and they had                   one      extra       guy    that        they




                            283RD JUDICIAL DISTRICT  COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                               175
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                     Page 179 of 219 PageID 7944



  1   werent        counting                on     a    security             officer        they       left       the    room


  2   and turned             out       the    light          and they          figured          you know            we    were


  3   locked       in    there.              We    were       closed          up.     So    they       had the          keys


  4   and they          locked          the       door.


  s                                I    looked          around          and    I    saw    Terry Schmidt


  6   maintenance             door          tech.        Hes        a       door tech       supervisor.                 And


  7   his    hands       were          behind him and he pulled                            them       out


  8   demonstrating                     he    came       up    --       I    think    that      he     was       duct    taped


  9   is    the    reason          why       he    didnt           have       the    ziptie       on him.           And


 10   from that          moment             on we       saw    a    glimmer          of    hope       of    getting       out


 11   of    there.


 12                Q.              Someone             had a pocket                knife    that       was       passed


 13   around

 14                A.              Yes        sir.           That       was    Mark       Garza.           They    did not


 15   take    his       pants.              And    when       Terry          Schmidt       released          his    hands

 16   he    stood       in    front          of    the       doorway and there were                         two    inmates


 17   that    were       with          us    as    prisoners.                 They    put       their feet          against

 18   the    transformer                --    or their backs                   against          the    transformer


 19   and    their feet                against          the    door          and Schmidt          was       holding       the


 20   top.


 21                                And thats                 when       Patrick       Moczygemba             sat    up    and


 22   his    hands       were          tied       in    front       of       him with       a    rope       and he       could


 23   get    into       the    pants          to       get    the       pocket       knife      and        cut    himself


 24   loose       and    then          he    subsequently                   started       cutting          our hands


 25   loose.




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                          176
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                          Page 180 of 219 PageID 7945



     1             Q.               At     some       point       when       some       of       the       people          were


     2   free     then            did you        and other hostages                         in that          room arm


     3   yourselves

     4             A.               Yes         sir        we    did.


     s             Q..              And        was    there       an       attempt          made by one                of       those


     6   escapees        to       come    back        into the             room

     7             A.               We    had        not    gotten          loose       yet.           I    think          Terry

     8   was    loose         I    think        maybe       Pat       had his hands                loose           but          that


     9   was    Newbury            offender           Newbury              was    --    pushed             on the          door and


10       he    said what           was    going        on and he             hollered              Theyre                  getting

ii       out.      Or         Theyre             getting          loose.               And       there was             a       big

12       struggle.            The    inmates               the    escapees              on       the       other side                of


13       the    door trying              to     get    in       and the          few    that       were          loose.              We


14       were    all     still       tied up and                 totally         helpless                  but    the          ones


is       that    were     loose          were        trying       to       push the          door closed.


16                                  And        Newbury          got    half of          his      body like                 this


17       inside    the        door and he              had a          knife       in his         hand        and       hes

18       demonstrating                   trying        to       hit    anything             he   can.            And       the


19       other    inmates were                  using       tools           trying          to   pry the door open

20       trying    to     break          it.         They       had knives             --    you       can       see       knife


21       blades    coming           through           it    and pry bars.


22                                  Offender           Halprin             looked       up and he                had       a    large


23       demonstrating                   pry bar           that       he    had was          trying          to    force             the


24       door open.               Its     a     big        strong          door that             you know                  just


25       wouldnt        budge.




                         283RD JUDICIAL DISTRICT  COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                  177
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 181 of 219 PageID 7946



  1                Q.              Did        they ultimately get                         Mr.    Newbury         out

  2                A.              Yes         sir.


  3                Q.              And        then       the    door          closed

  4                A.              Closed            yes.


  5                Q.              Did you           and       the          other people          when      you       got    free


  6   take       steps           then         to    try    to       defend          yourself           if   they       came


  7   back

  8                A.              Yes         sir.        There             was    a    bag of       nails      in    the


  9   corner.           I       took     the       pillowcase                that       they    had put       on our head


 10   and    I    put       a    hand     full       of    nails             in    the    pillowcase          and      tied       a



 11   knot       and made a weapon                       with       that.           Other people            were       tearing

 12   electrical                conduit        off       the    wall.              We    were    --    Allen Camber


 13   was    trying to              --    was       setting             a    fire       alarm off.          We     were


 14   doing       everything              we       could       to       prepare          ourselves.


 15                Q.              Okay.            At    some          point       several       hours       later          you

 16   were       freed          from the           room

 17                A.              Yes         sir.


 18                Q.              And did you                 receive             medical       attention            when    you

 19   were       taken          out

 20                A.              They        took       me    to          the    unit    infirmary and               I    guess

 21   the    word       for       it     --    they did             a       quick       check    on us      just       to    make


 22   sure       that       nobody        was       in    serious             condition           you       know       I    mean


 23   critical          condition              or    anything                 nobody       was    going       to      die    at


 24   the    moment.              So     then       they       started             picking       the    worst         people

 25   and putting                them     in an          ambulance                and    sending       them      to    the




                         283RD JUDICIAL DISTRICT  COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                       178
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 182 of 219 PageID 7947



  1   hospital          in order of                seriousness.


  2                Q.           What       injuries did you                        sustain           as       a    result         of


  3   that    day

  4                A.           I    have          --    Ive           had three          surgeries                on my arms


  s   two    on my each             --    one       on    each          elbow       one        on    my wrist                 from


  6   being    tied       up        from having                   my hands         jerked           behind my back.


  7   From the blow             to       the       head       I       have   --    theres            a    long       term         for


  8   it     but    its     fluid          on       your          inner      ear.         So    Ill           be    on

  9   medication          forever.                 And    Ive had              spinal          steroid             injections

 10   plus    the       psychological                   problems that               go     along with                this.


 11                Q.           Again              before             this   happened               what          type       of   work


 12   did you       do

 13                A.           I    was       a    carpenter.

 14                Q.           Have       you been                   able   to    continue              in       that       line      of


 is   work

 16                A.           No        sir           and       I    never      will.


 17                Q.           When       you held                   your   arms    up         are       there          actually

 18   scars    on your          arms

 19                A.           Yes        sir.           Theres             one    on each              elbow       right


 20   here    demonstrating.

 21                Q.           Did you             lose          any    property          that          day as          a    result


 22   of    when    they    took         your           clothes          off




 --25
 23                A.           Yes        sir           everything.

 24                Q.           What

                   A.           Wallet              clothes              jacket           boots           brand-new




                        283RD       JUDICIAL    DISTRICT   COURT 214/653-5863
                           NANCY         BREWER   OFFICIAL   COURT REPORTER
                                                                                                                              179
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                 Page 183 of 219 PageID 7948



      boots     I    lost    it    all.


  2             Q.           Did       you     ever    get     any        of       that       back

  3             A.           No        sir.        My glasses.

  4             Q.           Thank          you      sir.


  s                                     MR.        DAMORE           Thats               all       I    have        Judge.


  6                                            CROSS-EXAMINATION


  7   BY MR.    ASHFORD

  8             Q.           Mr.       Burgess         you were            asked             to       give    a



  9   statement       about       what        happened       on December                     13th       of    2000

 10   correct

 11             A.           Yes        sir.


 12             Q.           You       wrote       about      13    pages               correct




 --15
 13             A.           I    didnt write               those.             I    was       giving          that      to


 14   the    Internal       Affairs


                Q.           Okay.


 16             A.           --    and        they    wrote        it.



 17             Q.           And       then do        you     know        if       they       just        typed up




 --20
 is   what    you    had written or did they                        just           do    a    typed          summary the

 19   next    day or how          do    you

                A.           Okay.           Right     after we            got          back          from the


 21   hospital       they    took       a     --   thats       the        handwriting                   part of         it.



 22   They    asked    us    what       happened            and he wrote                 it       down.           And   that


 23   was    right    after       the       incident.          The        next          morning we                had to


 24   come    back    at    700 and then.thats                           when       they          typed       it    up.


 25   They    did    the    same       thing       again.          They        asked          us       what       happened




                     283RD JUDICIAL DISTRICT COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                 180
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 184 of 219 PageID 7949



  1   asked     us    questions              and they              typed what             we    said.


  2              Q.              And    on     each       page          of    each       statement                you had       to


  3   initial        it        correct

  4              A.              Yes     sir.


  s              Q.              Okay.        And        did that             on    13    pages          of       the


  6   handwritten              one     correct

  7              A.              Yes     sir.


  8              Q.              And then           on the          typed          one     it    was          four       pages

  9   you    had to        initial       each page                 and       sign the bottom of                         each


 10   page      correct

 11              A.              Yes     sir.


 12              Q.              Did    you     come          back       from lunch             with          a    particular

 13   co-worker

 14              A.              No     sir.


 15              Q.              Okay.         So    if       the       offense          report          stated          that


 16   about     1200           you    returned           to    the       maintenance             shop             with


 17   Mr.    Segura            that    would        be    incorrect

 18              A.              That    would           not       --    thats           the    one       I       dont know

 19   why    that     was       there        but     he       was       --    there       was    a       few       minutes


 20   space     between          us.     I     think          --    Im        not    sure       if       he       came    in


 21   before     me       or    right after              me        but       it    was    just       a    real          close


 22   time.


 23              Q.              Were    you        aware          that       seems       like       two          people       were


 24   coming     in       just       about     every          fifteen             minutes       and getting                taken


 25   down    by the           escapees




                      283RD JUDICIAL DISTRICT COURT 214/653-5863
                         NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                        181
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 185 of 219 PageID 7950



  1                A.            You     could          hear       --    you    could       hear    the


  2   struggling.               The    sound        of       commotion going                on     but    thats        all


  3   you    knew.


  4                Q.            Okay.        And           you    could       hear    some      other


  s   struggling             when     you were              getting          taken    down

  6                A.            Just       the     struggling                that    was   going        on with       me

  7   yes     and        you     know        the        sound       of       footsteps       and people          around


  a   us yes            sir.


  9                Q.            Okay.        There           was       nobody       else    being       taken       down


 io   when    you       are being           taken           down        is    what    you    are    saying

 11                A.            Thats        correct.


 12                Q.            Okay.        Mr.           Garcia made          the    remark          about    the


 13   one    pound       of    pressure

 14                A.            Yes        sir.


 15                Q.            Okay.        You           heard       him say that


 16                A.            Yes        sir         I    did.


 17                Q.            He    said        that       to    you

 18                A.            Yes        sir         he    did        and to       everybody          else.


 19                Q.            Okay.        And you didnt                     hear him say that                to


 20   everybody          else

 21                A.            I    heard        it       over    and over           sir.        He    made    a



 22   point    to       do     that    to    everybody              that       was    brought       in.     He       would


 23   do    that     same       little       thing           over       and over       to     them.


 24                Q.            So    you    actually              heard       him tell         other


 25   individuals              that




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                      182
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                             Page 186 of 219 PageID 7951



      1                A.            Yes.


      2                Q.            Okay.              And       at    what       point       was        that

      3                A.            After          I     was      taken       down       and put          in the       room

      4   everybody          else        that       came          in after          me    --    and       he    may not       have


      s   told       every     one       of       them        but       he    told       the    majority of             them.


      6                Q.            So       what        you are            saying       is    he    was       in the


      7   electrical           room and he                   was       kind    of    in there             watching       the


      8   people       that       had already been                       subdued

      9                A.            Yes           sir.


 10                    Q.            Okay.              And when             you    got    in       there        when    the


 ii       person       is    first        brought             in       there        thats           pretty much          what    he


 12       would       tell    them

13                     A.            I    dont know                    about       the    first       person           because       I




14        wasnt        there       at     that          time.           Everybody          after          me     I    would    hear


15        --    or    most everybody.




--21
16                     Q.            So       a    lot       of    people          heard       what       was    going on

17        with       the    other people


18                     A.            Yes           sir.


19                     Q.            Okay.              Now        when       you    are being             taken       down     how


20        far    away       from you              from the             door to       the       electrical             closet

          let    me    say    if     you are              sitting            right       there on          the       witness


22        stand where             you     are           if    the       very front             of    it    right       there


23        where       that    flag        is       right          in    front       of    you        if    thats        the    door

24        to    the    electrical                 closet          coming       back       this       way        how    far    away

25        are    you       when    you        are being                taken       down




                             283RD JUDICIAL DISTRICT  COURT 214/653-5863
                                NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                   183
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                         Page 187 of 219 PageID 7952



      1                A.              Where       I       was    taken     down

      2                Q.              Yes.


      3                A.              Probably             where       either you or that                       officer


  4       behind       you        in    that       general          direction.               Its about                 25    30



  s       feet.


  6                    Q.              Okay.


  7                    A.              Around          the       corner.


  8                    Q.              Okay.           I    take    it     when       you    are       being ordered               to


  9       get    your hands             behind your                back     and get          down          and not


 10       struggle          and whatever                   else    is    being        said to          you        its       being

 11       said there          a    loud       and forceful                 voice

 12                    A.              Not    really.              They     werent           hollering.                They

 13       were       very    calm.           Rivas          was    especially              calm        I    remember.             His


 14       instructions             were       precise             and    short.            You    know           he    didnt

 is       mix any words.                 He    let          you    know     exactly          what          was    going      on.


 16                    Q.           And       so       where       were     you when             Mr.       Halprin

 17       allegedly made                this       comment          that        he    never       liked          you

 is                    A.           We       were          between       the     point       where          I    was   taken




 --24
 19       down       and the       door to             the       utility        room        the    electrical               room.


 20                    Q.           Okay.              And       somewhere           between       where          Im     sitting

 21       now and          where    youre sitting

 22                    A.           Yes        sir.


 23                    Q.           Okay.              Maybe       as    close        as    the    other          side


          maybe       as    far    as    the       other          side     of    this       table          maybe       as   close


 25       as    to   where        those       guns          are




                            283RD JUDICIAL DISTRICT  COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                               184
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                           Page 188 of 219 PageID 7953



  1                   A.           Yes           sir.


  2                   Q.           Do       you know                 of    anybody else who                            told you          that


  3   they       heard          that    statement

  4                   A.           No        I    dont.

  s                   Q.           No            Did     that             make    any       sense

  6                   A.           Well           he    was           talking          to    me.           I       dont know              what


  7   the    other guys                were       doing.                  It    was    a    pretty strange

  8   situation being                   completely                    trussed up.                 Like             I    say        when       you


  9   are    inside             that    room            things             are    going       on.              I       could       hear


 10   movement              but        you       know            I    could       hear       --       you          could          hear


 11   voices           but       you    dont know                     what       they       are       saying.


 12                   Q.           Okay.           Was           there          any particular                         relationship


 13   between          you and Mr.                Halprin                 that    made       that          comment                make    any


 14   sense       one       way    or the          other

 15                   A.           Ive           thought              about       that.           I    believe                the       fact


 16   that       --    I    always          try    to        treat             them    fairly              but          the       fact    that


 17   I    was    raised          in TDC          and        I       treated          them    --       I       treated             them       as


 18   an    inmate.             And     --       but     I       was       not    unfair with                      them.           I    was


 19   not    mean          to    them.           And     a       lot       of    inmates did not                         like          that


 20   attitude              because          --    or        they          just       dont        like             being          treated


 21   like       inmates.


 22                   Q.           Can you              point             to    something             and          say        well        you

 23   know        six months                ago    I     wrote             him    up        got       him in trouble


 24   but        you       know        he    never           acted             like    a problem.                      As     a    matter


 25   of    fact           he    was    always           grinning                in my       face          and acting                   like       I




                           283RD JUDICIAL DISTRICT   COURT 214/653-5863
                              NANCY BREWER  OFFICIAL   COURT REPORTER
                                                                                                                 185
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 189 of 219 PageID 7954



      was    a    nice          guy       and now        it       makes      sense        that          he    really didnt


  2   like       me    or       he    hates       me

  3                   A.              That       made       sense         yes        sir.           I    never          wrotehim


  4   up.        And       I    was       always        fairly         polite        with          him        I    thought.


  5   You    know              and we          did joke           around       at    the       tool          room window.               I




  6   would       joke          with       him.        He     would       joke       with          me.        I    never    had     a



  7   reason          to       think       until       that        moment       that          he    hated          me   and he


  a   wanted          --       that       he    would       kill       me.


  9                   Q.              Were       you     --       they    had already got your                            hands


 10   bound       and your                feet    bound           at   that     time           correct

 11                   A.              Yes        sir.


 12                   Q.              Okay.           And     that       was    something                that       Mr.    Halprin


 13   participated                   in    doing

 14                   A.              Yes        sir.


 15                   Q.              And you           testified            you werent                  struggling           any


 16   more       at    that          point

 17                   A.              No        sir.


 18                   Q.              So       there was           certainly             no    need          for    him to


 19   threaten             you

 20                   A.              No.


 21                   Q.              Okay.           And     you      said         well           that       makes       sense

 22   the    kind          of    example          that        I    made      up.         But       can       you    think     of


 23   any    circumstance                      like     that           Can you           think          back       and think        of


 24   something                that       you might           have       done       to    offend             him and he        just


 25   didnt           let       you       know    about           it




                               283RD JUDICIAL DISTRICT COURT 214/653-5863
                                  NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                        186
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 190 of 219 PageID 7955



                   A.           Its      always            possible              if       I       dont know                 about


  2   it.


  3                Q.           Right.           Segura          was       no    where             around                when    you


  4   were    being       taken       down

  s                A.           Uh-huh           not       at    that          moment              no.


  6                Q.           Did you come                   in with          Gilley

  7                A.           No.


  8                Q.           Do    you know             where          Gilley          was

  9                A.           No.


 10                Q.           When     you      were          put       in    the       electrical                      room        how


 11   many    people        were      already             in    there

 12                A.           From what             I    could          see        I    knew              for      a    fact    there


 13   were    three people             when       I       went       in.


 14                Q.           And    later          on        after          talking             about             it     do    you

 15   know    who       those     people         were

 16                A.           Not    for       sure.           I       knew    that             it        was      Pat


 17   Moczygemba            because         hes           such       a    big guy.                     I    did know            that.


 18   And    he    was    there with             them          the       whole       time                  so   I    just       knew


 19   that    he    was     one of       them.             And       there was                a    point             to    where       the


 20   room got          full.        Offender             Garcia          told Rivas                       that          The room

 21   is    getting       full.        We    dont have any room                                   for           them.           And


 22   because       we    were       laying all             on       the       floor and at                         that    time


 23   Rivas       told    him        Well         were           going          to       have              to   stand       them up


 24   or sit       them    up     back      to    back          and rearrange                      them.




                        --283RD
 25                             And    thats              when       he    made          the       statement




                               JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER   OFFICIAL COURT REPORTER
                                                                                                                         187
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 191 of 219 PageID 7956



  1   Marroquin          set       Marroquin up             facing          the        wall    and put          Burgess


  2   and    him back         to    back    and       thats           when        I    knew    that    Marroquin


  3   was    in there.             Other than           that          I    didnt         know       who.


  4                Q.          When       Mr.    Halprin          supposedly made                    this       comment

  s   was    the    door to         the    electrical             room           open    or was       it    closed

  6                A.          I    dont        know.        I    wasnt               looking.


  7                Q.          Okay.        Was       it    pretty clear                 who    was    running


  8   this

  9                A.          Pretty       clear           yes           sir.


 10                Q.          Who    was       that

 11                A.          George       Rivas.


 12                Q.          And    now       when       Mr.    Halprin              picked       you up by your

 13   head     you      said you          pleaded          with       him not           to    pick    you up       by

 14   your    head-right

 15                A.          Yes.


 16                Q.          Because          of    your       previous              back    problems

 17                A.          Right.


 18                Q.          Okay.        And actually                   at     that       point    Mr.       Rivas


 19   ordered       them       Dont         pick        him up            by his head.               Pick       him up


 20   under    his      arms         correct

 21                A.          He    made       the     statement                 you    know        dont pick

22    him up       by   the    head       and thats              --       thats         just    what       he    said.


23                 Q.          All    right.           And       then       thats            what    Mr.    Halprin

24    did

25                 A.          Yes.




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                      188
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                            Page 192 of 219 PageID 7957



  1             Q.          Now     was     it    Mr.       Halprin          or Mr.       Rivas      that


  2   said      Get your fucking               hands        behind your            back

  3             A.          That    was     offender          Halprin.


  4             Q.          Okay.        Ill      show       you       what    has    been      marked           as


  s   Defense     Exhibit     No.    42     and ask          you        does       that    appear          to    be


  6   your   statement

  7             A.          Yes.


  8             Q.          That    was     the    one       that       was    written         out    for        you

  9             A.          Yes.


 10                                 MR.     DAMORE                No    objection.

11                                  THE     COURT            Are you          offering         Defense           42

12                                  MR.     ASHFORD               I    am Your        Honor.


13                                  THE     COURT            Defense          42    shall      be    admitted.


14              Q.          By     Mr.    Ashford             And       the    way    this      is    written

is    it   says      Halprin       was     the    one       who       tied me      up.      Rivas      was


16    holding     my hands.          And       then     immediately after that                        it        says

17    Get your fucking             hands       together

18              A.          Yes     sir.         But    the       other       statement             its         more


19    clear.      Rivas     and Halprin           were       working          to   tie    my hands              and


20    my hands       wouldnt       go.      They       are    struggling             and thats             when

21    offender       Halprin grabbed             my wrists             and    jacked      them       together

22    and made       that   statement.


23              Q.          The    fact     that       on    that       statement         it    appears

24    right after you         are    talking           about          Rivas        thats       just    not


25    significant           Thats        not     the    way       it    happened




                     283RD JUDICIAL DISTRICT  COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                         189
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                              Page 193 of 219 PageID 7958



  i                 A.          Well        on that          statement          you have       to    understand


  2   this     is    right directly after                     the    incident          and we       were       in


  3   shock.         I   may not          have    been       clear.        The    next      morning            as    I



  4   said before              on    the    typed statement                it    clarifies          it    a    little




 --10
  s   bit    better.


  6                 Q.          Had you          talked       to    any    of    the    other       employees


  7   in the        infirmary between                  the    time you          originally made                the


  8   statement          and    the       time    you made          the    second       statement

  9                 A.          We    talked           but    it    wasnt        --    we   didnt have

      we    werent        sitting          there going             into the       details because                   they


 11   had    told us       to       not    talk    to    anyone           dont even talk among

 12   yourselves          about       the    escape           because          Internal       Affairs          had to


 13   come     in and      do       their part.


 14                 Q.          Well        you    sure       yallwerent                comparing             notes




 --17
 15   and saying          this is          what    Im        going    to       say and this          is       what


 16   you    are     going      to    say


                    A.          Right.


 18                 Q.          --    because          its     kind       of    hard not       to    talk       about


 19   the    event        correct

 20                 A.          Yes        sir     it    is.



 21                 Q.          Now        did you       and Mr.          Harper       have    a    kind       of


 22   thing     where      yall           kind    of    wisecracked             back    and    forth between


 23   each     other

 24                 A.          Harper

 25                 Q.          Harper.




                         283RD JUDICIAL DISTRICT COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                         190
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                Page 194 of 219 PageID 7959



      1                A.        We    wisecracked          with          all    of    them.


      2                Q.        Im     specifically             asking          you    if    you    had    a    kind


      3   of    little      tense     thing        relationship                 with    Mr.    Harper

      4                A.        Yes     sir.        Up    until          the    moment       of    the    escape

      5   I    got    along with       all    of    them    --       or    so    I    thought.


  6                    Q.        But    there was          something             significant          with


      7   Mr.    Harper

  8                    A.        We    werent        friends              no     sir.


  9                    Q.        And    you       sure    its        not    Mr.       Harper who

 10       threatened         you

 11                    A.        Im     positive.

 12                                                 MR.    ASHFORD               Ill        pass    the    witness.


 13                                          REDIRECT       EXAMINATION


 14       BY MR.       DAMORE

 15                    Q.        Mr.    Burgess           Ill        show       you    State       Exhibit       966


 16       and ask        you    is    that    a    copy    of    the       second       statement          you    were


 17       asked       about

 18                    A.        Yes     sir.        This       is    the       one    that    was    done       the


 19       next       morning.


 20                    Q.        All    right.


 21                                      MR.       DAMORE             Well offer              State       Exhibit


 22       966.


 23                                      MR.       ASHFORD            No    objections              Your    Honor.


 24                                      THE       COURT         No.       966       shall    be    admitted.


 25                    Q.        By     Mr.       DAmore             Just       so    the    jury    is    clear




                            283RD JUDICIAL DISTRICT  COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                            191
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 195 of 219 PageID 7960



  1   what       you were          talking       about         in    this          States        966    on the


  2   second          page       where    they    talk    about              where      you were        describing

  3   when       --    you       said     My     hands    were           forcibly          pulled behind             my


  4   back       by Rivas          and Halprin           restrained them with                          tie    straps


  s   and    duct          tape.        They   were     having           a    hard time          and Halprin


  6   said        quote            Get your fucking                 hands          together

  7                   A.           Yes     sir.


  8                   Q.           Okay.       Defense       Exhibit               42    Mr.     Ashford       put    in


  9   --    in    here           basically       what    you        told the            jury today            the


 10   statements             and    the    threats       by Mr.              Halprin        is    that       correct

 11                   A.           Yes     sir.


 12                   Q.           You    start    out    on        the       second       page    where       he


 13   walks       into       the    warehouse         with     you and              says        Check        out    the


 14   motor

 15                   A.           Yes     sir.


 16                   Q.           The    statement       is        in       there      about     getting          your

 17   hands       together

 18                   A.           Yes     sir.


 19                   Q.           Halprin        was    down        at       my    legs         strapping          your

 20   legs    together

 21                   A.           Yes     sir.


 22                   Q.           The    next    page    it        talks          about        Halprin        said

 23   Burgess              you    think    I   always     liked              you     but    I    dont.         I    hate


 24   your    fucking             ass.     Give    us    any problem and                    I    swear       Ill     kill


 25   you.            Thats        in    here     also




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                    192
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                           Page 196 of 219 PageID 7961



      1                A.             Yes        sir      it    is.



      2                 Q.            A couple           of    pages          further             where           I    believe          you


      3   said         Marroquin            said         I cant               feel         my hands.                   Halprin


  4       told    him         Well          they        put    me    on       a       chain       for       14    hours          and


      s   they    kept        my cuffs           on     the    whole          time           so    fuck          you
      6                A.             Yes.


  7                    Q.             Thats           in here        from what                you       said Halprin


      8   said

  9                    A.             Yes        sir.


 10                    Q.             And that           one    that          was          handwritten                was    done       on


 11       December           13th         that    evening

 12                    A.             Yes        sir      very late                   at   night.


 13                    Q.           And      then        the    next          one          the    typed           one        was       done


 14       about        1000     a.m.        the       next     morning

 is                    A.             Yes        sir.


 16                    Q.           All      right.


 17                                              MR.     DAMORE                   I    believe          thats           all       I




 18       have.        Thank     you         sir.         Pass       the          witness.


 19                                                   RECROSS        EXAMINATION


 20       BY MR.       ASHFORD

 21                    Q.             How    much        longer          did you work                   at       the    prison

 22                    A.             I    was    there        --    I       was       out    for       a    month          on


 23       workmans            comp         came       back     for       a    month          on light             duty           and


 24       then    it     became           apparent        that       I       needed          surgery and                Ive been

 25       out    ever        since.




                             283RD JUDICIAL DISTRICT COURT 214/653-5863
                                NANCY BREWER  OFFICIAL COURT REPORTER
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                Page 197 of 219 PageID 193
                                                                                                         7962



  1                  Q.           In    addition          to   being        asked       by    Internal      Affairs


  2   just      to    give       those       statements          to    detail          exactly       what


  3   happened            with    the    escape           were       you    asked       to    give    any    other


  4   information concerning                        the    offenders

  s                  A.           A    few    days    later they             called          us    in and    asked


  6   us   to   give        physical          descriptions.


  7                  Q.           I    want    to    show      you     whats           already       in evidence


  8   as   Defendant             Exhibit       No.    38       and    ask    you       if    you    ever    did       a



  9   form like            that

 10                  A.           It    was    something             like    that           yeah.


 11                  Q.           Okay.        You    see       this       one    is     asking      physical


 12   description.                Its        asking       mannerisms              job       skills

 13                  A.           Yes        sir.


 14                  Q.           What       did    they       look    like            How often          they have


 15   to   shave.           Were       you    asked       those       kinds       of     questions

 16                  A.           Yes        sir.     Thats           Internal          Affairs asks             us


 17   that       yes.


 18                  Q.           Were       you    asked       to    give       an    opinion       on    their


 19   intelligence               and how       smart       you       thought          they    were

 20                  A.           I    dont remember                 that.        I    dont remember              that


 21   one       no        sir.


 22                  Q.           Were       you asked          to    give       any     opinion      as    to    their


 23   leadership            ability

 24                  A.           I    believe       they       did ask          that       one     yes     sir.


 25                  Q.           Okay.        And do          you    remember          what       your comments




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                          Page 198 of 219 PageID 194
                                                                                                                   7963



  1   were

  2                A.              No        sir         I    dont.

  3                Q.              Ill        show           you       what     has    been       marked    as       Defense


  4   Exhibit No.             39       and ask           you       if     you have          ever    seen    that

  s                A.              I    dont believe                      Ive        ever    seen    this       particular




  --8
  6   paper    here.


  7                Q.              But


                   A.              But       it        may be          compiled from the                 information


  9   that    we       gave    them.


 10                Q.              Okay.               Well        Ill         ask    you    to    look    at    it       and


 11   ask    you       if    you       think           that    it       is.



 12                A.              Like           I    said        I    dont         see    my signature             on    here


 13   or    initials.              They       asked           us       these        questions       and they          may


 14   have    compiled this particular                                    --    these       questions       have          been


      asked    of       me.        But       as        far    as       this     particular          paper        I    dont



 --17
 15




 16   know.        I    havent

                                              MR.        ASHFORD                Based       on    him being asked


 18   these    questions                 I    would           offer Defense                 Exhibit       No.    39       again

 19   Your Honor.


 20                                           MR.        DAMORE                 May    I    take    him on voir


 21   dire

 22                                           THE        COURT                You    may.


 23                                                   VOIR    DIRE        EXAMINATION


 24   BY MR.       DAMORE

 25                Q.              You       dont know                   if    these       are    your    answers          or




                            283RD JUDICIAL DISTRICT  COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                            195
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                            Page 199 of 219 PageID 7964



  1   not    on   here

  2               A.             No        sir.


  3               Q.             You       didnt        generate       this    piece          of       paper          did


  4   you

  5               A.             Sir

  6               Q.             You       didnt        generate       this    piece          of       paper          did


  7   you

  8               A.             No.


  9                                         MR.    DAMORE             Well object                  then.          The


 10   predicate            hasnt          been    laid and       its     hearsay.


 11                                         THE    COURT         Sustained.


 12                                   RECROSS          EXAMINATION       CONTINUED


 13   BY MR.      ASHFORD

 14               Q.             What       questions          were    you    asked           sir

 15               A.             Height           weight        things       like    that.              And      if    I




 16   remember         right         --    at    that    time     going       from memory                   it    was       a


 17   pretty poor description                          Igave     on his weight.                    I    probably

 18   guessed       it      pretty         wrong.        His    height       was    wrong              Im     sure.


 19               Q.             Did you          give    an opinion based                on your




--25
 20   experience            with      these       offenders       as    to    who    was          most likely               to


 21   be    the   leader and who                  was    most likely          to    be    the          weakest         of


 22   the    bunch

 23               A.             I    was       asked    those    questions.              I       dont remember

24    what    I   --       at   that       time    I    dont remember              what       I    said.          I




      that    was      a    long      time ago          for    those    specific          questions               like




                         283RD JUDICIAL DISTRICT COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                      196
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                             Page 200 of 219 PageID 7965



      that.


  2              Q.           Do    you    have    an    opinion          now

  3              A.           Yes     sir.


  4              Q.           Okay.        What    is    that       opinion

                              Not                            He    was    --                in my opinion
  5              A.                  very good.                                 just


  6   he   was   not    a    leader       type     just       thats           my opinion.

  7              Q.           Who    was    not    a    leader         type

  8              A.           The    offender.


  9              Q.           You    referring          to    Mr.      Halprin

 10              A.           Yes.


 11                                   MR.       ASHFORD            Ill        pass    the    witness.


 12                                   MR.       DAMORE            Nothing        else.


 13                                   THE       COURT         Thank       you        sir.     You    may

 14   stand down.

 15                                   MR.       DAMORE             May he       be    excused

 16                                   MR.       ASHFORD           No     objections           Your Honor.


 17                                   THE       COURT         Yes        he    may.


 18                                   MR.       SHOOK         Call       Dr.    McGehee.


 19                                             FRANK    MCGEHEE

 20   having     been       duly    sworn       was     examined          and testified             as


 21   follows

 22                                        DIRECT       EXAMINATION


 23   BY MR.     SHOOK

24               Q.           Would       you    tell    us       your name           sir.


25               A.           Frank       McGehee.




                      283RD JUDICIAL DISTRICT COURT 214/653-5863
                         NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                 197
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 201 of 219 PageID 7966



  1                Q.              Would you                 spell       your last             name    for    the       Court


  2   Reporter

  3                A.              M-C-G-E-H-E-E.


  4                Q.              And how           are          you    employed

  s                A.              Im     a    pediatrician.

  6                Q.              And    how        long          have       you been          a    pediatrician




 --12
  7                A.              Since       I     did my residency                      in Dallas          in    1977.


  8                Q.              Could       you           give       the       jury a brief background                         of


  9   your professional and                          educational                   background          for    the


 10   position          you       hold

 11                A.              Yes        sir.            I    did a pediatric                   residency          at


      well     I    went          to    medical              school          at    Emory University                in


 13   Atlanta       and       I    went       to     do       my residency                at    Childrens Medical

 14   Center in Dallas.                       And        I    practiced             in Denton          for    13    years

 1s   and    then       I   moved        to    Ft.           Worth       in       1993    and worked          at    Cook


 16   Childrens Hospital                       taking              care       of    patients          in the       hospital

 17   until    1998.              And    then        I       started          a    private practice                in    Ft.


 18   Worth        which          is    where        I       work       now.


 19                Q.              Let    me       turn your                 attention          to    August       28th       of


 20   1996    to    the       late       evening              hours.              Were    you       called    in or were


 21   part    of    your          duties           would          you         if    there       was    an    injured

 22   child    brought             into       the        emergency                room     were       you one       of       the


 23   physicians            that        would       attend              to    it

 24                A.              Yes        sir.


 25                Q.              On August                 28th       of     96        did you       attend       to       an




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                   198
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                          Page 202 of 219 PageID 7967



  1   approximately            16     17-month-old             infant       by the          name of      Jared


  2   Smith

  3               A.           Yes     sir.


  4               Q.           If    you would           would       you    describe          the      types    of


  s   injuries that            you    found       on Jerrod          Smith       that       evening

  6               A.           Yes     sir.        He    had multiple             bruises         to    his


  7   face       to    his    ear     to    his    side.        He    had    --       previously had

  8   x-rays done            before    I    arrived       to    take       care       of    him which

  9   showed      broken       bones       in both       of    his    legs        both       of   his    arms

 10   and his         skull.


 11                            He    also had round             burns       in his          mouth       which       I



 12   assumed was            cigarette       burns.           And he       had    a    black      eye    on    the


 13   left   side        a    bruised       eye        on the    left       side.


 14               Q.           And where          were    the    burns in his mouth


 15               A.           They    were       on his       tongue       and       the    inside      surface


 16   of   his    cheek.


 17               Q.           You    have    seen       those       types       of    injuries before


 18               A.           Yes     sir.


 19               Q.           And you       said you          assumed       they          were   caused       by


 20   cigarettes

 21               A.           Yes     sir.


 22               Q.           Has    that    been       the    method       that          you have      seen


 23   that   has       caused       these     injuries in the               past

 24               A.           Yes     sir.


 25               Q.           What    type       --    how did you          treat          Jerrod      Smith       at




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                199
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                        Page 203 of 219 PageID 7968



  1   that    time

  2             A.                 He    had an           ear infection                    which       was       treated


  3   with    antibiotics.                    He    received              pain medication.                       An


  4   orthopedic             surgeon          treated           his       fractures             by basically

  s   putting       a    splint on his                    legs       to       hold       the    bones       still       until


  6   they    healed.


  7                                His    --       he     was    also             iron deficient             and his


  8   anemia    was          treated.              And     he    didnt              --    he    apparently hadnt

  9   had    immunizations                at       that     time              so    those       were    administered


 10   while he          was    in       the    hospital.

 11             Q.                 Now        on     the    monitor we                   have    a   photograph           of


 12   the    baby       here       on a       table.            Is    this          --    he    had broken            legs.


 13   What    device          is    being          used on his                    legs    here

 14             A.                 Thats           similar to                 a    pablic       phonetic              harness

 is   shoulder          straps          which       go     like       suspenders                 basically              down


 16   into his          lowers          legs       which        holds             the    bone    between          his    hip


 17   and his knee             or the          bones        that          are       broken.


 is             Q.                 State       Exhibit           945              does    that       show    a    closer


 19   picture            Is    that       a    cast        on his             left       arm

 20             A.                 Yes        sir.


 21             Q.                 State       Exhibit           942              does    that       show    some


 22   bruising          to    his       face         as    well       as          the    bleeding       in his          left


 23   eye

 24             A.                 Yes        sir.


 25             Q.                 Was    the        baby       in        I       guess    its        pretty obvious




                        283RD JUDICIAL DISTRICT  COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                           200
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                     Page 204 of 219 PageID 7969



  1   but    he    was    in pretty much                    a       lot   of    pain       at   that        time

  2                A.           Yes.


                                State           Exhibit             947    is    this       a   photograph          of
  3                Q.


              of    the    evidence              of     the         burning      to    the       tongue      that    you
  4   some


  5   saw

  6                A.           Yes         sir.


  7                Q.           When        you       see       a    child      in    the       emergency      room        is



  8   it    sometimes       a        close       call       on whether               you    think       this   might be


  9   an accident          or        an    intentional                act

 10                A.           Yes         sir         sometimes.


 11                Q.           Was        there        any         question         in your         mind on this


 12   day whether          this           was    an     accident           or    an    intentional             act

 13                A.            I    think        it    was         clearly an            intentional         act

 14   yes.


 15                Q.           Were        the       police          notified         immediately


 16                A.            Yes        sir.


 17                Q.            You       said that                x-rays had been                  done   prior to


 18   you treating           the          child

 19                A.            Yes        sir.


 20                Q.           Are        there radiologists                        on staff          there    that


 21   take    those       x-rays and also examine                               them       to    see    exactly      what


 22   has    happened

 23                A.            Yes        sir.


 24                Q.            You       didnt handle                   that       part       of    the


 25   examination




                           214/653-5863-NANCY
                             JUDICIAL DISTRICT
                         283RD                 COURT
                               BREWER OFFICIAL COURT REPORTER
                                                                                                                             201
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                     Page 205 of 219 PageID 7970



  1                A.             No.         I    think       that        the    x-rays had already                      been


  2   interpreted            by the           time       I    was    consulted.


  3                                           MR.       SHOOK            Thats         all       we    have        Judge

  4   well pass             the     witness.


  5                                                    CROSS-EXAMINATION


  6   BY    MR.    KING

  7                Q.             Is     it       Dr.    McGee       or McGehee


  8                A.             McGehee.


  9                Q.             Doctor               let    me    ask     you       something.              This    type


 10   of    ear infection                this          child       had      presuming you received                         the


 11   child       and   seen        no       other       injuries            was       that       a    severe       ear


 12   infection             do    you        recall

 13                A.             Well            it    was    clearly           an ear infection                    yes.


 14                Q.             On     a    child          that    age         if    you       have    a    substantial


 is   ear infection               like        that           that    would        cause          that    child       some


 16   pretty bad            discomfort                  would       it     not

 17                A.             It     could           yes        sir.


 18                Q.             A child              like    that       would        be       probably       very prone

 19   to    crying      a    lot.            Would       that       be     fair       to    say

 20                A.             Its         possible              yes.


 21                Q.             That        kind       of    ear       infection              also    can    result       in


 22   a    ruptured         eardrum               can    it    not

 23               A.              Yes         sir.


 24                Q.             Thats            not       uncommon        among          children          of    that    age


 25   or    children             period            to    have       that     kind          of    scenario




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 206 of 219 PageID 202
                                                                                                           7971



 1             A.           As a complication                       of    an ear          infection              thats


 2   a    possibility           yes.


 3             Q.           Okay.            And did you                review       the    medical         records


 4   of    Jerrod Smith before                    you    came       to    testify          today

 s             A.           I    reviewed              the    record          that    I    created          regarding


 6   his    care    in August           of    199       --    the       year    thats        involved            in


 7   this    case.


 8             Q.           All     right.              Were      you     specifically             tendered


 9   something       to    review        or did you                go to       --    where       was    Jerrod

10   the    child     treated

11             A.           This        occurred             at    Cook       Childrens Medical

12   Center.


13             Q.           Did you           obtain              yourself           since       you    are a


14   doctor    at    that       location               all    the       medical       records          of    the


15   child

16             A.           I    talked           to    the       hospital          attorney       and       I    read


17   the    chart    and    I    was     also provided                   with       excerpts       by the


18   district       attorney.

19             Q.           I    guess        my question                is     did you          review          the


20   whole    medical       file        that       they       had there


21             A.           I    didnt review                     the    whole       file        no.


22             Q.           So     if    the       child          had    an    additional          ear


23   infection       six months              to    a    year       later and was             brought             in    with


24   a    ruptured    eardrum            you       dont notice                 it

25             A.           I    havent            prepared             that    for       this    testimony




                     283RD JUDICIAL DISTRICT COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                     203
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                            Page 207 of 219 PageID 7972



      1   no     sir.


      2                Q.              Very well.                 You       reviewed          x-rays in this               case

      3   did you          not

      4                A.              I    reviewed             x-ray reports                to    be    accurate             yes.


      s                Q.              Is       an    x-ray report                different             than    looking         at


  6       the    physical             x-ray

  7                    A.              Yes           sir.


  8                    Q.              So       an    x-ray report                would       be    a    summary of            what


  9       was    shown       on the x-ray

 10                    A.              An x-ray report                      is    an analysis             by another

 11       physician          of       what       the    x-ray          showed           thats           correct.


 12                    Q.              I    hate       to    be    a    layman on             this       deal       but    what


 13       you    are       saying          is    that       you    didnt           take       the       film and hold            it


 14       up    and    look       at       it    yourself              you       just    read the          report         of


 15       whoever          did    that          activity

 16                    A.              Yes           sir.


 17                    Q.              There          was    indicated              was       there       not       somebody

 18       brings       a    child          in    like       that       to    the    hospital              they      get    a


 19       little       bit       of    history              do    they       not

 20                    A.              Usually              yes.


 21                    Q.              All       right.           And       it    was    reflected             in the


 22       history that                the       child       had been             taken    a    couple          of   days


 23       earlier to             Columbia             Medical          Plaza

 24                    A.              Yes           sir.


 25                    Q.              And       the    child          had been          --    specifically               had




                            283RD JUDICIAL DISTRICT COURT 214/653-5863
                               NANCY BREWER  OFFICIAL COURT REPORTER
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                     Page 208 of 219 PageID 204
                                                                                                              7973



     1   x-rayed the            childs           leg      particularly the knee                               area        and    had


  2      not    seen      any breaks             or fractures

  3                  A.              Thats        correct.


  4                  Q.              And    do    you recall              that       being          documented

  s                  A.              Yes     sir.


  6                  Q.              Now     from what              you       read    in       the       synopsis          of


  7      viewing       the      x-rays did               that       seem       to    you to          be       unusual       or


  8      did you       give         that    any     thought          that       at    some         point           they were

  9      looking       at      some       particular           thing           couldnt              see       it     and then


 10      a   couple       of    days       later     a    child          is   brought              in and          they do       see


 11      something

 12                  A.             Actually             in    the       culture          where          this       child       was


 13      treated          thats pretty               common.              The       hospital             at       Medical       City


 14      didnt have pediatrics                       routinely.                 And       I    think          they       just


 15      misinterpreted the                  film         basically.                 We       were           at    the    time


 16      this   occurred              pretty used              to    that       happening.                    So    it    wasnt

 17      unusual.


 18                  Q.              So    thats         something             they might                have       just


 19      misread       the      films       themselves

 20                  A.              That    was    my analysis                 at    the          time       and    I    think


21       that   was       a    common occurrence                    at    the       time       and       I    think       that


22       its    a    reflection             of    the     excellent             care          at    Cooks           not


23       necessarily            a   bad     care    at        the    other          hospital.


24                   Q.              If    you    rupture           your       eardrum              it       will    bleed

25       will   it     not




                          283RD JUDICIAL DISTRICT  COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                       205
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 209 of 219 PageID 7974



 1                A.              It       can        yes.


 2                Q.              Once          again           you    have       seen    that       in children


 3   that    have       a    severe             earache

 4                A.              Yes           sir.


 s                Q.              And you             dont have              to    hit    a    child              if    a    child


 6   has    an    earache             like          that        to    make    that       ear bleed                 do       you

 7                A.              A child             can       have       an earache          that          bleeds


 s   without          being       hit.


 9                Q.              Did       you actually                   physically          see       the       child             when


10   it    was    brought             in    initially

11                A.              Um        I       saw    the       child    probably within                      hours


12   after       it    arrived             in       the    emergency room.

13                Q.              And by looking                      at    the    child        could             you       tell


14   the    child       had a broken                      arm or broken             leg

is                A.              It       was       obvious          that    the    child          was       in exquisite


16   pain    and the          child             wasnt           moving       his    legs.           So        yes           that


17   was    obvious.


18                Q.              Was       that          obvious          because       you were             a    doctor

19                A.              No.           I    think       any       layperson          would          have       seen


20   this    child          looked          like          he    had been          tortured.              I    think          that


21   would       have       been       obvious             to    anybody in the                room.


22                Q.              I    guess          what       Im        saying    is        by    looking                at       the


23   childs arm or leg                              was    it    distorted          in    such       a       fashion             it


24   was    obvious          it       was       broken          or    are    we    just       talking             about          a


25   child       acting       like          its           in    pain




                       283RD JUDICIAL DISTRICT COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                   206
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                          Page 210 of 219 PageID 7975



                      A.              Not    moving          arm and             leg.        This          is        a


     2   17-month-old             child           which       should be                able       to       walk          ordinarily

     3   and should be                able       to    at    least        run away               from a doctor.                       And


     4   this       baby was          laying          there unable                 really              to       move.


     5                Q.              I    appreciate             that       response.                 I
                                                                                                            guess          my    --       try

     6   to    get    it    clear          in my       mind        did       the       arm appear                 deformed

     7   bent       in an       odd angle              so    you       looked          at    it    and say                 man

     8   thats        a    broke          arm

  9                   A.              No.        But    thats           --
                                                                                 my answer             is       trying          to


 10      address          the    fact       thats           not    how       I    would          expect           it      to    look

 11      if    it    was    broken.


 12                   Q.              And    I    understand             you are a                pediatrician                   and

 13      Im     not       and neither             is    the       jury is          not       a    pediatrician.                       And

 14      my question             is       just    trying          to    figure          out       what          if       somebody

 is      saw    what       they       actually          would          see       and    then       take          the       x-rays to

 16      clarify          that    for       the       laypeople          that          brought             the       child       in        so


17       to    speak.


is                    A.              No     I    dont think                 so.        I    think          that          they       knew

19       the    child       had been             injured           too.           The       paramedics                   knew    that

20       because          the    child       wasnt           acting          like       a    normal             17       month       old.


21                    Q.              All    right.           Does       a       child       ever          get       ulcers          in


22       their mouth

23                    A.              They       can        yes.


24                    Q.              But    the       items       you       saw        you believed                      to    be


25       burns as          opposed          to    ulcers




                           283RD JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                207
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 211 of 219 PageID 7976



      1             A.           Yes.


      2             Q.           And       can         you    say    that       with       a    hundred       percent

      3   medical    certainty

      4             A.           I    dont think theres                             any    such       thing    as       a


      5   hundred    percent          medical              certainty.

      6             Q.           Well            is     it    possible          that       the       child    could             have


      7   had an ulcerated             mouth            and have          some       kind       of    ulcers       as       a


      8   result    of    the    condition                 the     child    was          living       in

      9             A.           Thats possible.

 10                 Q.          And child                  had not        had       any    immunizations.                       Is


 ii       that   unusual        for    a        child        at    that    age

 12                 A.          Yes.


 13                 Q.          The        child           was     anemic           indicating          some       type          of


 14       poor   diet

 15                 A.           I    dont really make any assessment.                                         He       was


 16       and he    was    treated.               Im         not    trying          to    say that         thats            a


 17       problem        necessarily                  or     any    indication             of    poor care.

 18                 Q.          Of     course                the    child       had injuries                 correct

 19                 A.          Yes.


20                  Q.          And the               child        had bruising


21                  A.          Yes             sir.


22                  Q.          And        it     wouldnt            take       a   pediatrician              to    say

23        well     that   child        has        been        abused

24                  A.          That        was        my assessment                     correct.


25                                          MR.        KING          I    have      no     further questions.




                         283RD JUDICIAL DISTRICT  COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                           208
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                  Page 212 of 219 PageID 7977



  1   Pass     the    witness.


  2                                         MR.    SHOOK            Thats           all       the    questions             we


  3   have      Judge.


  4                                         THE    COURT            Thank          you        Doctor.


  s                                         MR.    SHOOK            May       this       witnesses          be


  6   excused

  7                                         MR.    KING         We       have       no    objection              Your


  8   Honor.


  9                                         THE    COURT            He    may.


 10                                         MR.    SHOOK            Your       Honor           the    State       will


 11   close.


 12                                         MR.    ASHFORD               Defense          would       close           Your


 13   Honor.


 14                                         THE    COURT            Members of                the    jury both

 15   sides now have                 rested       and closed             their case             in    chief.           Its

 16   230      in    the    afternoon.              By the          time we          take       a    break       --    it


 17   takes     a    pretty          good    while       for    me       to    get       the    charge       together.


 18   You    will     find       it    will       take    me    about          20    minutes              maybe       30


 19   minutes         to    read the          charge           which          is    the       law    involved          in


 20   this    case        for    you.        Then       the    attorneys             will       have       about       an


21    hour apiece           to       argue.


22                               Assuming          that       you    dont           want       to    start


23    deliberations              at    600 on Friday night                          --    I    see    some       heads


24    shaking        --    we    shall       stand       in recess             until          Monday       morning.


25                               I    think       you    have       found          that       when    I    said       when




                          283RD JUDICIAL DISTRICT COURT 214/653-5863
                             NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                             209
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                    Page 213 of 219 PageID 7978



  1   we    started       this       trial      I    would          use    your        time wisely                  and we


  2   wouldnt           waste.        Ive been pushing                          havent               I    almost          to       the


  3   point    of       give    me    a    little         more       time..           But    I       wanted         to    make


  4   sure    that       you understood                  why    were quitting                        early on            Friday

  s   afternoon.


  6                             Because         the       next       step       is     for       me      to    present             the


  7   charge       to    you    and the         attorneys             to    argue           and nobody               wants          to


  8   be    here    Friday night.                   So    with       that       we     will          call      it    a    day.


  9   You    get    six dollars for                  the       whole       day.


 10                             I    cant stress enough now                             that          you      have       heard


 11   all    the    evidence              again          no media           dont discuss                       this       with


 12   spouse        friends           family             coworkers.               I    anticipate               some          of


 13   you will          probably go            to    the       office       or wherever                   and try             to


 14   pick    up    the     pieces         from this            week       as     far       as       your      normal

 is   routine.           They       are   going          to    be    interested.                     What      did you


 16   hear    in    trial       this      week            Why       didnt you argue                       tonight                  Why

 17   didnt        you deliberate                    And       the    answer           is        I    cant talk

 la   about    it       and leave         it    alone.


 19                             So    Monday         morning              first        thing             we    will      have


 20   the    charge       and       then       like       I    said        the-attorneys                      will       follow


 21   up    with    their arguments                  and then you                 shall          retire         to


 22   deliberate.              So    with      those          instructions                  both written                 and


 23   oral     we       shall       stand      in recess             until        830 Monday                   morning.


 24                                                  Jury out

 25                                       THE       COURT            Mr.    Shook           Mr.          Ashford          I    take




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                210
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                       Page 214 of 219 PageID 7979



  1   notes.              On exhibits            500    to       550        you       are       asking           me    who    that


  2   might       have          been.       I    think       its        Mr.       Mocygemba.                     If    you will

  3   review          those           you have         pictures             --    because             later you              offer


  4   500    to       550       as    photographs.                You       have       one          exhibit marked                 543


  5   thats           a    chart.          But    then       I    dont.have                 a       couple        of    those.


  6   So    if    you       will       look      and state          for          the    record             what        500    to    550


  7   is     you will                find that         the       record          is    incomplete.

  8                                             MR.    KING         To       which          we       object.


  9                                             MR.    SHOOK            What          number          was        it     Judge

 10                                             THE    COURT            I    show       543          as    the        diagram of

 11   the    view          of    building         14.        I    show       544       as       a    diagram           of

 12   schematic             of       the   entire       penitentiary                   unit.              Okay.


 13                                             MR.    ASHFORD               Thats what                    543        is.



 14                                             THE    COURT            Okay.           See           he        offered       500    to


 15   550    as       being          pictures         and thats              incorrect.                     I    dont have           a


 16   546.        So       if    you will         line       up those             photographs                    so    we    can


 17   make       an       accurate         record        I       would       appreciate                   it.



 18                                             MR.    SHOOK            We       would          like       to     offer       951    in


 19   for    record             purposes.

 20                                             THE    COURT            No.       951       for       record           only.


 21                                             MR.    ASHFORD               No       objection.

                                                THE    COURT            Mr.       Shook              have               figured




 --24
 22                                                                                                              you

 23   out    exactly             what

                                                MR.    SHOOK            Yes.


 25                                             THE    COURT            --       you    offered




                           283RD JUDICIAL DISTRICT  COURT 214/653-5863
                              NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                     211
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                            Page 215 of 219 PageID 7980



  1                                        MR.    SHOOK           Judge       on the          exhibits           to       be


  2   precise        500       through         511    and then actually                  511-A           512

  3   512-A        then 513          through         526    and then         529    through          542.        No.


  4   543     I    believe           is    a   diagram

  s                                        THE    COURT           No.   544    is    a    diagram.


  6                                        MR.    SHOOK           I   dont have           543.           No.    545

  7   547     548        and    549       and then         550.


  8                                        THE    COURT           Mr.   King        are you          in


  9   agreement          with    the       record      what       was   originally offered                      as    500


                                                                              read                            record




 --15
 10   to    550    being       the    numbers         that    he      just               into       the


 11   He    initially          identified            this    stack      of    photographs                as    500    to




 --13
 12   550    and

                                          MR.     KING        Its now being identified as

 14                                        THE    COURT           The   numbers          he    just


                                          MR.     KING        We      have    no    objection             to    those


 16   photographs          that       were       offered      in      that    sequence              unless       we


 17   have    previously objected                     to    them      on the       record           at    which


 18   time we       renew       our objection               and presume            the    Courts ruling

 19   is    the    same.


 20                                        THE    COURT           There      were    no       objections             to


 21   that    group       of    photographs            identified            initially          as       500    to


 22   550.        They    have       been      properly identified                  for       the    record          and


 23   the    Court       will    admit         the    same.


 24                                       MR.     KING        Very well.

 25                                       THE     COURT           Off   the    record.




                     283RD JUDICIAL DISTRICT COURT 214/653-5863
                        NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                      212
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                              Page 216 of 219 PageID 7981



      1                                             Off       the    record

      2                                    THE    COURT           Let     the    record        reflect         both

      3   sides     having        rested     and closed           their case           in    chief        the


      4   Court    has      prepared       the    charge.           State       have     any     objections           to


      s   the    Courts charge

      6                                    MS.    SMITH           No      Your Honor.

     7                                     THE    COURT           Defense

     8                                     MR.    KING         Yes        we    do     Your      Honor.         We


     9    would    ask      the   charge        include       the    lesser included                offense          of


 10       attempted         capital     murder.          We    feel       thats been             raised        by the

 11       evidence.          We   would      further ask            for    a    lesser included

 12       offense      of    attempted         murder as well.                  We    would      ask     for


 13       a   lesser included           offense        of     aggravated             assault       as    included

 14       in the      indictment.

 15                               We   believe      those         charges        are    raised          by the

 16       evidence          in particular          the      voluntary           statements          that       have

17        been    admitted        by   the     other     --    the     voluntary            statements          of


18        the    other      individuals          charged       and      the     evidence         presented

19        before      this    jury.       We     would      ask     that       they    be    included.


20                                        THE     COURT           States         response

21                                        MS.     SMITH           None     of    those      lessers        are


22        raised      by the      evidence         Your       Honor.           Theres       no     evidence

23        that   he    was   guilty       only of        any of        those         lessers.           Hes    also

24        responsible        as    a   party and theres                  absolutely           no    evidence          to


25        negate      that    fact      in response            to    capital          murder.




                         283RD JUDICIAL DISTRICT COURT 214/653-5863
                            NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                                                   213
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                                   Page 217 of 219 PageID 7982


     1                                      THE    COURT            I     can       charge           him with

     2   shoplifting              and UUMV       and a bunch              of       other       things           through       the


     3   course       of    this       trial      but    as    far        as       the       evidence           has    been

     4   shown     to      link     this    individual          as        a    party or co-conspirator

     s   its      either all            or nothing        in    the           way    I       see    the       evidence

     6   coming       in.     Motion        for    an    instructed                 charge          for       attempted

     7   capital        murder          attempted        murder               and aggravated                    assault

     8   will    be     denied.


     9                                     MR.     KING         We       would           object          to     the


 10      application          paragraphs           alleging             conspiracy                  alleging           that


 11      the    individual             engaged     in a       conspiracy.                    We     note        that    the


 12      indictment          in    this    case       does    not        have       any        language

13       pertaining          to    conspiracy.            Theres              not        a   conspiracy               alleged

14       in the       indictment          and we        object          to    it


is                                         MR.     SMITH            This        Court          is     well      aware         we

16       dont have           to    allege        parties      in        the     indictment                and the

17       evidence       supports          both     the    regular parties                         and parties

18       conspiracy          charges       on     both paragraphs                   of       the      indictment.


19                                         THE     COURT            Mr.       King           as     you know

20       conspiracy          is    a   separate       indictable               criminal              offense.


21                                         MR.     KING         I    would          think           it    is.


22                                         THE     COURT            Motion denied.                       Here      are    two


         copies    of       the    charge       for   the     parties.                                     further
23
                                                                                     Anything

24       Mr.    King

25                                         MR.    KING         Nothing              further              Judge.




                        283RD     JUDICIAL DISTRICT COURT 214/653-5863
                              NANCY BREWER   OFFICIAL COURT REPORTER
                                                                                                                       214
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                        Page 218 of 219 PageID 7983


     1                                 THE   COURT           How much          time          do       the   parties

     2   need    to   argue    your    case

     3                                 MR.   SHOOK           An hour           I    guess             would       be


     4   fine.


     5                                 MR.   ASHFORD           I    can       handle             an   hour.


     6                                 MR.   KING        An    hour       a    side              Your Honor

     7                                 THE   COURT           Can you          manage             that

     8                                 MR.   KING        I    believe          so.


     9                                 THE   COURT           Very good.                 I    will      present

 to      the    charge   at    830 and       it    gives      me    about          20       minutes to get

 11      through      this    charge    and each        side       will       have          an   hour       for


 12      argument.       See    you Monday         morning.


 13                                               End   of    Volume

 14




 15




16




17




18




19




20




21




22




23




24




25




                       283RD JUDICIAL DISTRICT  COURT 214/653-5863
                          NANCY BREWER  OFFICIAL COURT REPORTER
                                                                                                 215
Case 3:13-cv-01535-L Document 17-76 Filed 08/21/14                        Page 219 of 219 PageID 7984



  1   STATE       OF    TEXAS


  2   COUNTY       OF DALLAS


  3          I     NANCY       BREWER     Official             Court    Reporter      for    the       283rd


  4   Judicial          District       Court        do    hereby certify            that    the    above


  s   and    foregoing          constitutes          a    true    and correct         transcription


  6   of    all    portions       of    evidence          and other       proceedings            requested


  7   in writing          by counsel          for    the       parties    to   be    included          in this


  8   volume       of    the    Reporters Record                  in    the    above-styled            and


  9   numbered          cause     all    of   which           occurred    in open      court       or    in


 10   chambers          and were       reported          by me.


 11          WITNESS       MY    OFFICIAL HAND                on this    the
                                                                               -ý          day    of


 12                                       2003.


 13




 14




 15

                                                NAN   BREWER
                                                          Y    SR NO. 5759
 16                                             Expiration Date   12-31-04
                                                Official Reporter  283rd JDC
 17                                             Frank Crowley Crts. Bldg.                        LB33
                                                133     Industrial Blvd.
                                                          No.
 18                                             Dallas TX 75207
                                                214           653-5863
 19




 20




 21




 22




 23




 24




 25




                        283RD JUDICIAL DISTRICT COURT 214/653-5863
                           NANCY BREWER  OFFICIAL COURT REPORTER
